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1                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
2                           NORTHERN DIVISION

3    UNITED STATES OF AMERICA,   )
          Plaintiff,             )
4                                )
          vs.                    ) CRIMINAL CASE NO. CCB-16-0267
5                                )
     DANTE BAILEY, et al.,       )
6         Defendants.            )
     ____________________________)
7

8
                         Tuesday, March 19, 2019
9                             Courtroom 1A
                           Baltimore, Maryland
10

11          BEFORE:    THE HONORABLE CATHERINE C. BLAKE, JUDGE
                      (AND A JURY)
12

13                                  VOLUME I

14
     For the Plaintiff:
15
     Christina Hoffman, Esquire
16   Lauren Perry, Esquire
     Assistant United States Attorneys
17
     For the Defendant Dante Bailey:
18
     Paul Enzinna, Esquire
19   Teresa Whalen, Esquire

20   _______________________________________________________________

21

22
                                 Reported by:
23
                      Douglas J. Zweizig, RDR, CRR, FCRR
24                     Federal Official Court Reporter
                      101 W. Lombard Street, 4th Floor
25                       Baltimore, Maryland 21201

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1    For the Defendant Randy Banks:

2    Brian Sardelli, Esquire

3
     For the Defendant Corloyd Anderson:
4
     Elita Amato, Esquire
5

6    For the Defendant Jamal Lockley:

7    Harry Trainor, Esquire

8
     For the Defendant Shakeen Davis:
9
     Paul Hazlehurst, Esquire
10

11   For the Defendant Sydni Frazier:

12   Christopher Davis, Esquire

13

14   Also Present:

15   Special Agent Christian Aanonsen, ATF
     Gerard Martin, Esquire
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1                            P R O C E E D I N G S

2         (Motions hearing re Defendant Dante Bailey under separate

3    cover.)

4         (9:57 a.m.)

5              THE COURT:    Do you want to discuss the other --

6    briefly the other motion in limine issue that we need to

7    resolve before opening?

8              And that would be Ms. Whalen or Mr. Enzinna.

9              Thank you, Mr. Martin.

10             MR. MARTIN:    Thank you, Your Honor.

11             MR. ENZINNA:    Your Honor, this is our motion in limine

12   to exclude certain evidence.      And the evidence we seek to

13   exclude, there are several different things.        One is the video

14   of Mr. Bailey and his family.      One is a communication from

15   prison, written communications.      Another is a jail call

16   involving Mr. Spence.    And the last is a telephone call

17   involving Mr. Dent and Mr. Deleon.

18             THE COURT:    Okay.   And let me, with apologies,

19   interrupt you.   I thought there was only one of those that

20   needed to be resolved before opening.       The Government wished to

21   use, I believe, the letter relating to popping a bottle of

22   champagne.

23             MR. ENZINNA:    Okay.   Well, then I'll confine my

24   argument to that.

25             THE COURT:    Is that correct?

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1               MS. HOFFMAN:   That's correct.

2               THE COURT:   That's the only one you would like to be

3    able to use in your opening?

4               MS. HOFFMAN:   In opening, that's correct.

5               THE COURT:   My rulings may be different on the other.

6               MR. ENZINNA:   That's fine.

7               THE COURT:   Thanks.

8               MR. ENZINNA:   First of all, the Government does not

9    dispute that this -- the Government does not claim that this

10   evidence meets any of the requirements of Rule 404(b) for

11   admission.    Their argument is that this is not 404(b) evidence,

12   that this is intrinsic to the conspiracy and, therefore, not

13   404(b) evidence.

14              But to be intrinsic to the conspiracy, the evidence

15   has to be inexplicably intertwined or part of the same criminal

16   episode.   In other words, it has to be in furtherance of the

17   conspiracy.    It has to advance the RICO undertaking or

18   facilitate the racketeering activity.

19              These communications occurred after the conspiracy was

20   ended, when the individuals were all put in jail.

21              And the question whether it is -- the Government in

22   their argument says this makes no sense because if he were

23   confessing to the acts in the indictment, we wouldn't have to

24   supersede in order to capture those -- that -- in order to use

25   that confession, but that's not what's happening here.

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1             Mr. Bailey is not confessing to the acts in the

2    indictment.   This is a separate act that is not in the

3    indictment that occurs after the conspiracy alleged in the

4    indictment.   So for that reason, Your Honor, we would submit

5    that it is not intrinsic to the conspiracy.

6             In addition, in order to be in furtherance of the

7    conspiracy, the question is -- what exactly is happening here

8    is, even assuming that this is a, quote/unquote, hit letter and

9    that this is -- the reference to popping a bottle of champagne

10   is a request that someone be killed, the question is:          Is that

11   activity in furtherance of the conspiracy?

12            And where is the evidence that that is part of the

13   conspiracy?   What -- where is there evidence that -- of what --

14   who is being targeted in this hit letter and why?

15            Now, there is someone who's referred to in this as

16   Champagne, a gentleman named Greer.       Now, if that is him, is

17   there evidence that this, quote/unquote, hit, if that's what it

18   is, is being ordered to further the aims and the ends of the

19   conspiracy as opposed to something else?        And, Your Honor, that

20   evidence is just not there.

21            I mean, the evidence, I believe, shows that Mr. Greer

22   had a relationship with Mr. Bailey, but not necessarily with

23   the conspiracy.

24            Now, there's another piece of this letter as well or

25   of these communications which is statements about a reputation

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1    that Mr. Bailey claimed to have.

2              First of all, I want to note that the Government's

3    agreed in their response to redact the portion referring to

4    shooting police as "kid."

5              But the rest of it, the reference to a reputation of

6    getting people killed, what he's talking about there on the

7    terms of the letter itself is events that happened when he was

8    a, quote/unquote, kid.     These are -- these are things that he's

9    talking about that happened long ago.       He's a 40-year-old man.

10   These are things that he's talking about that happened a very

11   long time ago.

12             And the Government also seizes on the word "rats" in

13   there, where he talks about rats.      And what he says in there is

14   that certain rats overheard him on the telephone.

15             He doesn't say in there that he wants to kill any

16   rats.   He doesn't say he wishes any harm on those rats.         All he

17   says is they overheard him on the telephone.

18             So, Your Honor, I would submit that this -- these

19   communications do not -- they're not intrinsic to the

20   conspiracy.   They are 404(b) evidence, and they should be

21   excluded on that basis.

22             But even if not, I think Rule 404 -- Rule 403 compels

23   their exclusion as well.

24             The first question is:     Are they probative?      How

25   probative are they?    What's the probative value?       And I've just

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1    talked about whether or not these are even in furtherance of

2    the conspiracy.

3               And the second is the prejudice.      Obviously, the

4    prejudice is very, very high.      To argue that Mr. Bailey is

5    sending out a hit from jail is extraordinarily prejudicial.            To

6    say that this is an individual who not only has been -- who's

7    been arrested for a crime, who's in police custody and who is

8    still attempting to commit murders is extraordinarily

9    prejudicial.

10              And we would submit that the probative value of this

11   evidence in that regard is very slim.       And for that reason, it

12   ought to be excluded under Rule 403.       Thank you.

13              THE COURT:   Thank you.   Thank you, Mr. Enzinna.

14              Ms. Hoffman.

15              MS. HOFFMAN:   Your Honor, what we have here is very,

16   very clear evidence of a plot by Mr. Bailey to kill a witness

17   in this case.    The hit letter that was intercepted didn't just

18   name Champagne, which is the name of the cooperating witness;

19   it also provided his address, his actual address.

20              This is very, very clear evidence of a plot to kill a

21   cooperating defendant, someone who's actually going to testify

22   in this case.   And he's going to testify not just against

23   Mr. Bailey, but against all six of the defendants here.          He was

24   part of this conspiracy, and he will be testifying against all

25   of them.

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1              The Fourth Circuit has recognized that a conspiracy's

2    activities do not always end when some of its members go to

3    jail, and the Fourth Circuit has also made clear that there's

4    no requirement that all of the Government's evidence fall

5    within the time period of the indictment provided, that it's

6    relevant to the charges.

7              Here we have charged the defendants with a

8    racketeering conspiracy, with participating in the gang's

9    affairs through a pattern of racketeering activity that

10   included murder, witness tampering, and witness retaliation.

11   And this hit letter goes to central disputed issues in the

12   case.   It's evidence of murder.     It's evidence of witness

13   tampering.   And it's evidence of witness retaliation.

14             There's a Fourth Circuit case that we noted in our

15   brief, United States versus Marfo, that is very similar to the

16   case we have here.

17             And the Fourth Circuit recognized in that case that

18   the defendant's threats and statement of an intent to kill

19   witnesses in the same case in which he was charged, quote, were

20   probative of existence of the ongoing conspiracy and, quote,

21   intrinsic evidence of consciousness of guilt.

22             And that's exactly what we have here.        The hit letter

23   is evidence of consciousness of guilt.       It's also evidence of

24   an ongoing conspiracy.     And it's evidence of the racketeering

25   acts that we've charged against the defendant.

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1             THE COURT:    I have -- I don't have the whole letter in

2    front of me.   But I do -- and I'm looking at your response, so

3    it's ECF No. 1056.    Mr. Enzinna addressed this to some extent.

4             I am not clear why -- assuming that the other portions

5    of this letter come in, you would seek to admit the first

6    sentence [reading]:    I have a reputation of getting people

7    killed with no pics, so the lawyers and prosecutors are on high

8    alert.

9             How does that relate to anything specific?          What is

10   that based on?   Why is that not similar to what you've agreed

11   to redact, I think appropriately, the next part about his

12   supposed history as a kid?

13            MS. HOFFMAN:    Sure, Your Honor.      We anticipate that

14   what Mr. Bailey is going to argue at trial, as he's argued in

15   the past, is that this was not actually a hit letter; that he's

16   going to argue that when he said, "Pop a bottle of champagne,"

17   he wasn't actually saying kill Champagne.

18            And so we do believe that this language in the letter

19   is important context; that it explains that -- it gives the

20   jury -- it provides context for how to interpret the coded

21   language:   Pop a bottle of champagne.

22            He says, "I have a reputation of getting people

23   killed," and he also uses the term "rat" to describe people who

24   cooperate with law enforcement.

25            And we believe that that is important context to allow

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1    the jury to interpret the coded language, "Pop a bottle of

2    champagne," as a hit on a cooperating witness in this case.

3              THE COURT:   Okay.   Anything else?

4              MS. HOFFMAN:   No.   That's it.    And I would also add

5    that I was not planning to reference this reputation of

6    "getting people killed" language in my opening; just the fact

7    of the plot against the witness.

8              THE COURT:   Okay.   Well, perhaps we can stop there at

9    this point, because I was going to say that at least for

10   opening, you should not put in front of the jury any of that

11   particular paragraph.

12             So, Mr. Enzinna, anything you wanted to add on the

13   other point?

14             MR. ENZINNA:   Well, Your Honor, I just would add that

15   Ms. Hoffman said this is clear evidence of a hit.         And,

16   frankly, I'm not sure that it is very clear.        I mean, what he

17   says is, "Pop a bottle of champagne," and he gives an address.

18             Now, the notion that that's a hit letter comes from

19   something else.   I mean, if he had said in the letter, "I want

20   you to go take care of this guy.      I want you to go hit this

21   guy, kill this guy," that's very clear evidence.

22             And I know that you've already ruled that the

23   Government should not use the second paragraph, the reputation

24   paragraph, in opening.    But we talked about the context of

25   this.   If you read that paragraph carefully, what he says is,

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1    "I have a reputation of getting people killed, so the lawyers

2    and prosecutors are on high alert."

3              He's not talking about killing witnesses.        He's not

4    talking about retaliating against witnesses.        He's talking

5    about something else.    And he talks about the rats who

6    overheard him on a cell phone.     He doesn't say, I want to do

7    anything to those -- to those people who overheard me, to

8    those, quote/unquote, rats.     He's talking about something else.

9              So I would submit that this is not clear evidence of a

10   hit.

11             Thank you.

12             THE COURT:   Okay.   All right.    Thank you.

13             Well, I'm deferring ruling on that particular

14   paragraph and whether any of it should come in about reputation

15   and people who overheard him on a cell phone, but I will

16   otherwise permit the Government to use in opening and to

17   introduce at an appropriate time the contents of the letter,

18   which I think can -- certainly one can make an argument either

19   way.   That's what the jury is for.     But I think there is at

20   least a reasonable interpretation that Mr. Bailey is requesting

21   that a potential cooperating witness be killed.

22             I think this is intrinsic to the conspiracy.        A

23   conspiracy certainly can continue while people are locked up

24   after they've been detained on the basis of the charges.          As

25   the Fourth Circuit has said, it's evidence of consciousness of

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1    guilt.   It can be an attempt to avoid conviction for the crimes

2    that one is charged with.     And as far as 403, I don't think it

3    is unfairly prejudicial.

4              Unfortunately, that's what this case is about.         There

5    are allegations of murders, witness tampering, and witness

6    retaliation.

7              This is of the same quality.      It is not something

8    glaringly different from what the other evidence is that's

9    going to be presented.

10             As I said, I think it's arguable but clear enough that

11   a reasonable interpretation of this would be attempting to at

12   least tamper with and possibly eliminate a potential witness

13   against not only Mr. Bailey but other members of the

14   conspiracy.

15             So that's my ruling on that portion of the letter.

16             All right.   We'll adjourn long enough to, I guess, get

17   everybody here and make sure the jury is here.        I'm going to

18   have some preliminary instructions, and then we'll move into

19   openings.

20        (Recess taken.)

21             THE COURT:   All right.    I had hoped after all this

22   delay that we were about to call in the jury, but I understand

23   there is an issue.

24             Mr. Sardelli.

25             MR. SARDELLI:   Yes, Your Honor.

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1               I think there were some other co-defense counsel as

2    well, Your Honor.   But I do object to the slides, Your Honor.

3    I basically object to those on two points, Your Honor.

4               THE COURT:   Which slides?

5               MR. SARDELLI:   They're going to be opening PowerPoint

6    slides is my understanding.     They were sent to us this morning.

7    I think it was like 7 o'clock or something this morning,

8    Your Honor.

9               THE COURT:   Okay.

10              MR. SARDELLI:   I've just had a brief chance to review

11   them.   My objections are, one, on the late notice of them,

12   Your Honor, because I haven't had a chance to properly review

13   them.

14              And, number two, there are a bunch of exhibits in

15   there that haven't been admitted into evidence that I would

16   have no problem at closing arguments when they've been properly

17   admitted.

18              But obviously talking about these things before

19   they're admitted -- they could come in Your Honor.         They may

20   come in.    But that's obviously, I would argue, improper until

21   they actually come in.

22              THE COURT:   Sure.   And I just heard argument on that

23   on a specific issue this morning.       What exhibit is there

24   against which you have filed a motion in limine?

25              MR. SARDELLI:   Specifically for a motion in limine,

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1    Your Honor?    I don't believe there is one that I specifically

2    filed a motion in limine against so far, Your Honor.

3               I would obviously want to -- there's the motion in

4    limine issue, Your Honor, but it's obviously when they're

5    trying to put the exhibit into evidence during the trial,

6    Your Honor.    Opening is usually:    The facts and evidence will

7    show you the following.

8               Well, they're jumping that and actually putting the

9    exhibit into evidence.     It doesn't give me a chance when

10   they're trying to properly authenticate and introduce the

11   exhibit to file my objections at that point.        And the Court may

12   overrule me and they come in.      That's why in closing, no

13   problem.    But for the opening, I think it is a problem.

14              THE COURT:    Okay.   I'm going to overrule that as a

15   blanket objection.      It is fairly common for counsel -- and it

16   can be done on both sides -- to show what they believe will be

17   admissible as an exhibit to the jury.

18              They, of course, take the risk that it would not be

19   admitted down the road and could be subject to a motion to

20   strike or some other kind of remedy, but it's not being

21   admitted.    It is being shown by counsel because they believe it

22   will come in.

23              Again, if there is something that there has been the

24   specific subject of a motion in limine, then I would not expect

25   the Government to show that without its being discussed.

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1               But simply the fact that they intend to use a

2    PowerPoint, which is pretty common, I don't think gives you the

3    basis for an objection.

4               MR. SARDELLI:   Your Honor, you're putting me on the

5    spot.    Honestly, I don't think that's the case, Your Honor.          I

6    mean, I don't think they are the subjects of motions in limine.

7               I haven't had a chance to really go back and explore

8    the motions I've filed and everything else and say, Does it

9    touch on anything as well, Your Honor.       I'll be honest with

10   you.    At this point I don't think it's the case, Your Honor.

11   But I honestly haven't had a chance to really delve through it,

12   Your Honor, and compare it to the motions that have been filed

13   previously.

14              THE COURT:   All right.    Your objection is noted.     I am

15   not going to require that the -- again, on the assumption that

16   the exhibits that the Government's putting into its slide deck

17   are exhibits that they have provided notice of, have reason to

18   believe will be admissible, I'm overruling your objection.

19              MR. SARDELLI:   Yes, Your Honor.    And a separate note,

20   Your Honor, I have a bad cold.       Is it okay if I keep a bottle

21   of water at the podium during my opening just because of my

22   cold?

23              THE COURT:   A bottle of water at the podium during

24   your opening, absolutely fine.

25              MR. SARDELLI:   Thank you, Your Honor.

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1             THE COURT:    Sure.   Let's get the jury.

2             MR. HAZLEHURST:    Your Honor, I would like to note the

3    same objection on behalf of Mr. Davis.       I understand the

4    Court's ruling.   There are four photos of Mr. Davis that will

5    be presented in the Government's opening.       And, again, I would

6    submit on the record Mr. Sardelli made.

7             THE COURT:    Sure.

8             MS. AMATO:    And, Your Honor, on behalf of

9    Mr. Corloyd Anderson, I note the same objection.         I also note

10   the timeliness, Your Honor.

11            In the future, if the Government is going to use a

12   PowerPoint, at this point in terms of their closing, I'd ask

13   that we be shown -- provided that PowerPoint at least 48 hours

14   in advance so I can really take a look at it and see if I have

15   any objections.

16            THE COURT:    Okay.   We'll note that.

17            MR. TRAINOR:    Your Honor, on behalf of Mr. Lockley, he

18   joins the objections.

19            THE COURT:    All right.

20            MS. WHALEN:    Really sort of as a matter of procedure,

21   would the Court allow for an objection, if one attorney

22   objects, that the others are entitled to, obviously if it

23   applies to their client, to join in?

24            THE COURT:    I think that would save a lot of time,

25   Ms. Whalen.

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1              MR. DAVIS:   I was just going to make that motion,

2    Your Honor.

3              THE COURT:   If it's something of this nature that

4    would be applicable to everyone, again, if there's anything

5    specific you want me to focus on for a particular client, you'd

6    have to tell me that.    But if it's just a general objection on

7    behalf of everyone, then I'll assume it's being made on

8    everyone -- for everyone.

9              MR. HAZLEHURST:   Your Honor, I apologize.       One last

10   thing.   Mr. Davis has asked me to inquire of the Court as to

11   why he in particular is shackled, and I've given him an

12   explanation.   I'm not sure he's satisfied with my explanation,

13   but I am presenting that to the Court.

14             THE COURT:   It is a security measure that I believe

15   necessary, in consultation with the marshals, for a number of

16   reasons, including the charges and the evidence that is

17   expected to be offered and the demands of controlling safety

18   and security for all persons in the courtroom.

19             Ms. Hoffman, are you standing for a reason?

20             MS. HOFFMAN:   No.   Just that I'm ready to give opening

21   whenever Your Honor --

22             THE COURT:   Okay.   I'm going to do preliminary

23   instructions first.

24             Let's get the jury in.

25             MS. HOFFMAN:   I'm sorry about that.

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1             THE COURT:    And to be clear, I think Ms. Moyé has

2    indicated this, but in regard to the security precautions, the

3    black cloth obviously in front of the table, that's why I'm

4    suggesting -- I'm directing that nobody stand when people --

5    obviously, if you're coming up to the podium, that's fine.

6             But as a general matter, when the jury comes in or

7    when I come in, just don't stand.

8         (Pause.)

9         (Jury entered the courtroom at 10:58 a.m.)

10            THE COURT:    Is everybody here?

11            THE CLERK:    Okay.   We're good.

12            THE COURT:    Okay.   All right.    We'll get everybody

13   straight in their right seats.

14            Welcome back, ladies and gentlemen.        I apologize for

15   the delay, but we are about to get started.        And the first

16   thing that I need to do is to give you some -- excuse me.

17            The first thing Ms. Moyé needs to do is to swear you

18   in, and then I will give you some preliminary jury

19   instructions.

20            THE CLERK:    Members of the jury panel selected in the

21   present case, please stand and raise your right hand.

22        (Jury duly sworn/affirmed.)

23            THE CLERK:    Thank you.    You may be seated.

24            Jury's sworn.

25            THE COURT:    All right.    Thank you.

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1             All right.    Ladies and gentlemen, before we get

2    started with opening statements and evidence, I want to give

3    you some preliminary instructions about the case.

4             I will be giving you much longer instructions at the

5    end of the case.   And at the end of the case, they'll be in

6    writing so you'll have copies to take back in the jury room

7    with you.

8             Also, I will tell you that if I say anything different

9    in the final instructions from what you hear me say now, the

10   final instructions are what will control.

11            But let me talk a little bit about your

12   responsibilities in this case.

13            First of all, it's going to be your duty to decide, to

14   find, based on the evidence, what the facts in this case are.

15   You and you alone are the judges of the facts.

16            You do have to apply the law as I give it to you.             You

17   have to follow the law whether you agree with it or not, but

18   deciding the facts is entirely up to you.       And nothing that I

19   may say or do during the course of the trial is intended to

20   indicate -- and you shouldn't take it that way -- as any -- no

21   opinion of mine about what your verdict ought to be.         That's

22   entirely up to you.

23            The evidence that you're going to have to decide the

24   facts is going to be the testimony of witnesses.         People are

25   sworn in, testify to you under oath from the witness stand.

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1             There will be documents.      There may be photographs,

2    other items that are admitted into evidence, into the record as

3    what we call exhibits.

4             And there may be some facts that the parties agree to

5    or stipulate to.   Stipulations, agreed facts, that is evidence,

6    and you may consider that.

7             There are certain things that are not evidence that

8    you must not consider.    That includes statements and arguments

9    and questions by the lawyers, as well as objections to

10   questions.

11            Now, the lawyers have an obligation to their clients

12   to make an objection if they think some item of evidence that's

13   being offered is not proper under the Rules of Evidence.

14            You shouldn't be influenced by an objection or by my

15   ruling on it.   That's just a question of law.

16            So if I sustain an objection to a question, just

17   ignore the question.

18            If I overrule it, treat the answer like any other

19   piece of evidence that comes in.

20            If I instruct you that some item of evidence is being

21   admitted, should be considered for a limited purpose, a

22   specific purpose only, obviously please follow that

23   instruction.

24            And if there's anything that I tell you to strike or

25   exclude or that must be disregarded, then that's not evidence,

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1    and it must be disregarded.

2               Also, anything that you may have seen or heard or may

3    see or hear outside the courtroom, it's not evidence.         It must

4    be disregarded.   As I probably made too clear yesterday, you

5    must decide the case just based on the evidence presented here

6    in the courtroom and the law.

7               Now, another way to look at the evidence is to say it

8    can be direct or circumstantial.

9               So by direct evidence, we mean direct proof of a fact,

10   like the testimony of an eyewitness, someone who's present at

11   an event and comes in and tells you what they saw or heard.

12              By circumstantial evidence, we mean you've got proof

13   of certain facts; and then based on those facts, you may

14   decide -- you may infer or conclude that other facts exist.

15              And I'm just going to give you a simple example, which

16   is:    You go off to work in the morning.     It's a bright, sunny

17   day.    You happen to work in an office where there's no windows.

18   A couple of hours later, one of your co-workers comes in

19   folding up a dripping wet umbrella, taking off a dripping-wet

20   raincoat.

21              Well, you didn't see outside.     You couldn't because

22   you didn't have windows.    But based on what you did see, you

23   might reasonably conclude that it had been raining outside.

24   That's what we mean by circumstantial evidence.        You may

25   decide, based on certain facts, that other facts exist based on

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1    your reason and common sense.

2             You may consider both direct and circumstantial

3    evidence in making your decision in this case.

4             It's also going to be up to you to decide which

5    witnesses to believe, which witnesses not to believe, or how

6    much of any particular witness's testimony to accept or reject.

7    And I'll give you some additional guidelines on witness

8    credibility at the end of the case, but essentially it's a

9    matter of paying attention, using your common sense.

10            Also regarding witnesses, I'll tell you that

11   ordinarily they are not permitted to testify to their opinions

12   as opposed to what they saw or heard.

13            We make an exception for that from time to time for a

14   witness who has particular experience or education or training

15   in a particular field, and they may be able to give you

16   opinions.   Something like an analysis of a substance, as to

17   whether it is or is not a particular drug, for example, a

18   chemist might testify about that.

19            And people in that circumstance may be permitted to

20   give you opinion testimony if it would be helpful for you to

21   decide the facts in this case.

22            Again, you do not have to accept any expert's opinion,

23   even if it's uncontradicted.     You should consider it.      You

24   should consider the reasons that are given, the experience and

25   training of the expert, but it's up to you to decide how much

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1    weight, if any, to give an expert's testimony.

2               As you know, this is a criminal case.      I advised you

3    during voir dire that there are certain basic rules about a

4    criminal case that you must keep in mind.       Let me repeat some

5    of that.

6               First of all, a defendant -- all defendants are

7    presumed innocent unless and until they've been proved guilty

8    beyond a reasonable doubt.

9               So the indictment, the set of charges that is brought

10   by the Government against the defendants, it's only an

11   accusation.    Nothing more.   It's not evidence.     It's not proof

12   of guilt or anything else.     The defendants start out with a

13   clean slate and a presumption of innocence.

14              The burden of proof is on the Government throughout

15   the case.

16              A defendant has no burden to prove his or her

17   innocence or to present any evidence or to testify.         And

18   because the defendants have that right to remain silent, if

19   that is their choice, you may not consider that in any way at

20   the end of the case when you arrive at your verdict.

21              The Government must prove the defendants' guilt beyond

22   a reasonable doubt.    Again, I'll give you some further

23   instructions at the end of the case that is higher than the

24   standard of proof in a civil case.

25              And, finally, as you can see, there are a number of

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1    separate defendants.    You will hear that there are separate

2    charges.   Again, when at the end of the case you are deciding

3    upon your verdict, you must consider each defendant and each

4    count or each charge separately.

5               All right.   I'm going to give you some brief

6    instructions on the specific charges in this case.         You may

7    hear more about that from counsel as well.        And, again, I will

8    give you the longer, written instructions that control at the

9    end of the case.

10              But in this case Count 1, the first count of the

11   indictment, charges the defendants with conspiracy to violate

12   something called the Racketeer Influenced and Corrupt

13   Organizations Act, the RICO Act.      This means the defendants

14   have been charged with a conspiracy, which is an agreement to

15   do something illegal.    So they've been charged with a

16   conspiracy to conduct or participate in the affairs of an

17   enterprise through a pattern of racketeering activity.

18              Briefly, in order to prove that charge, the Government

19   would have to establish beyond a reasonable doubt several

20   things:

21              First, that there was an agreement among at least two

22   people to participate in an enterprise that would affect

23   interstate commerce through a pattern of racketeering activity.

24              Second, they would have to show as to the particular

25   defendant you're considering that that defendant knowingly and

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1    willfully became a member of that agreement.

2             And, third, that the defendant or another member of

3    the conspiracy agreed to commit to racketeering acts.

4             Again, a conspiracy is an agreement among at least two

5    people to achieve an unlawful object.

6             An enterprise for purposes of this case includes a

7    group of people who have associated together for a common

8    purpose, engaging in a course of conduct over a period of time.

9             You will hear that the Government has charged in this

10   case that the organization they allege existed, known as

11   Murdaland Mafia Piru, including its leadership, members, and

12   associates, constitutes the enterprise.

13            The Government will have to prove that this existed,

14   that this was a group of people characterized by a common

15   purpose, an ongoing formal or informal organization, and by

16   personnel who function as a continuing unit.

17            I mentioned a pattern of racketeering activity.          There

18   have -- the Government has to prove, again, beyond a reasonable

19   doubt the commission of two racketeering acts.

20            Racketeering acts, as charged -- and you'll hear,

21   there are a number of different ones, including murder,

22   including robbery, including various drug offenses,

23   money laundering, witness tampering, witness retaliation.          The

24   Government has to prove these to prove that there are two acts

25   that are a pattern of racketeering activity.        The Government

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1    has to prove these acts are related to each other and that they

2    pose a threat of continued criminal activity as compared to two

3    unrelated acts.

4             Count 2 is a conspiracy to distribute and possess with

5    intent to distribute controlled substances, drugs, narcotics.

6             There are two essential things the Government has to

7    prove as far as Count 2.

8             Again, first of all, that there were two or more

9    people that entered into an unlawful agreement with the purpose

10   for this unlawful agreement of possessing with the intent to

11   distribute and distribution of controlled substances.         And,

12   again, that as to the particular defendant you're considering,

13   that person knowingly and willfully became a member of that

14   conspiracy with that purpose.

15            Count 3 of the indictment charges one of the

16   defendants, Mr. Dante Bailey, with what is called murder in aid

17   of racketeering.

18            In order to prove that charge, the Government has to

19   establish beyond a reasonable doubt five things.

20            First, that an enterprise affecting interstate

21   commerce existed.

22            Second, that the enterprise was engaged in

23   racketeering activity.

24            Third, that the defendant had or was seeking a

25   position in the enterprise.

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1             Fourth, that the defendant conspired to commit the

2    alleged murder.

3             And, fifth, that the defendant's general purpose in

4    committing or conspiring to commit murder was to maintain or

5    increase his position in the enterprise.       That is Count 3.

6             There are also -- and I'm not going to go through all

7    the numbers of the charges at the moment, but there are some

8    specific counts against various of the defendants that

9    essentially charge unlawful possession of a firearm.

10            For those charges, unlawful possession of a firearm,

11   the Government has to prove beyond a reasonable doubt, first,

12   that the defendant you're considering was convicted in any

13   court of a crime punishable by imprisonment for a term of more

14   than one year.

15            Second, that on the date charged in the indictment, or

16   close to it, the defendant knowingly possessed the firearm or

17   ammunition as charged.

18            And, third, that the possession was in or affecting

19   interstate or foreign commerce.

20            There are also a number of counts that charge specific

21   defendants with specific instances of distribution or

22   possession with intent to distribute a controlled substance.

23   This is -- on those specific counts for possession with intent

24   to distribute, the Government has to prove beyond a reasonable

25   doubt that on or close to the date charged, the defendant

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1    possessed narcotic drugs, and there will be a specific one

2    charged.   It might be heroin.    Might be cocaine.      There are

3    different narcotic drugs.

4               Second, that the defendant knew he possessed narcotic

5    drugs.

6               And, third, that he possessed them with the intent to

7    distribute them.

8               If it is a charge of distribution, the Government must

9    prove beyond a reasonable doubt that the defendant you're

10   considering, in fact, distributed narcotics, narcotic drugs, on

11   the particular date and that he did so knowingly.

12              And, finally, there will also be a charge, I believe,

13   as to one defendant for possession of a firearm in furtherance

14   of a drug-trafficking crime.

15              In that regard, the Government would have to prove,

16   first of all, that the defendant had committed a

17   drug-trafficking crime for which he might be prosecuted in a

18   court of the United States.

19              And, second, that he knowingly possessed a firearm in

20   furtherance of that drug-trafficking crime.

21              Again, that is a brief outline, not a full statement

22   of every aspect of the case that you will consider when you

23   have the final instructions at the end, but I wanted to give

24   you an idea of what the charges are going to be.

25              Counsel on both sides may also address that with you.

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1             Ultimately, at the end of the case, the instructions

2    that I give you on the law are what will control.

3             Going back briefly to your conduct as jurors, as I

4    think I told you yesterday, you have to decide the case based

5    on the evidence here in the courtroom, and it will just be a

6    repeating theme that you may not conduct any independent

7    research on this case.    You shouldn't consult any kind of

8    reference materials, search the Internet, go on any Web sites,

9    blogs, Facebook, anything to either talk about or to research

10   this case.   You just must not do that.      Until you go out to

11   deliberate for the reasons I've told you, you just shouldn't

12   discuss the case with anyone, even your fellow jurors.          Keep an

13   open mind.   Wait until the end.

14            Don't form any opinion.      Don't make up your mind until

15   all the evidence is in.

16            If you want to take notes during the course of the

17   trial, you're welcome to do that.      I believe you've been

18   provided paper and so forth.

19            Obviously, it's also important to pay attention to

20   what the witness is saying.

21            If some of you take notes and some of you don't, the

22   notes do not control.    When you're deliberating, everybody's

23   individual recollection is to be considered.        And if you do

24   take notes, don't take them out of here.       They need to stay in

25   the jury room or wherever Ms. Moyé tells you to leave them.

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1    But don't take them out of here with you.

2               I think you will find that the lawyers do a very

3    thorough job of asking questions; however, as you are sitting

4    there, if you have a question in your mind that is important to

5    you that is not being answered, don't discuss it with your

6    fellow jurors, but write it down on a piece of paper.         Get my

7    attention, Ms. Moyé's attention, and I will discuss it with

8    counsel.   And if it's a question that we can answer, that we

9    can have a witness answer, we will do that.

10              I should also tell you that while we have an excellent

11   court reporter here, we don't have instantaneous transcript.

12   Please don't count on the fact that I would be able to just

13   have everything read back to you at the end of the case.          So,

14   again, it's important to pay attention, take notes if you want

15   to.

16              And finally, I should tell you we've put you in the

17   jury box sort of in the order you were on our list.

18              One of the first things that I will ask you to do at

19   the end of the case is to choose someone to be your foreperson.

20   You can elect a foreperson.

21              The foreperson doesn't get any extra vote.       We just

22   need someone to be your spokesperson in court and to preside

23   over your deliberations.

24              But that's a decision you can make later on down the

25   road.

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1             Okay.   So we will begin in just a minute.

2             What comes first are what's called opening statements.

3    The Government goes first.     An opening statement is not

4    evidence.    It's not argument.   It's just an outline that

5    counsel may want to give you to help you understand the

6    evidence as it comes in.

7             After the Government, defense counsel, again, have the

8    opportunity to make an opening statement if they choose to.

9    They don't have to.    They may choose not to, or they may choose

10   to reserve it.   It's up to them.     Same rule applies, of course.

11   It's not evidence.    It's not an argument if they do make a

12   statement.

13            The Government will go forward to present witnesses.

14   Defense counsel have the right to cross-examine those

15   witnesses, ask their own questions.

16            At the end of the Government's evidence, as you know,

17   the defendants have the right, if they choose, to call

18   witnesses or present testimony.      That's up to them.

19            And then there will be an opportunity for closing

20   arguments at the end of the case by counsel where they can

21   summarize what they think the evidence has shown.

22            I'll be giving you final instructions on the law, and

23   at that point you will retire to deliberate on your verdict.

24            I told you the general schedule yesterday.

25   Unfortunately, there are delays from time to time for various

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1    reasons.

2               I'm generally counting on a 10:00 to 5:00 day with

3    reasonable recesses.      Today is one of those 5 o'clock days.         I

4    know you were here late yesterday.

5               I've told you that there were -- there might

6    occasionally be a time that I would be asking you to stay late,

7    although not later than 6:00.

8               And so I need to tell you that this particular week,

9    Wednesday and Thursday may be two of those days where I would

10   ask you to stay until 6 o'clock.

11              So with that, counsel, the Government will go first,

12   opening statement.

13              MS. HOFFMAN:    Thank you.

14              THE CLERK:   Ms. Hoffman, microphone.

15              MS. HOFFMAN:    "My blood is my honor.     My honor is my

16   blood.   If I ever dishonor, take my blood."

17              What you just heard is the oath of

18   Murdaland Mafia Piru, or MMP for short, a violent subset of the

19   Bloods gang that for many years dominated the drug trade in

20   large parts of Baltimore.

21              In the words of the gang's leader, Dante Bailey, who

22   is sitting here behind me (indicating), the name alone said a

23   lot.

24              During the course of this trial, you're going to learn

25   about how Murdaland Mafia Piru earned its name.         You're going

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1    to hear about over a dozen murders, attempted murders, and

2    conspiracies to commit murder, all carried out in furtherance

3    of the gang.

4             You'll hear about violence to retaliate against rivals

5    and assert the gang's dominance, violence carried out to impose

6    discipline in the gang, and the violence carried out to

7    eliminate potential witnesses and prevent successful

8    prosecution by law enforcement.

9             You'll even hear about plots to murder the very

10   witnesses who you'll hear testify in this case.

11            Also, as the name suggests, MMP borrowed a lot of

12   terminology and ideas from the old Italian mafia.

13            For instance, MMP's oath that you just heard a minute

14   ago is called the Omertà code.      In the Italian mafia, Omertà

15   meant silence.   MMP's rank structure also took after the

16   mafias, with a Don at the top, also referred to sometimes as a

17   godfather, and various bosses, underbosses, capos, lieutenants,

18   and soldiers, sometimes referred to as mobsters, underneath.

19            One of the bosses of the gang was known as Gambino.

20            So, yes, Murdaland Mafia Piru lived up to its name.

21   It was murderous, and it was organized.

22            The six defendants sitting behind me, Dante Bailey,

23   Randy Banks, Jamal Lockley, Corloyd Anderson, Shakeen Davis,

24   and Sydni Frazier, are members and associates of MMP who

25   conspired to participate in the gang's activity through a

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1    pattern of racketeering activity that included murder, robbery,

2    extortion, witness tampering, witness retaliation, drug

3    trafficking, and money laundering.

4               Through these activities, the defendants terrorized

5    neighborhoods in Baltimore.     Sometimes their bullets hit their

6    intended targets, and sometimes the victims were unfortunate

7    citizens of Baltimore who were simply in the wrong place at the

8    wrong time.

9               By intimidating and retaliating against witnesses, the

10   defendants created a culture of fear and contempt for the rule

11   of law, all with the goal of never ending up here in a court of

12   law facing a jury of citizens like you.

13              I'm going to talk more about the defendants and the

14   charges they're facing in a few minutes.        But, first, I want to

15   back up and talk a bit about MMP, what it is, and how it got

16   started.

17              As I mentioned, MMP is a subset of the Bloods gang.

18   It's also sometimes referred to as the mob or the mobsters.

19              Its main territories were in Northwest Baltimore, the

20   area surrounding Windsor Mill and Forest Park and the area

21   surrounding Gwynn Oak and Liberty Heights.

22              But it also had offshoots in the Lauretta and Warwick

23   area, the 27th and Boone Street area, and even in other cities,

24   such as DC.

25              The leader of MMP is Dante Bailey, also known as

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1    Gutta.   Bailey was responsible for writing and disseminating

2    many of MMP's founding documents about a decade ago.

3              In 2012, he flew to California to meet with West Coast

4    Bloods leaders and gain their official approval for the MMP set

5    in Maryland.

6              As I mentioned, MMP is organized hierarchically.          We

7    talked about the rank structure.      Bailey is the Don or

8    "The Godfather" at the top.

9              The Defendant Randy Banks, also known as Dirt, was a

10   boss in MMP's Gwynn Oak and Liberty Heights territory.

11             The Defendant Corloyd Anderson, also known as Bo, was

12   a boss in MMP's Windsor Mill and Forest Park territory.

13             There were other bosses who aren't seated here behind

14   me but who you'll hear about during trial.

15             There was Dontray Johnson, also known as Gambino or

16   Bino, who was a boss of MMP's territory at 27th and Boone in

17   East Baltimore.

18             Davon Temple, also known as Nizzy, was the boss of

19   MMP's territory at Lauretta and Warwick.

20             Adrian Jamal Spence, also known as Spittle or SP, was

21   another boss in the Windsor Mill and Forest Park area.

22             And Ayinde Deleon, also known as Murda, was another

23   boss in Gwynn Oak and Liberty Heights territory, along with the

24   Defendant Banks.

25             MMP gang paperwork explains that some MMP members have

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1    specialized functions, such as training soldiers to defend our

2    family or collecting the dues money from all the soldiers.

3              In practice, these specialized functions were not that

4    rigid.   Most members engaged in many different forms of

5    criminal activity in furtherance of the gang.

6              You'll learn that MMP members were required to learn

7    and follow certain rules of conduct.

8              Members who violated the rules or who disobeyed an

9    order from a superior were subjected to disciplinary measures

10   that ranged from fines to physical beatings to murder.

11             Some of MMP's rules include, quote, Retaliation is a

12   must, unquote, and, quote, Whenever we are forced to strike,

13   our only option is to kill.

14             The most serious violation of MMP's rules, punishable

15   by death, is, quote, Any cooperation with authorities that

16   leads to incriminating others.

17             MMP members followed that Omertà code of silence.

18   They used derogatory terms to refer to people who cooperated

19   with law enforcement.    They called them snitches or rats or

20   said that they were not right.

21             You'll hear a lot about the measures MMP took to

22   systematically silence witnesses to their criminal activity so

23   that they could continue to operate outside the rule of law.

24             Members enhanced their status within the gang by

25   putting in work or carrying out acts of violence.

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1             For instance, they could earn a lightning bolt tattoo

2    for killing for the mob.

3             So how did MMP members make money?        The main way was

4    through drug trafficking.     You'll hear that they also committed

5    robberies and even the occasional burglary, but their bread and

6    butter was drugs.

7             MMP members operated street-level drug distribution

8    shops in their territories where they sold heroin, cocaine,

9    crack cocaine, Fentanyl, marijuana, Percocets, Molly.          You name

10   it, they had it.

11            The Defendant Anderson supplied a lot of the heroin

12   that members of the gang sold.

13            The Defendant Banks supplied a lot of the cocaine and

14   crack cocaine.

15            The Defendants Shakeen Davis and Sydni Frazier were

16   more of your street-level hitters, meaning they primarily sold

17   at the retail level directly to customers.

18            Jamal Lockley was somewhere in the middle.          He sold at

19   the retail level, but he also had street hitters who worked for

20   him.

21            MMP's most lucrative drug shops were at Windsor Mill

22   and Forest Park and at Gwynn Oak and Liberty Heights.

23            In the 5200 block of Windsor Mill Road, right where it

24   intersects with Forest Park Avenue, there is a BP gas station

25   that was considered to be MMP's headquarters.

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1             MMP's drug shop in the 5200 block of Windsor Mill Road

2    had the ideal setup.    It was very close to Interstate 70, which

3    made it easy to access for customers driving from

4    Western Maryland and neighboring states.

5             There was a near-constant flow of customer traffic at

6    this location, day in and day out.

7             It wasn't unusual for MMP members and associates to

8    sell a kilogram of drugs per week at this location, which could

9    translate to over $100,000 in drug revenue.

10            MMP members who sold drugs in this area were sometimes

11   referred to as 5200 boys, a reference to the 5200 block of

12   Windsor Mill Road.

13            You're going to hear a lot about the BP gas station in

14   the 5200 block of Windsor Mill Road during this case, and

15   you're going to learn that the gang basically took control of

16   the business there.    They stashed drugs and firearms on the

17   property.   They made drug sales right at the pumps in broad

18   daylight.

19            Five of the murders and attempted murders you're going

20   to hear about took place right there.

21            You'll learn that MMP members were required to pay

22   dues to the gang, consisting of a portion of the proceeds of

23   their drug sales.    And they were subject to reprisal and

24   sometimes murder for failing to do so.

25            Nonmembers who wanted to sell drugs in MMP's

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1    territories were forced to pay a tax or they were targeted for

2    violence unless they had special approval from the gang's

3    leaders.

4               There were some 5200 boys who were nonmembers but were

5    considered to be part of the MMP team because they had grown up

6    in the area or were friends or had friends or relatives who

7    were in the gang.

8               The Defendants Jamal Lockley and Sydni Frazier fall in

9    that category.   You'll hear that they essentially functioned as

10   part of MMP even though they didn't jump through the formal

11   hoops of membership like taking the oath.

12              You're going to learn a lot about MMP's symbols and

13   terminology.    By the end of this trial, you'll be able to

14   recognize the different hand signs for MMP, the M and the 5 and

15   2 sign for the 5200 block of Windsor Mill Road.

16              You're going to learn their slogans for greeting one

17   another:    "What's mobbing?"   And for saying good-bye:

18   "Heartbeat" and "double time."

19              You're going to learn about code words that they used

20   for guns:    Blicky, ratchet, or Jimmy Mack.

21              You're going to learn about their tattoos, the M for

22   taking the mafia oath and the lightning bolt for killing for

23   the gang.

24              So in summary, MMP makes money by selling drugs and by

25   extorting nonmembers who sell drugs in its territories, as well

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1    as occasionally through robbery.

2             And MMP uses violence and threats of violence to

3    maintain its territories, eliminate rivals, preserve order

4    within the gang, and silence witnesses.

5             So where does the evidence in this case come from?

6    Well, it takes the concerted efforts of local, state, and

7    federal law enforcement to deal with such an entrenched

8    organization.

9             Without the resources of the federal government and

10   its ability to really protect witnesses, a lot of what you're

11   about to see and hear would never come to light.

12            Some of the evidence that you'll hear will be in the

13   form of intercepted wiretap calls.       There were eight phone

14   lines intercepted in the summer of 2015 and another three phone

15   lines intercepted in the summer of 2016.

16            Some of the evidence comes in the form of jail calls.

17   MMP members sometimes got arrested, but just -- but they did

18   not withdraw from the conspiracy or stop committing crimes just

19   because they were behind bars.

20            In fact, one of the benefits of membership in MMP was

21   that if you did get arrested, your brothers in the gang were

22   supposed to help you out while you were in jail.         They might do

23   this by sending you money or helping to smuggle drugs into the

24   jail for you or helping dispose of evidence or even witnesses.

25            Incarcerated MMP members use jail phones to stay in

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1    touch with MMP members on the streets.       Each and every one of

2    the defendants sitting here behind me was intercepted in wire

3    calls and/or jail calls about gang -- talking about gang and

4    drug activity.

5             Many of the defendants had cell phones that were

6    seized by law enforcement during this investigation.          You're

7    going to see a lot of incriminating text messages, call logs,

8    photos, and videos from the defendants' cell phones.

9             You'll hear about search warrants that were executed

10   on the defendants' residences and vehicles.        And you'll see

11   firearms, drugs, drug paraphernalia, and MMP gang paperwork

12   seized from a bunch of different locations.

13            The defendants also left a trail of evidence on

14   Facebook, Instagram, and YouTube.       You're going to see photos,

15   videos, and comments posted to these social media sites in

16   which the defendants identified themselves as members of MMP,

17   discussed gang business, flaunted firearms, and boasted about

18   killing those who stood in the way of the gang.

19            You're also going to hear about ballistic evidence and

20   DNA evidence linking the defendants to murders.

21            These are just some of the types of evidence that

22   you'll be shown.

23            All right.    So let's talk about the six defendants.

24   All of them had street names, and you're going to hear them

25   referred to by their street names as much or more than by their

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1    legal names.

2              We've talked about Dante Bailey already.         He was the

3    founder and undisputed -- he was the founder and undisputed

4    authority figure of MMP.     He was known as Gutta or Almighty.

5    And in the gang paperwork, he was referred to as Wolf or

6    Werewolf.    Sometimes people referred to him as Big Man or

7    Big Homie.

8              There's not going to be much question in your minds

9    that Bailey was a member of MMP.      He's a walking billboard for

10   the gang.    He has tattoos of "Murdaland" and "Mafia" on his

11   body that you'll see.    He has the lightning bolts on his face.

12   And you're going to hear a lot about MMP from Bailey in his own

13   words.

14             For instance, you'll see him in a YouTube video with

15   the Defendant Jamal Lockley.      Describing the crew at

16   Forest Park and Windsor Mill, Bailey says, quote, You get out

17   of line, you get run over.     We got teams for money and murder.

18   Whatever you want to do.

19             You'll also read some of Bailey's writings describing

20   MMP.   For instance, you'll see a letter that was recovered

21   during a search warrant at his residence in May of 2016 in

22   which he recounts the history of MMP and identifies its

23   territories.

24             He says, quote, The science behind being 25 percent

25   Piru, 75 percent MOB is a representation of our roots, which is

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1    Piru, and our blood line, which is mafia.        M's come before all.

2    M1, P2, I will murder you for Piru.

3             You will hear Bailey in recorded jail calls barking

4    out orders to members of the gang.

5             For instance, in one call, he instructs an associate

6    to collect $700 from members of the organization and give it to

7    his wife and co-conspirator, Tiffany Bailey, so that she can

8    pay for his bail.

9             In another call, he tells an incarcerated MMP member

10   to assault another inmate as retaliation for cooperating with

11   law enforcement.

12            You'll hear him say, quote, Punish that "N" word, yo.

13   Punish that "N" word.    I got you.     I'll send you a money order.

14   Destroy that "N" word, yo.

15            Bailey called the shots in MMP, but he also wasn't

16   afraid to get his own hands dirty.       Not only did he order many

17   of the murders and attempted murders that you're going to hear

18   about in this trial; he also committed some of them with his

19   own hand.

20            For example, you're going to hear that in November of

21   2012, Bailey ordered the murder of an MMP member named

22   Antoine Ellis, who went by the unfortunate nickname Poopy.

23            Bailey decided Ellis had to die because Ellis

24   allegedly joined a different gang, the Black Guerilla Family,

25   or BGF, and was trying to play both sides.

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1               MMP boss Dontray Johnson, a/k/a Gambino, carried out

2    Bailey's orders.

3               On Thanksgiving Day of 2012, he walked Ellis to the

4    baseball field across the street from the BP gas station and

5    shot him to death.

6               Earlier that day Johnson had posted a comment to his

7    Facebook account that said, "198 and risin'," a reference to

8    that year's murder tally in Baltimore City, which he was about

9    to increase by one.

10              You'll also see Facebook comments that Johnson and

11   Bailey exchanged after the murder.

12              There were other members of MMP who suffered the same

13   fate as Ellis for showing disloyalty to the gang.

14              The evidence will show that in February 2015, Bailey

15   himself murdered MMP member James Edwards, also known as

16   Bangout.   At least four witnesses will tell you about this

17   murder.    The sum and substance of their testimony will be that

18   Bailey killed Bangout because Bangout was making threats

19   against members of the gang.

20              Bailey told one of these witnesses that he shot

21   Bangout in the head, and he knew Bangout was dead when he drew

22   a long sigh.

23              There will also be evidence of a ballistics connection

24   between the Bangout murder and an attempted murder by Bailey at

25   the BP gas station three nights earlier.        You'll hear from a

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1    ballistics expert who compared the cartridge casings from both

2    scenes.

3               And you'll see surveillance footage of the shooting at

4    the BP gas station.

5               You heard earlier that MMP members could be punished

6    or even killed for failing to pay gang dues.         That's what

7    happened to Brian Johnson, also known as Nutty B, in September

8    of 2015.

9               The evidence will show that Dontray Johnson --

10   whoops -- this guy again, murdered Nutty B because he refused

11   to pay dues that Johnson was attempting to collect for Bailey.

12              Johnson executed Nutty B in broad daylight, outside

13   the convenience store attached to the BP gas station.          The

14   whole thing was captured on surveillance footage, and you're

15   going to watch that footage.

16              Before the murder, you'll see Johnson interacting with

17   other members of MMP, including Melvin Lashley, who has an M

18   tattoo on his face, as well as the Defendant Sydni Frazier.

19              Then you'll see Johnson, Lashley, and others confront

20   the victim outside the store.      And you'll watch as Johnson

21   pulls out a gun and shoots Nutty B through the chest at close

22   range, sending him flying backwards through the glass

23   storefront.

24              Just after the murder, Johnson visited Bailey at the

25   Baltimore County Detention Center and recounted what had

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1    happened.    You're going to hear a recording of their

2    conversation.    Bailey approved the murder, telling Johnson to

3    continue doing what he was doing to enforce the dues system.

4               In Bailey's words, quote, I told you about this.         Blow

5    a fucking head off.    Blow another "N" word's head off.        I said

6    I'm through.    Don't play with him.     Make him scared.

7               Bailey also instructed Johnson to, quote, Holler at

8    Randy -- that's the Defendant Randy Banks -- and, quote, Tell

9    him we raising the fourth generation.       We going at everybody.

10   We ain't fucking with nothing.

11              So now we come to the Defendant Randy Banks, who is

12   seated next to Bailey.    Banks went by Dirt or sometimes Sand.

13   As I mentioned, he was a high-ranking member, a boss of MMP's

14   territory at Gwynn Oak and Liberty Heights.

15              There won't be much question about his membership in

16   MMP either.    You'll see him in photographs with Dante Bailey

17   and others making the M sign for MMP and you'll even see

18   discussions of him in the MMP gang paperwork itself.

19              For instance, gang paperwork that was recovered by

20   law enforcement in 2012 explains, quote, The mob flourished in

21   West Baltimore within the Gwynn Oak area under the tutelage of

22   Dirt.

23              Gang paperwork that was recovered from Bailey's

24   residence in July of 2015 identifies Sand as the boss of

25   finance.    Banks is also identified as the BOF, or boss of

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1    finance, in a file from Bailey's iCloud account.

2             You'll learn that Banks was savvy and took precautions

3    so as not to be intercepted on phone calls.

4             For instance, you'll hear a jail call between two

5    other MMP members, Dominick Wedlock, also known as Rage, and

6    Maurice Braham, also known as Mookie, in which they talk about

7    how Dirt, quote, keeps switching his numbers.

8             So you won't hear many wire or jail calls involving

9    Banks, but you will hear calls between other members of MMP

10   talking about Banks and his role in the gang.

11            As you might guess from his title as the boss of

12   finance, Banks was in charge of the gang's finances.          He wasn't

13   typically out on the street hitting drug sales, but he oversaw

14   the drug operation at Gwynn Oak and Liberty Heights.

15            You'll hear that he was associated with multiple

16   trap houses, houses where drugs were cooked up, packaged, and

17   sold.

18            You'll see photographs of Banks in one of his

19   trap houses, and you'll see drug paraphernalia -- sifters,

20   scales, et cetera -- on the table in front of him.

21            He made sure that MMP members had drugs to sell and

22   that the drug proceeds made their way back to him.

23            And he used those proceeds to finance the gang's

24   ongoing criminal activity.

25            For instance, you'll hear a jail call from

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1    Dontray Johnson, Gambino, a few days after he killed Nutty B in

2    which he instructs a woman to go down to Gwynn Oak and collect

3    money from Dirt, Banks.

4              Johnson says, quote, Tell him I need 500 or 1,000 or

5    something to my lawyer.

6              Banks was the money man.

7              Banks' role wasn't limited to the financial side of

8    the operation, though.    He did not shy away from violence

9    either.

10             A minute ago you heard about MMP member

11   Maurice Braham, a/k/a Mookie.

12             In April of 2016, Mookie was killed by a rival gang

13   member.   The evidence will show that Banks was involved in

14   plots to commit retaliatory violence after Mookie's death.

15             You'll hear that after the murder, Banks confronted a

16   member of the rival gang, demanded to know who killed Mookie,

17   and told him that he and his crew would be dead by the end of

18   summer.

19             And you'll hear about some of the people who lost

20   their lives after Banks made that statement.

21             Banks was also present at the scene of an attempted

22   murder of Samartine Hill, also known as Snook, in October of

23   2012.   You'll hear that Dante Bailey ordered a hit on Snook

24   based on a rumor that Snook was a snitch.

25             Another MMP member named William Banks, also known as

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1    Trouble, carried out the hit on Bailey's orders.

2             Trouble unloaded a .45-caliber gun on Snook outside a

3    crowded nightclub in downtown Baltimore, called Club Mirage.

4             You're going to see high-definition surveillance

5    footage of the shooting.     And you'll see the Defendant

6    Randy Banks arrive at Club Mirage with Bailey; the shooter,

7    Trouble; Dontray Johnson, Gambino; and other members of MMP.

8             Johnson, Gambino, was even wearing a red shirt that

9    said "Mob Squad" on the back.

10            The evidence will show that not only was Banks there

11   at the scene when Snook was shot; he was also in the loop.

12   Investigators later recovered gang paperwork from Bailey's

13   residence that included a screenplay-like narration of the

14   attempted murder.

15            And there's a scene where Nooks gets hit at

16   Club Mirage.   And in that scene, Bailey and Randy Banks, the

17   defendant, see Nooks -- that's the victim, Hill -- standing in

18   line outside the club.    And they say they're going to, quote,

19   shut this bitch down and make it look like 4th of July.

20            Now we come to the Defendant Jamal Lockley, who is

21   seated to the right of Banks.

22            Lockley went by T-Roy or Droid.

23            As I mentioned earlier, you'll hear that Lockley was

24   not an actual member of MMP, but he was a 5200 boy who

25   functioned as part of the gang.

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1               You'll see him in photographs with Bailey and other

2    members of MMP who are making the M sign or the 5 and 2 sign

3    for 5200.

4               Lockley worked in concert with other MMP members to

5    sell drugs in MMP's territory at Windsor Mill and Forest Park.

6               He also helped Dante Bailey commit a retaliatory gang

7    murder.    And he conspired with Bailey to kill a witness against

8    a gang, which I'm going to come back to a little later.

9               Lockley was intercepted in hundreds of wire calls

10   talking about drug trafficking and other gang business.

11              You'll hear him in calls from summer of 2015 arranging

12   to get supplies of heroin from MMP boss Adrian Jamal Spence,

13   also known as Spittle.    You'll also hear him in calls with

14   Spence shortly after Dante Bailey got arrested asking Spence

15   whether he needed help paying for Bailey's bail.

16              You'll hear Lockley in calls from summer of 2016

17   arranging to get heroin supplies from the Defendant

18   Corloyd Anderson.

19              You'll also hear dozens and dozens of calls in which

20   Lockley talks very explicitly about drug sales with customers.

21              For instance, in a call in July of 2016, a drug

22   customer complains about the quality of the heroin that

23   Lockley's hitter sold him.     The customer says, quote, Your boy

24   gave me what looks -- appears to be straight up gravel,

25   unquote.

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1              Lockley angrily retorts, quote, That ain't no damned

2    gravel, man.   It's what you need.

3              The customer backs down pretty quickly, saying, I

4    wasn't disrespecting you.     No problem.

5              In another call from July of 2016, a heroin customer

6    tells Lockley, quote, Hey, that shit was good, man.          Be

7    careful, though, 'cause my friend actually had to call an

8    ambulance.

9              Lockley asks, What color was it?

10             And the customer says, It was kind of brown.

11             You're going to hear from that heroin customer, and

12   you're also going to hear from the woman who overdosed from the

13   heroin Lockley sold.

14             Lockley's role was not limited to drug trafficking.

15   As I mentioned, he was also involved in a retaliatory gang

16   murder.   You heard earlier that MMP member Maurice Braham, also

17   known as Mookie, was killed by a rival gang member in April of

18   2016.

19             You're going to hear that in the hours after the

20   murder, Lockley, Bailey, and William Banks, also known as

21   Trouble, all got in Lockley's car and drove around the rival

22   gang's neighborhood looking to retaliate.

23             Bailey saw a man walking down the street, hopped out

24   of the car, and shot the man in the head, killing him.

25             Lockley drove all of them to and from the scene.

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1              It turned out that the victim, whose name was

2    Anthony Hornes, pictured here, had no connection whatsoever to

3    Mookie's murder.   He posed absolutely no threat to anyone at

4    the time he was gunned down.

5              Hornes was killed because he was suspected, suspected

6    of being affiliated with the rival gang.        That's how justice

7    works in MMP.   You don't get a trial.      You don't get a jury.

8    You get shot in the head and left to die.

9              Now we come to Corloyd Anderson, also known as Bo.

10             Anderson was also sometimes referred to as Fat Tony in

11   the gang paperwork.

12             Like Randy Banks, Anderson was a high-ranking member

13   of MMP.   He was a boss in the Windsor Mill and Forest Park

14   area.

15             You'll see him in photographs with Bailey making the M

16   sign for MMP.

17             He's also identified as a boss in -- a boss of the

18   gang in a file that was recovered from Bailey's iCloud account.

19             Like Randy Banks, Anderson was a money-maker for the

20   gang.   You'll hear that he supplied large volumes of heroin to

21   the MMP members and associates who sold drugs in the area of

22   the 5200 block of Windsor Mill Road and the BP gas station.

23             You'll hear that in February of 2014, a courier for

24   Anderson was stopped at BWI Airport as a result of a drug dog

25   sniff, and airport personnel seized a bag containing over

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1    $70,000 in cash.

2               Anderson showed up at the airport to claim the money,

3    and he alleged that he had won it gambling.

4               But the evidence will show that in reality, the money

5    was the proceeds of drug trafficking and it was intended for

6    Anderson's drug supplier.

7               Anderson merely gambled his drug proceeds at the

8    casino in an attempt to launder it.

9               Anderson was intercepted in wire calls discussing

10   MMP's drug business with Defendant Jamal Lockley in the summer

11   of 2016.

12              The calls will show that Anderson was supplying drugs

13   to Lockley on consignment, fronting them, and Lockley was

14   paying Anderson out of the proceeds.

15              For instance, you'll hear a call in which Anderson

16   complains that the money is short.

17              And Lockley assures him, quote, We've been giving you

18   everything every day.

19              Then he says, Let me try and get you another five

20   tomorrow.

21              Anderson was more cautious than Lockley, and there are

22   some humorous calls where he gets mad at Lockley for talking

23   recklessly on the phone.

24              For instance, in one call, Anderson again complains

25   that the money was a little off.

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1              Lockley says it couldn't have been off because he

2    counted it out and it was thirty-four fifty.         He says, I took

3    50 out and gave it to Charlie.

4              And Anderson replies, quote, All right.        Shut the

5    fuck.   Goddamn, yo.   Why you get so dumb over the thing?

6              You'll hear that Anderson, too, was connected to

7    violence carried out in furtherance of MMP.

8              A few minutes ago we talked about the murder of

9    Antoine Ellis with the unfortunate nickname Poopy.

10             You'll hear that Anderson was the source of the gun

11   that Andre Johnson used to kill Ellis, and he helped dispose of

12   the murder weapon afterward.

13             On September 27th of 2016, investigators executed a

14   search warrant at Anderson's house and recovered a loaded Glock

15   pistol from under his mattress.

16             And in a postarrest interview, Anderson admitted that

17   the gun was his, and he also admitted to dealing heroin.

18             Now we come to Shakeen Davis, who is seated behind the

19   other defendants.    Davis went by Creams or Creams Dinero on the

20   street.   Davis was a mobster and proud of it.        Here he is in an

21   Instagram photo making the M sign.       And he added the caption:

22   Murdaland Mafia Mob, the world is ours.

23             Here's his profile page [reading]:       5Deuce BOSS Death

24   Bk4 Dishonor OMERTa Code/52Hunnit F.A.M. [G][M][B]

25   410MurderLand.

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1             So my question where they're talking about Omertà on

2    Instagram is consistent with the principle of Omertà, but there

3    you have it.

4             Davis dealt drugs, but he was a shooter too.          He had a

5    special affinity for firearms and particularly AR-15s.          You'll

6    hear that Davis used an AR-15 to commit an attempted murder in

7    furtherance of MMP in May of 2015.       It started when MMP member

8    Brian Johnson, also known as Nutty B, got into an altercation

9    with a couple guys at the BP gas station who weren't from

10   around there.

11            In defense of his fellow gang member, Davis got in his

12   car, pulled up alongside the two guys in their car, pulled out

13   an AR-15, and started unloading on them in broad daylight in

14   the middle of traffic on Forest Park Avenue.

15            Luckily, the victims only suffered graze wounds and

16   cuts from broken glass.     You'll see pictures of their car with

17   the windows shot out and pictures of their injuries.

18            You'll also hear a jail call from

19   Defendant Sydni Frazier to Davis not long after the incident in

20   which Davis says he repainted his car because he says, quote, I

21   did some dumb shit out of there.      You feel me?

22            In April 2016, Davis was arrested by members of the

23   Baltimore County Police Department, and they recovered an AR-15

24   and a police-issue Glock pistol in the trunk of his car.

25            Believe it or not, this was a different AR-15 than the

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1    one he used in the attempted murder.

2             Davis toted other guns besides AR-15s, though.           You'll

3    hear that in September of 2012, he was arrested in the

4    Windsor Mill and Forest Park area with a loaded Smith & Wesson

5    .45-caliber gun.

6             In February 2016, he posted this photo of himself to

7    Instagram with a different gun.      You'll hear that after the

8    indictment in this case, Davis was a fugitive for many months.

9    When he was finally arrested in February of 2017, he was

10   walking around Foot Locker in the mall with a loaded

11   .22-caliber pistol in his waistband and a bag of 25 grams of

12   crack cocaine and over $1,300 in cash.

13            Investigators recovered several cell phones from

14   Davis, both when he was arrested in April 2016 and when he was

15   arrested in February of 2017.

16            And you're going to see pages and pages of

17   text messages from those phones in which Davis discusses drug

18   trafficking.   You'll see texts in which customers ask for

19   specific quantities of boy and girl.       You'll learn that those

20   are street terms for heroin and cocaine, respectively.

21            You'll see texts in which Davis advertises the potency

22   of the drugs he has for sale.      He'll say, Got fire or I got a

23   bomb.

24            And you'll see a text from a customer who evidently

25   suffered the effects of that potency saying, quote, Ended up in

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1    the hospital, but I'm better now.       I'll send people your way if

2    they are looking.

3               You'll see that Davis' web search history included the

4    search for:    How to make heroin rock solid.

5               Lastly we have the Defendant Sydni Frazier, seated

6    next to Shakeen Davis.

7               Frazier went by Syd or Jr. Boss on the street.         With

8    drug customers, he called himself Perry.

9               Like Lockley, Frazier was a 5200 boy who was not an

10   actual member of MMP but worked in concert with MMP members to

11   sell drugs in the Windsor Mill and Forest Park territory.

12              Here he is in front of the graffiti on the side of the

13   BP gas station.

14              You'll see lots of pictures of Frazier with other MMP

15   members.

16              Here's an Instagram post, a screenshot of his Twitter,

17   Jr. Boss, where he says [reading]:       I do it for da hood, whole

18   mob riding with me.

19              Frazier was particularly close with

20   Defendant Shakeen Davis.     You'll hear a lot of jail calls

21   between the two of them and you'll see text messages between

22   the two of them.

23              In one call Davis greets Frazier with:       What's

24   mobbing?

25              You'll hear that Frazier sold heroin and cocaine

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1    around the BP gas station.     In the summer of 2015, Dante Bailey

2    fronted about an ounce of cocaine to Frazier to sell, but

3    Bailey got locked up before Frazier could pay him back.

4             And you're going to hear jail calls in which Bailey

5    talks about trying to collect that drug debt from Frazier.

6             Frazier had an ardent hatred for snitches.          And that

7    plays into the fifth murder we're going to talk about, the

8    August 2016 murder of Ricardo Johnson, also known as

9    Uncle Rick.

10            Uncle Rick was an "old head" who sold drugs in a

11   nearby area and allegedly had a lot of money.         You'll hear that

12   Dante Bailey greenlit or approved Uncle Rick's murder because

13   he was rumored to be a snitch.

14            You'll also hear that a few days before the murder,

15   Frazier told a group of MMP members that included the

16   Defendant Shakeen Davis that he wanted to rob Uncle Rick.           The

17   evidence will show that Frazier robbed and murdered Uncle Rick

18   to enrich himself and members of MMP, and he did it in a

19   grizzly fashion.

20            Uncle Rick's body was found in the backseat of a

21   stolen van by the side of the Light Rail tracks in Westport.

22   He'd been blindfolded, bound by the wrists and ankles, and shot

23   over 20 times.

24            Less than 12 hours after Uncle Rick's body was

25   discovered, Frazier fled from police officers who were trying

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1    to stop him for riding an illegal dirt bike.         In the course of

2    fleeing, he ditched a backpack and gloves that were recovered

3    by the police.

4              The backpack contained a jacket, two cell phones, and

5    the two murder weapons, a Smith & Wesson 9-millimeter-caliber

6    firearm and a Taurus 9-millimeter-caliber firearm.

7              The jacket and gloves were submitted for DNA testing.

8              You're going to hear from a DNA expert that the jacket

9    had Frazier's DNA on it, and that's not all.

10             The gloves had Frazier's DNA on the inside and the

11   victim's DNA on the outside.

12             You'll also see a lot of revealing text messages from

13   the cell phones Frazier abandoned.

14             For instance, a few days before the murder, Frazier

15   got a text message that said, quote, Get a box of rubber

16   gloves.   We don't want to touch nothing.

17             Frazier also sent a text message to a phone number

18   associated with the Defendant Shakeen Davis that said, quote,

19   Grab three black Jimmy Macks, two including you.

20             And remember you'll hear that "Jimmy Mack" is a term

21   sometimes used for gun.

22             You're also going to hear a jail call from

23   Dante Bailey to Jamal Lockley about a week after the murder in

24   which they joked about what happened to Uncle Rick.

25             Bailey says, quote, I heard about your uncle.         He was

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1    trying to catch the Light Rail.

2              And you'll hear Lockley laugh in response.

3              This is just some but by no means all of the evidence

4    that you'll hear regarding the defendants and the crimes that

5    they committed in furtherance of MMP.

6              I want to talk briefly about the witnesses in this

7    case.   You're going to hear from at least 50 witnesses --

8    that's a conservative estimate -- who fall into a lot of

9    different categories.

10             You'll hear from members of the community, victims of

11   the defendants' crime -- crimes, law enforcement officers who

12   responded to murders and shootings, and experts who examined

13   ballistics, DNA, and other evidence.

14             You'll hear from a 5200 boy whose brother was in the

15   gang.

16             You'll hear from someone who laundered money for the

17   gang.

18             You'll hear from a member of a rival gang in the

19   Gwynn Oak and Liberty Heights territory who had violent

20   altercations with MMP.

21             You're going to hear from an actual member of MMP,

22   someone who for a long time lived that lifestyle and, in fact,

23   committed really terrible crimes in furtherance of the gang.

24             You heard his name earlier, William Banks, also known

25   as Trouble.

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1               Banks started out as a confidential informant who was

2    assisting the investigation.      But in the midst of the

3    investigation, law enforcement officers discovered that Banks

4    had lied about the attempted murder of Samartine Hill, also

5    known as Snook, that you heard about earlier.

6               Banks had blamed it on a confederate in the gang when,

7    in fact, he did it himself at Bailey's direction.

8               So what did investigators do?     Well, they arrested

9    Trouble.    They executed a search warrant at his house.        And he

10   was indicted along with the other defendants.

11              Now he has entered a guilty plea, and he will be

12   testifying in the hope of getting some leniency in his

13   sentence.

14              He will give you an insider's perspective of what MMP

15   was and how it functioned, because he was right there with the

16   defendants committing crimes with them.

17              Given how much Trouble knows, it may not be surprising

18   to you to learn that the other defendants sitting here have

19   plotted to kill Trouble before he can take the stand.

20              For instance, you'll hear a jail call from

21   Dante Bailey to Jamal Lockley in August of 2016 in which Bailey

22   informs Lockley that Trouble is cooperating against MMP

23   member -- MMP boss Adrian Jamal Spence, or Spittle.          Bailey

24   says, quote, Spittle said in his paperwork that Trouble who

25   they said is the CI.

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1             Lockley is incredulous.

2             Bailey instructs Lockley to send Trouble to an MMP

3    member named M-Easy.    That's this guy with the lightning bolt

4    tattoo on his face.

5             And Lockley says, "All right.       Say no more."

6             You'll also hear from someone who was recruited to be

7    a member of MMP, someone who lived in the very same house as

8    Dante Bailey for a period of time and helps the gang deal

9    drugs.

10            His name is Jay Greer, also known as Champagne.           Greer

11   will tell you that he never ended up actually joining MMP, in

12   part because he didn't carry out a murder that Bailey told him

13   to commit.

14            And you'll hear that after Greer pled guilty in this

15   case pursuant to a cooperation agreement, Bailey tried to have

16   him killed too.

17            In fact, you're going to see the actual hit letter

18   that was intercepted by law enforcement in the nick of time.

19            The defense attorneys will undoubtedly tell you that

20   the witnesses for the Government can't be trusted.          Some of

21   them committed very serious crimes.       Many of them are people

22   who you probably wouldn't want as dinner guests.

23            But remember that the Government did not choose these

24   witnesses.   The defendants chose these witnesses when they

25   committed the crimes that we've discussed.

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1              These are the people who the defendants conspired

2    with.   These are the people who know what the defendants did

3    and how they did it.

4              So you aren't going to like all the witnesses.          And we

5    certainly aren't asking you to like them.        But we also aren't

6    asking you to take them on their word alone.

7              You should consider their testimony very carefully,

8    but you should also consider the ways in which their testimony

9    is corroborated, both by each other and by all the other

10   evidence in the case.

11             At the end of the case, you'll be asked to determine

12   whether the defendants are guilty of a crime, and so it might

13   be helpful to know what crimes they're charged with and what

14   the United States has to prove and what we don't have to prove

15   so that you know what to look for as the case unfolds.

16             In Count 1, all six defendants are charged with

17   conspiring to participate in a racketeering enterprise.

18             Here are the elements of racketeering conspiracy.

19             As to each defendant, you need to find that he

20   knowingly and willfully joined an agreement to participate in

21   an enterprise -- here that's MMP -- that affected interstate

22   commerce through a pattern of racketeering activity and that

23   members of the conspiracy, any members, not necessarily the

24   defendant, agreed to commit at least two racketeering acts.

25             Racketeering acts are defined types of crimes; here,

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1    murder, robbery, extortion, drug distribution and conspiracy to

2    distribute drugs, witness tampering, witness retaliation, and

3    money laundering.

4              It's important to understand that the defendants are

5    charged with conspiracy, which means the crime is the agreement

6    itself.

7              The United States does not need to prove that any of

8    the defendants committed any of the specific murders,

9    robberies, or drug transactions that you just heard about,

10   although we will.

11             The United States only needs to prove that these

12   defendants, through their words or actions, became a member or

13   associated at some point with MMP and that they did so knowing

14   that some member, any member, not necessarily them, would

15   commit at least two RICO acts.

16             So what it boils down to is actually pretty simple.

17   You need to decide whether the defendants joined or associated

18   themselves with MMP, knowing that people in the gang would

19   commit certain classes of crimes.

20             It's also important to understand that the defendants

21   don't have to be actual members of MMP.        As I mentioned, you'll

22   hear from witnesses that Bailey, Banks, Anderson, and Davis

23   were actual members of MMP; whereas, Lockley and Frazier were

24   5200 boys who acted in concert with them.

25             That distinction doesn't matter for purposes of

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1    Count 1.

2               You'll be asked if each defendant associated with MMP

3    and became a member of the racketeering conspiracy; that is,

4    agreed to participate in the objectives of MMP to engage in

5    these classes of crimes.

6               Keep in mind that many of the witnesses who you'll

7    hear from will tell us that they were members of the

8    racketeering conspiracy charged in Count 1 and even pleaded --

9    pled guilty to being members of that racketeering conspiracy

10   even though they were not members of the gang who swore the

11   oath and jumped through the hoops for formal membership.

12              And, again, you don't need to find that any particular

13   defendant committed any particular racketeering act.          The focus

14   is on the agreement itself and whether it was foreseeable to

15   them that these types of crimes would be committed by other

16   members.

17              That's why the Omertà code and the MMP rules and the

18   lightning bolt tattoo are also important, because you know the

19   moment you join or associate yourself with MMP that you might

20   be called upon to take a life.

21              In Count 2, all six defendants are charged with

22   conspiracy to distribute and possess with intent to distribute

23   a kilogram or more of heroin and 280 grams or more of

24   crack cocaine, as well as detectable quantities of other drugs.

25   And here are the elements of Count 2.       Again, it's a conspiracy

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1    charge, so it's the agreement and not the actual distribution

2    of drugs that's the crime.

3             You'll hear evidence that each of these defendants

4    distributed drugs themselves, but it's important to keep in

5    mind that you can be part of a drug conspiracy without ever

6    touching drugs.

7             There are many ways you can involve yourself in a drug

8    conspiracy.    You can help set up a drug transaction between two

9    other people.    You can collect dues from the hitters in the

10   organization.    You can impose discipline on someone who steps

11   out of line.    You can tax a rival drug dealer.       You can commit

12   an act of violence to enforce the organization's territory.

13   All of these are ways to join the drug-trafficking conspiracy

14   without actually dealing a gram of drugs.

15            And if you join the conspiracy, you're held

16   accountable for the entire weight of drugs dealt by other

17   members of the conspiracy so long as it's reasonably

18   foreseeable to you and within the scope of the conspiracy.

19            As I mentioned, you'll hear testimony that MMP members

20   could sell over a kilogram of heroin and crack cocaine per week

21   at a single location.

22            You'll also hear about a single instance when

23   law enforcement recovered approximately 600 grams of heroin

24   from an MMP stash house that was operated by MMP boss

25   Adrian Jamal Spence.

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1               The evidence will show that the conspiracy involved

2    far, far greater quantities of drugs than what's charged in the

3    indictment.

4               Count 3 charges Dante Bailey with murder in aid of

5    racketeering for the murder of James Edwards, also known as

6    Bangout.   And we've discussed Bangout's murder previously, and

7    you'll hear much more about it during the trial.

8               Counts 10, 18, 29, and 31 charge Lockley, Bailey,

9    Frazier, and Davis with distribution or possession with intent

10   to distribute controlled substances based on discrete incidents

11   that you'll hear more about during the trial.

12              And Counts 16, 17, 22, 24, and 31 charge Davis,

13   Bailey, Frazier, Anderson -- and Anderson with illegal

14   possession of firearms and ammunition, again, based on discrete

15   incidents that you'll hear more about during the trial.

16              And here are the elements of that crime.

17              You'll need to find as to each that the defendant

18   possessed the firearm or ammunition in question; that the

19   defendant had previously been convicted of a crime punishable

20   by more than a year in prison; and that the firearm or

21   ammunition had traveled in interstate commerce.

22              And finally, Count 32 charges Davis with possession of

23   a firearm in furtherance of a drug-trafficking crime, and

24   that's based on the February 2017 arrest when he was a fugitive

25   that you heard about.

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1             So let's circle back to where we started, the

2    Omertà code.   The Omertà code means that members of MMP agree

3    to kill or be killed to keep the truth about their criminal

4    activities from ever coming out in a court of law.

5             The Omertà code of silence will be broken in this case

6    because of the courage of witnesses, because of the hard work

7    of investigators over a period of many years, and because of

8    your service as jurors.

9             During the next several weeks, you're going to hear

10   the truth about the crimes that these defendants committed.

11            The standard -- the standard in a criminal case is

12   high, beyond a reasonable doubt, as it should be.

13            But I think you'll find that the evidence in this case

14   will far surpass it.    And at the conclusion of this case, we'll

15   ask that you find these men guilty on all counts.

16            Thank you.

17            THE COURT:    Thank you, Ms. Hoffman.

18            Could I see counsel at the bench briefly.

19        (Bench conference on the record:

20            THE COURT:    Just on scheduling, I'm assuming that

21   you'll be leading.

22            MS. WHALEN:    Yes.

23            THE COURT:    And what I'd like to do is take as short a

24   break as possible --

25            MS. WHALEN:    Sure.

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1               THE COURT:    -- and then get your argument in.

2               It may run -- I recognize you may run a little bit

3    past 1:00, but I'm thinking approximately in that range.

4               MS. WHALEN:    Yes.   I think not too much beyond 1:00.

5               THE COURT:    All right.   Great.   That's what we'll do,

6    then.

7               MS. WHALEN:    Thank you.)

8         (Bench conference concluded.)

9               THE COURT:    All right.   Just scheduling, ladies and

10   gentlemen.    We're going to take a short break, and then we're

11   going to resume hearing opening statement on behalf of

12   Mr. Bailey.    Then we will take the lunch recess and hear the

13   remaining arguments after lunch.

14              So at this point I will start by excusing the jury.

15        (Jury left the courtroom at 12:09 p.m.)

16              THE COURT:    All right.   And we'll also excuse the

17   gallery.

18              If all the gallery would like to depart, please.

19              All right.    And counsel and defendants and I will

20   depart.

21        (Recess taken.)

22              THE COURT:    All right.   We're ready to bring in the

23   jury.

24        (Jury entered the courtroom at 12:28 p.m.)

25              THE COURT:    All right.   Thank you.

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1             We can turn to opening statement on behalf of

2    Mr. Bailey.

3             Ms. Whalen.

4             MS. WHALEN:    May it please the Court, Government,

5    defense counsel and their clients, ladies and gentlemen, let me

6    introduce myself again.    I am --

7             THE CLERK:    Excuse me, Ms. Whalen.     Before you start,

8    let me adjust your microphone.

9             MS. WHALEN:    Sure.

10            THE COURT:    We've got to make sure everybody is heard.

11        (Pause.)

12            MS. WHALEN:    Let me introduce myself.     I'm

13   Teresa Whalen.   And along with my co-counsel, Paul Enzinna, we

14   have been appointed to represent Dante Bailey.       And Dante has

15   been sitting next to me to my right.

16            Let me just warn you.     I am the queen of technical

17   difficulties, and I probably will not -- or this will probably

18   not be the first time that I'm asking for Ms. Moyé's

19   assistance, Paul's assistance, or anyone's assistance.

20            We have the responsibility of bringing to you all of

21   the facts that we can bring to you, all of the information that

22   will help you in making this important decision in several

23   weeks when you deliberate about what you heard in this

24   courtroom and what it means in relation to the charges that the

25   Government brought.

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1               We have the responsibility of making sure that you

2    hear more than the Government's version, their theory of what

3    happened.   You just heard all of that in Ms. Hoffman's able

4    opening statement.

5               It's their theory.   It's their version.     It's how they

6    have tried to weave facts together in an effort to convince you

7    that Dante Bailey is involved in the crimes that they have

8    charged.

9               It is only a theory.    It is the evidence that is out

10   there that will come into this courtroom, and I suggest to you

11   we will be talking to you about the evidence that they don't

12   have to prove their theory.

13              This is a most important decision for Mr. Bailey, as

14   you can imagine.   It is a decision that we believe you will

15   agree with us in the end, the Government has not proven our

16   client guilty beyond a reasonable doubt.

17              Now, there are -- over the years I've seen, there are

18   always two sides to a story.      There's always more than what the

19   Government presents to you in a case, and that is why I say to

20   you it's merely a theory that was presented to you in opening

21   argument.

22              There are a couple of things that we ask of you, very

23   important things to Mr. Bailey, and that is please keep an open

24   mind.   We have such a fabulous system of justice that it is not

25   simply the Government standing up and telling you, This is what

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1    you're going to hear, and this is why he's guilty.

2              You, instead, are the arbiters of the facts and how

3    they apply to the law.    So the Government accuses.      You are the

4    ones, thankfully, who review it all and come to a considered

5    decision.

6              So, number one, we ask you to keep an open mind.

7              Number two, we ask you to protect.

8              The presumption of innocence, which is probably, at

9    least in the courtroom, I would say it's probably the most

10   important principle of our democracy and of what sets us apart,

11   meaning we, citizens of the United States, apart from other

12   places and other things that you read about that happen in

13   different systems of justice.

14             Now, we do agree with some of the facts that the

15   Government has presented and will present here in this

16   courtroom.

17             Dante Bailey was dealing in some narcotics to earn a

18   living.

19             We agree that people were killed in rough

20   neighborhoods in Baltimore, some in Mr. Bailey's neighborhood.

21   We agree some people were shot at, again, in those rough

22   neighborhoods in Baltimore and some in the Windsor Mill area as

23   well.

24             Really that is -- if you follow the news at all,

25   that's nothing unusual.    That's nothing specific or unusual,

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1    unfortunately, in Baltimore.

2             We agree that Dante Bailey pulled many young men

3    together.   He did it to work together, for them all to work

4    together, to survive, to support families, and to express

5    themselves in rap music and other ways.      And we'll get into

6    that.

7             Now, the Government says this was

8    Murdaland Mafia Piru.    We agree that there is an awful lot of

9    social media evidence and writings that suggest that

10   Dante Bailey was involved with a group called MMP or

11   Murdaland Mafia Piru; but that's all we agree to, because the

12   Government will not be able to satisfy that this is a RICO, a

13   racketeering conspiracy.    That's the test here.

14            Is it a group?

15            Sure, it's a group.     But that group was designed to

16   advance a different mind-set in these young men and a different

17   career than the career that at least Dante Bailey knew and was

18   only exposed to in that very rough neighborhood, and that was

19   drug dealing.

20            But these are about all the things that we truly agree

21   with the Government on.

22            Dante Bailey is not guilty of murder, violence in aid

23   of racketeering, and he is not guilty of ordering murders as

24   the Government suggests in their theory.

25            He is not guilty of being part of a RICO enterprise.

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1    MMP is not a RICO enterprise.

2             He's much more than the picture that the Government

3    has painted of him.    He is a father of three, married, took

4    young men into his home when they needed some help.        He was

5    earning money writing lyrics for rap, writing other documents

6    or screenplays, as you heard in the opening statement.         And

7    you'll see some of that in this courtroom.

8             And he was also a producer of rap music, and he was

9    performing rap music.    And they were making videos and

10   presenting them or putting them on YouTube and other platforms

11   for others to see, for others to purchase.

12            There were also entertainment gigs or shows where they

13   performed as well.    And that, again, was a real job with real

14   money, and my client was attempting to move on and out of the

15   neighborhood that he was in.

16            He was also associating himself with what's called

17   African-American urban fiction.     Some of you -- and I apologize

18   if I'm explaining too much because some of you may already know

19   a lot about rap, may already know a lot about African-American

20   urban fiction.   But for those who don't, that is a type of

21   genre, writing, fiction, a fiction.

22            As I said, all of this was Dante Bailey's efforts to

23   move on in life.

24            Now, the Government showed you pictures in opening

25   statement, and I guarantee you there will be more pictures

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1    during this trial of groups of men, groups of men with tattoos,

2    groups of individuals with signs.

3               They will also show you rap videos, I would expect.

4    All of these things and all of the visuals are designed --

5    they're off-putting, so to speak.     And I would suggest they are

6    not illegal, and they are designed to give you a visual.

7               You know, we are not allowed to speak to jurors, of

8    course, in our system here.    But the first thing that I wanted

9    to say is, Boy, how did you feel after looking at that opening

10   argument, all those visuals?

11              And I'll probably want to say that again during the

12   trial:    How do you feel when you keep seeing social media after

13   social media of my client and others doing signs, because that

14   visual is designed to take you somewhere.

15              It is designed to have you not focus on -- the real

16   issue here is:   What is the competent, credible, reliable

17   evidence that my client did the things that they said?         As

18   opposed to:    My client's out there on social media presenting

19   himself in a particular way.

20              There are many other pictures, too, that the

21   Government may or may not show you.

22              Could we have number -- or A, letter A.

23              I'll hold it up, but probably your screens are easier

24   to see.

25              But the first is that Dante Bailey is here.

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1              Whoops, let me take a moment.

2              He is here in the studio with his headphones doing his

3    work:   Composing, writing lyrics, and pulling together his

4    work.

5              What they created were CDs for sale.      This would be

6    Number 2, or B.   And this one is a CD that is entitled "The

7    City is Ours."    And it's a Facebook page.     So this picture was

8    placed on Facebook.   And it's called "Murderland Mafia Music,"

9    EMM on the left and Piru on the right.      That's all part of the

10   rap music and the genre that my client had gotten himself

11   fairly proficient in, as you will see.

12             You may not like some of the songs, but he was

13   proficient in it.

14             Could I have C.

15             So there were shows.    And, again, placed on Face- --

16   or Instagram this time.     Those shows show my client and another

17   young rapper, because he would cultivate and he would try to

18   assist young men who wanted to rap.      They're clearly on what

19   appears to be a stage, performing.      That was what Dante Bailey

20   did, and they posted it on Instagram for others to see.

21             And how about D.

22             Part of all these pictures, some of which the

23   Government may show you, some of which we are showing you here,

24   was just getting together, groups of people getting together,

25   male, female; whether you lived in 5200 block, whether it was

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1    at a social event, or whether it was just hanging outside of

2    the BP gas station, got together, socialized together.

3    Nothing, nothing illegal about any of those things that you

4    have seen.

5               It's a different life, perhaps, than we may know, we

6    individually may know, but it's not an illegal life that my

7    client was living.   And the rap and the photographs that they

8    were posting, none of it is illegal at all.       It may show that

9    there is a group, yes, but not a crime.

10              You will see rap videos that the Government will put

11   on.   And they've already in their opening statement indicated

12   that there is a screenplay which was some sort of narrative of

13   what really occurred.    That's the theory that the Government

14   has, is that all of this means that my client was committing

15   crime.

16              They're different.   Rap may be different to you

17   individually, maybe not.    Strange?    Maybe.   Foreign, but not

18   illegal.

19              So we're going to play a rap video so that you can see

20   what it's all about.

21              However, I warn you that there is some language in it

22   that may be offensive.    That's all part of rap.

23         (Video was played but not reported.)

24              MS. WHALEN:   So, ladies and gentlemen, that may not be

25   my preferred entertainment, but entertainment it is.

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1               And what the Government focused on, in looking at that

2    kind of evidence, if you will, is these are bad dudes talkin'

3    about things like drugs, guns, murders, sometimes violent acts.

4    That must be proof of a crime.

5               No.   The very nature of rap music is to present

6    yourself and portray yourself as a bad dude on the streets.

7    Whether it be Baltimore, whether it be Chicago, it doesn't

8    really matter which city.    You portray yourself as bad and as

9    big and being as urban as possible so that people buy your

10   music.

11              It wasn't long ago that rap music wasn't even a

12   category in the Emmys.    I mean, this is a multimillion-,

13   billion-dollar business that my client was trying to break

14   into.

15              Some of the -- you know, I'm dating myself here, but

16   you've probably heard of Eminem; Drake maybe; Kanye West;

17   Jay-Z.   These are some of the big names -- Snoop Dogg -- in rap

18   music.

19              The Government wants you to believe that statements

20   made in these kinds of "Let me portray myself as big, bad, and

21   tough" are true.

22              But if you go back in history over centuries, I would

23   suggest, but I'm going to take you back a little bit.        Remember

24   Bob Marley and "I shot the sheriff, but I didn't shoot the

25   deputy"?   I think Eric Clapton may have done a remake.

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1             Remember Johnny Cash in his "Cocaine Blues," I

2    believe, was one of his songs?     "I Shot my Woman Down."

3             Another song by Johnny Cash:      "I Shot a Man in Reno

4    Just to Watch Him Die."

5             Well, the Government didn't focus on them, I would

6    suggest, and nor did anyone really believe that those

7    statements meant Johnny Cash killed his woman.

8             The African-American -- could we have the next one,

9    "The BG Kode."

10            African-American urban fiction genre, that is -- you

11   know fiction, made-up stories.     And in this type of genre, an

12   individual writes about the streets, writes about urban life,

13   usually writes about some violence and usually may have some

14   sex in it.   Again, a huge industry, multimillion-dollar

15   industry.

16            The Government will present to you some information

17   that my client had associated with it.      This book,

18   "The BG Kode," was posted on Facebook.      It's a picture

19   apparently of Mr. Bailey.    I don't believe that Mr. Bailey

20   wrote the book.

21            All of that, not illegal.      In fact, someone striving

22   to earn money.

23            Why -- you might say, Why are you talking about this?

24            And the reason for that is because the Government took

25   in this case rap music and that kind of information and then

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1    they took the unsolved crimes in that area and they shaped and

2    molded a case, I suggest to you, against their target, and that

3    was Dante Bailey.

4             And then the Government took that information, their

5    molded, shaped case, and presented it to cooperating witnesses.

6             Now, you heard about one, William Banks, and there

7    will be others.   But they took that information to them.        Those

8    people, the William Banks, the Jay Greers, then followed suit.

9    They knew what the Government was interested in talking about,

10   and they lied for their own benefit to be consistent with a

11   Government theory.

12            Now, I'm not talking about the individual, very good

13   prosecutors and individual agents in the case.       I am talking

14   about something larger.    And it is not something particular to

15   this particular case or to a criminal case at all, frankly.

16            We have seen over history, some old and some new,

17   where the Government, as an institution now, actually points

18   the finger at someone and accuses someone, builds a case

19   against that person, only to later learn the grave mistake that

20   they made, some very high-profile examples, because I suggest

21   to you that's the only ones we ever learn about, are in the

22   papers and the like, are the 2004 Madrid train bombing -- I

23   don't know if you remember that.     It was a lawyer in Oregon who

24   was arrested because they believed his fingerprint was on the

25   bag that had the bomb, but that was absolutely wrong.

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1              The Atlanta Summer Olympics when there was a bombing,

2    Richard Jewel was an individual who was basically destroyed by

3    the Government by erroneous information that he was involved

4    when, in fact, later he was called a hero and saved people.

5              More extreme, and I admit more extreme, but to

6    illustrate a point.

7              Fairly recently, our government relied upon an Iraqi

8    defector from their government who told them there were weapons

9    of mass destruction.   All historians now say that was not true.

10             Dante Bailey is not guilty of the shootings and the

11   ordering that the Government claims, and that's the most

12   serious -- they are the most serious charges, I would suggest

13   to you.

14             And why can I say that with such conviction?       I say it

15   because there will not be independent, reliable evidence that

16   you can look at, hold, listen to, tangible evidence that he did

17   any of these acts of violence.

18             The October 2012 shooting of Samartine Hill, Snook --

19   and all of these names, I know it's going to be difficult right

20   now, but it will become clearer as the trial goes on.

21             That was a killing where there is a videotape of

22   cooperator William Banks (indicating) shooting Samartine Hill

23   outside of the Club Mirage.

24             It's a videotape.   William Banks pointed the finger

25   falsely at someone else.    He said James Edwards did that.

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1    William Banks, who's going to testify here, who the Government

2    wants you to rely upon as being someone who has truthful

3    information about what occurred.

4              William Banks now, after having flipped, versus

5    James Edwards and now it is me, I, Government, while I am

6    trying to cut my deal, I did that shooting.       William Banks then

7    points a finger and says my client was involved.        No evidence

8    at all that Dante -- no reliable evidence at all that

9    Dante Bailey was involved in that.

10             November 2012, Antoine Ellis, there is a videotape of

11   Dontray Johnson shooting Mr. Ellis.

12             Now, how do you prove a murder case?      Ladies and

13   gentlemen, you prove it by concrete evidence, reliable

14   evidence, videotape, fingerprints, DNA, any kind of --

15   something left at the crime scene or someone who has something

16   on them from the crime scene or, like, for instance, a victim's

17   wallet.   If a victim's wallet is stolen, that's concrete,

18   credible evidence.   And there's none of that in this case.

19             The killing of James Edwards, this is February 12th of

20   2015.   This is the subject of the VICAR count, we call it, but

21   it's violence in aid of racketeering.

22             And in order to prove that count, the Government will

23   have to show to you that my client committed the violence, the

24   murder, and that he did so in aid of a racketeering enterprise.

25             There are no eyewitnesses to the James Edwards murder.

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1    There's no video to the James Edwards murder.       There are no

2    fingerprints.   There's DNA, but not Dante Bailey's DNA or

3    anybody else associated with Dante Bailey.

4             There's no recovery of a firearm that can be tied to

5    my client.   There's nothing to tie him to that except for

6    unreliable witness.

7             July 2015 shooting at a BP gas station, I'm not sure

8    the Government talked much about that.      But, again, I'm going

9    to sound like a broken record.     There's no fingerprints, no

10   video, no DNA, no credible information my client was involved.

11            September of 2015, Nutty B, Brian Johnson, was killed.

12   Broken record again:   Nothing, nothing, no video, no

13   fingerprints, no cell phone evidence, nothing to tie my client

14   to the killing of Nutty B.

15            And the same with the killing of a man named

16   Anthony Hornes.

17            There's just no independent, credible evidence for you

18   to hold and to take back with you in the jury room.

19            So what is the Government relying on?       Well, they're

20   relying on rumor, innuendo, hunch, and criminals who will

21   testify about the rumor that they heard.      And they are relying

22   on this man, William Banks (indicating).      You will meet him.

23   There was a picture of him in the Government's opening

24   statement.

25            Make no mistake about it, the Government chose what

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1    witnesses to cut deals with and to give less jail time for the

2    information they give.    This isn't Dante Bailey choosing a

3    witness, as was told to you in opening.      The Government chose

4    their witness.   They traded less jail time for information.

5             Could I have the next photograph.

6             Thank you.

7             So who's William Banks?     He is someone who

8    certainly -- he's down at the bottom, of course, and his

9    girlfriend stands above him.     And she's holding two guns.      He's

10   holding another gun.   Certainly no stranger to the life.

11   Certainly no stranger to weapons.

12            Back in 2012-2013, he was on parole for felonies.            I

13   believe they were burglaries.     Now, parole means that you get

14   out of jail.   You haven't -- you finished your executed part of

15   your sentence, and you have to report to a parole agent.         And

16   you cannot commit more crimes.     You can't have a weapon.

17   Basically, you've got to be good on parole or you go back to

18   jail.

19            And on January 11th of 2013, while on this parole, he

20   was arrested by the Baltimore County Police -- excuse me, City

21   Police Department.    But he was released fairly quickly.

22            He was arrested, I believe, on a burglary for that.

23            By January 14th, a few days later, he broke into a

24   house, kicked the door down, stole a .40-caliber weapon, and

25   then was out in a car driving along.      And there was sort of a

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1    road rage type incident where he shot that weapon at the car,

2    almost killing -- and thankfully not -- Terrell Gale and his

3    2-year-old child in the backseat of the car.

4               And then he went through this elaborate -- he was

5    shot.

6               He went through this elaborate story with police

7    lying, lying, lying, telling them that, oh, some

8    miscellaneous -- I was walking down the street, and some

9    miscellaneous drug dealer shot at me.      Don't know much more

10   about that.

11              Total lies.   And we could probably sit there and count

12   them, and maybe we will when he testifies.

13              The police thought he was so dangerous, of course,

14   that they got a parole retake warrant with no bond, meaning

15   they got authority to lock him up for violation of parole and

16   not let him out on the street.

17              Now it's looking like William Banks is going to be in

18   jail for quite a while.

19              His attorney at the time brought him in to local

20   prosecutors and the scam begins, ladies and gentlemen.

21              At some point local law enforcement starts paying him

22   for his information while he's out on the street, 'cause he did

23   get out.   But not before he wrote a letter to then-Assistant

24   State's Attorney Dana Middleton.     Now she is a judge.

25              And in that letter -- now, he's incarcerated in

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1    November of 2014.    He's got this lawyer.    And he's already met

2    with prosecutors, local at the time, in order to cut a deal

3    with them.   He's given them information.

4             And he says, I'm writing you this letter to basically

5    beg for my freedom.    I have done everything that I possibly

6    could think of to cooperate with the State in any and every way

7    possible.

8             Could I get the next slide.

9             Now, this might be too small, actually, for you to

10   read, but it will be up on your screen.

11            In this letter he says [reading]:       It seems like all

12   of my cries and pleas are falling on deaf ears.        Please, I'm

13   begging, please, make the difference this time.        I got you the

14   arrest you wanted.    And upon my release, there will be plenty

15   more to come.   I guarantee that.

16            William Banks, nickname Trouble, "I guarantee that"

17   may be the only truthful statement that you will hear about

18   William Banks because it is really easy to get arrests for

19   police officers when you lie about a crime; when you scam the

20   police and two-time 'em; when you point the finger at someone

21   else like he did with the Samartine Hill shooting, saying it

22   was James Edwards when it wasn't; and especially when the

23   police want to believe what you have to say.

24            You'll see in the course of his working with the

25   police, he committed crimes.     He lied about almost everything

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1    he said.   It was so bad that he actually was fired as a

2    cooperator.    And by that I mean he's out on the street and the

3    police figure out, as Ms. Hoffman said to you, that he's lied

4    about the Samartine Hill shooting.      Perhaps they figured out

5    other things.    There's actually some warnings to him like, you

6    know, "Don't carry a weapon," by the police.       And again, like I

7    said, he was being paid for his information out there.

8               And he actually was fired, meaning we no longer --

9    you're no longer our agent because we know you're a liar.

10              They searched his house.   They found three loaded

11   weapons.   They found drugs.   And these were drugs that he was

12   selling while he was also accepting money from the police to

13   make sure that he didn't get locked up and put in jail.

14              Why do I say the police wanted to believe Trouble?         If

15   you target someone and then a guy like Trouble, who's in the

16   know, supposedly, gives you what you want to hear about

17   Dante Bailey, you want -- it's natural; the police are just

18   like all of us.   It's natural to want to believe that, even if

19   it turns out later he is untrustworthy and he is a liar.

20              We ask you not to follow suit, not to believe

21   Mr. Banks in the same way that he got a pass for while he was

22   cooperating.

23              The Government's case is built on two faulty premises,

24   we submit.

25              One is that because there were deaths and shootings in

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1    this neighborhood and my client was a respected guy,

2    leader-type guy, that somehow he had to have been involved; he

3    had to have ordered these things.     Faulty premise.

4             They need hard evidence, not just innuendo, rumor,

5    suspicion, and a William Banks taking the witness stand to tell

6    you whatever he wants to tell you.

7             And the second is that the sheer number of events

8    you're going to hear about, this one after this one after this

9    one after this one, will make up for the lack of evidence that

10   they really have, the lack of reliable, competent evidence to

11   prove beyond a reasonable doubt that Dante Bailey was involved

12   in a racketeering conspiracy, was involved in any way in the

13   murder of James Edwards or any of the other violent acts that

14   the Government seeks to prove.

15            We ask you to resist these faulty premises because

16   your job requires you to evaluate whether the Government proved

17   each of these separate events, separate events, beyond a

18   reasonable doubt.    That's the highest standard we have in our

19   system of justice.

20            Demand competent evidence from the Government.         You're

21   entitled to it.   Pick apart, challenge what you hear and see in

22   this courtroom.   That's your job, I suggest to you.

23            Question what you hear.     And most importantly, do not

24   rely upon anyone who has reason to point the finger at

25   Mr. Bailey as a get-out-of-jail-free card.

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1              Find Dante Bailey not guilty because he's not guilty

2    of the charges.   Find him not guilty because the Government did

3    not bring to you the competent, reliable evidence that you will

4    need:   Proof beyond a reasonable doubt.

5              Thank you.

6              THE COURT:   Thank you, Ms. Whalen.    You may return all

7    the technology.

8              All right.   Ladies and gentlemen, we're going to take

9    the lunch recess until 5 after 2:00.

10             We'll start by excusing the jury.

11        (Jury left the courtroom at 1:05 p.m.)

12             THE COURT:   All right.   And we'll excuse the gallery.

13        (Pause.)

14             THE COURT:   All right.   And then we will adjourn for

15   the lunch hour.

16        (Luncheon recess taken.)

17             THE COURT:   Ready for the jury?

18             MS. HOFFMAN:   Your Honor, if I could, we don't need to

19   do it now; but before the Government calls its first witness,

20   there are two additional motions in limine that we were hoping

21   to address before our first witness, after the openings are

22   finished.

23             THE COURT:   Okay.

24        (Jury entered the courtroom at 2:13 p.m.)

25             THE COURT:   All right.   Thank you.   And welcome back.

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1              We'll be continuing with -- let's see.      Mr. Sardelli,

2    would you be speaking?

3              MR. SARDELLI:   Yes, Your Honor.    Thank you.

4              THE COURT:   All right.

5              MR. SARDELLI:   Good afternoon, everyone.      My name is

6    Brian Sardelli.   I represent Randy Banks, who is seated right

7    over there (indicating).

8              You'll have to forgive me.    I've got a bit of a cold,

9    but I've been muscling through with Halls and cough drops and

10   some water.   So I'll go ahead and muscle through this as well.

11             I don't have a crystal ball, but I anticipate the

12   facts and the evidence in this case will show you the following

13   and that this is a monumental overreach by the Government as it

14   applies to my client, Randy Banks.

15             Now, I only represent Mr. Banks, and I'm only going to

16   be talking to you about Mr. Banks here today.      Not

17   William Banks, not this guy (indicating).      My client,

18   Randy Banks (indicating).

19             Now, interesting, I took a slide from the Government

20   PowerPoint this morning, and it should be in front of your

21   screen.

22             I was interested to note that Count 32 doesn't deal

23   with my client.

24             Count 31 doesn't deal with my client.

25             Count 30 doesn't deal with my client.

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1              Count 29, 24, 22, 18, 17, 16, 10, 3.

2              Everyone else has additional charges in this case.         My

3    client only has the first two against him.

4              And why is that?   Why are there only two charges

5    against my client?   Because the facts and the evidence will

6    show you that the government's case is weakest, weakest against

7    Randy Banks.   And why is that?   Why is that?

8              Well, the facts and evidence are going to show you the

9    following:   Randy Banks, born and raised in Baltimore.       And the

10   facts are the facts.   I'm not going to sugarcoat them to you.

11   He probably grew up in not the greatest neighborhood.

12             In his neighborhood, there are gangs, drug

13   trafficking, bad things that happen.     But just because you're

14   from that neighborhood and just because you live there doesn't

15   make you part of that.    Doesn't make you a gang member.

16             What it does make you is an easy target for someone

17   who got caught doing something they shouldn't be doing.

18             The Government PowerPoint in this case was

19   approximately 68 slides long.     There are some awful things on

20   there.   But those awful things happened in this neighborhood,

21   but not by Randy Banks.

22             People like William Banks got caught doing awful

23   things; and when he got caught, he sold a bill of goods to the

24   Government, to ATF, the United States Attorney's Office.        They

25   were bamboozled.

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1             They, through him, wanted to make a bigger case of

2    this.

3             Now, most of the evidence in this case are going to

4    focus on Dante Bailey and the other defendants here.

5             The least amount of evidence in this case will be

6    related to my client, Randy Banks.

7             And when you cut through it all, when you really look

8    at what the base of the evidence is in this case, where the

9    Government agents and their people are getting their facts

10   from, it's from William Banks and those like him.

11            I anticipate you'll hear from the case agent first,

12   and he'll give you an overview of the investigation.

13            But if you really break it down to its essence about

14   what he's telling you and how he knows it, it's through the

15   information he's gleaned from William Banks and people like

16   him.

17            People like Devin Ferguson, another cooperating

18   witness; Jay Greer and others who are going to get on that

19   stand.

20            And after they've lied to the ATF, after they've lied

21   to the U.S. Attorney's Office, they're going to get up there,

22   look you straight in the eye, and they're going to lie to each

23   one of you.

24            And why would he do that?     Well, he was an ATF source,

25   CI, whatever you want to call it.     And eventually he's involved

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1    in a shooting that you'll see that's on video.

2             You're also going to hear, more importantly -- even

3    more important than violence, what I want you to really focus

4    on is the fact that he lied.    He lied.    You've already heard

5    from the Government he lied to them.

6             And what happened as a consequence of that lie?

7    They're still going to put him up there.      They're going to

8    still put him on that stand so he can lie to you.

9             It's one of those things where hindsight's 20/20.

10            I didn't know he was lying.     I found out later.

11            No.    They've already told you he's lied.     He's a liar.

12   But despite that, they're still going to put him on the stand.

13   They're still going to do that.

14            Why?   I can tell you as to my client exactly why,

15   because when you break down the evidence in this case at its

16   essence, especially as to Randy Banks, it comes down to what

17   people like William Banks are going to tell you.       And

18   William Banks is up against it.     And he will do anything, the

19   facts and evidence will show you, to reduce his time in prison

20   and his sentence.

21            And Randy Banks is in his 40s.      He's been around this

22   area in Baltimore a long time.    He also, although not as

23   prominent as Mr. Bailey, wanted to be a part of this rap

24   company, this entertainment group, doing rap videos, stories,

25   screenplays.

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1              Now, I'm not a big fan of the music in this case.          You

2    may not like it either.

3              But rap is not reality.    Rap is not a crime.     The

4    Government wants you to think that, oh, he was in a bad rap

5    video; therefore, he's a criminal.

6              Ladies and gentlemen of the jury, every day on the

7    radio, on MTV, in music videos, in books, in music, whether

8    it's rap music or a movie I like, "The Godfather" -- they said

9    this is like the Italian mafia, which I find silly.       It is art.

10   Mario Puzo, who wrote "The Godfather," no one brought him in

11   here and accused him of a federal crime.

12             Francis Ford Coppola, who directed "The Godfather,"

13   he's not here on trial.

14             Art and rap is not reality.    That's a fact.

15             Ladies and gentlemen of the jury, of the approximate

16   68 slides -- you saw them.    Most of them have nothing to do

17   with Randy.    Six to eight weeks is the approximate time it's

18   estimated that you're going to be here.      I ask, as the judge

19   did and other people did as well, you've got paper; you've got

20   pen.   I make a respectful request to all of you.

21             For every witness, for every exhibit, note:      Is

22   Randy Banks mentioned?    Is he touched upon?    Is he even

23   discussed?    Like that 68-page PowerPoint, the answer is going

24   to be no.    Almost none of the evidence in the case is going to

25   touch upon him.

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1               The Government said they're going to go ahead and win

2    this case because, quote/unquote, the courage of witnesses,

3    unquote.

4               Well, here he is.   Here's the courageous witness,

5    William Banks.

6               As I said before, anyone can make a mistake.      The

7    facts and the evidence will show you that the biggest issue now

8    is that they know he's lied.     They know he's a liar.    And yet

9    they're going to put him up there and others like him,

10   nevertheless.    Why?   Because without him, they have no case on

11   Randy Banks and others like him.

12              Only through these cooperating witnesses, where you'll

13   hear about other things and everything else and what the agent

14   says, but that's gleaned from what these cooperating witnesses

15   told them.    It is from them.

16              Ladies and gentlemen of the jury, after six to eight

17   weeks -- and I will put forward to you that six to eight weeks,

18   anything that takes that long to explain to you is inherently

19   not a simple thing.

20              I would ask you after six to eight weeks, when you

21   come back here and decide what happens in this case, have all

22   your questions been answered?    Do you still have issues?      Do

23   you still wonder about this man and his credibility?       Do you

24   still have questions about the inconsistencies in this case?

25              You're going to hear inconsistencies about -- you're

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1    going to hear terms thrown around:     Bloods, BGF, MMP.     And

2    you're going to hear inconsistencies about if someone's in a

3    group, what that group is, whether it's MMP, BGF, or the

4    Bloods.   You're going to hear a lot of confusion about that.

5              You're going to hear confusion about what drugs are

6    even at issue here.   Some will say cocaine.     Some will say

7    heroin.   Some will say marijuana.

8              Why are those inconsistencies there as to Randy Banks?

9    Because the agents and the Government are getting it from this

10   guy (indicating) and others like him.     He is a leaky, leaky

11   vessel.

12             Now, again, I don't have a crystal ball; but from the

13   Government's opening, it appears they think my guy, Randy, is

14   some type of financial mastermind.

15             You're going to hear a large amount of money mentioned

16   in this case, large amounts of money.

17             And this case allegedly by the Government claims that

18   it's happened over a period of years.

19             I want yourself [sic] to ask a question at the end of

20   all this:   Where'd all the money go?    You're going to hear

21   large, large, large amounts of money claimed by cooperating

22   witnesses that were involved here.     And I ask you to ask the

23   question at the end of all this:     Where'd all the money go?

24             The bottom line is the Government won't be able to

25   account for it.   And here's why:    Because it's an exaggeration.

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1    The amounts they're claiming never happened.      That's why the

2    Government can't account for it.     That's why the amounts you're

3    going to hear about don't match the evidence in this case.

4             Where did the money go?     The answer is:    Nowhere,

5    'cause it never existed in the first place.

6             Ladies and gentlemen of the jury, use your

7    common sense.   You know when people lie, they lie because

8    they've gotten caught and they're up against a wall.       And when

9    they're up against a wall, the more they give in a situation,

10   the more they get in return for a lenient sentence.

11            Randy Banks is that guy.     He is the target of

12   William Banks and others like him.

13            Ladies and gentlemen of the jury, we're going to have

14   a long time together, six to eight weeks.

15            I'd like you to compare my opening statement with the

16   Government and see if what I said is true.      Was this a

17   monumental overreach?   And was it all based on guys like this

18   guy (indicating)?

19            And in the end, the answer's going to be "yes."        The

20   answer is:   After six to eight weeks, your questions won't be

21   answered, not all of them to Randy Banks.      They're going to

22   want you to find him guilty because he knew people like

23   Dante Bailey and others that are here.

24            But mere association, mere presence is not -- there is

25   no guilt by association because he's from a neighborhood.

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1             Under that theory, everybody from Randy's neighborhood

2    is guilty, and that's just silly.

3             Ladies and gentlemen of the jury, when you hear about

4    this case after six to eight weeks, you're going to come back

5    with a verdict.   The Government has not proved their case

6    beyond a reasonable doubt because it's based on guys like this

7    (indicating).

8             And when you come to that decision, I will ask you at

9    the end of all this to find my client, Randy Banks, not guilty.

10            Thank you.

11            THE COURT:   Thank you, Mr. Sardelli.

12            MS. HOFFMAN:   Your Honor, may we approach briefly?

13            THE COURT:   Sure.

14        (Bench conference on the record:

15            MS. HOFFMAN:   I'd like to make an objection to the

16   statement that witnesses will get --

17            THE COURT:   Wait a minute.    You're not -- nobody can

18   hear you.   Start again.

19            MS. HOFFMAN:   I'd like to make an objection to the

20   statement that witnesses will get on the stand and they will

21   lie to you.

22            I think it's fine to say, you know, a witness lied in

23   the past, but I think saying the witness will get on the stand

24   and lie to you on the stand goes too far into vouching.        So I

25   do object to that language.

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1             MR. SARDELLI:    I think the facts and the evidence will

2    show that there are inconsistencies and lies in this case; and,

3    therefore, it's a fair comment for my opening statement.

4             THE COURT:   This is opening statement.       It's not

5    evidence.   He does, I gather, have -- because it was in your

6    opening, a good-faith belief that this individual did lie to

7    the Government at one point.     And I think it's a fair

8    suggestion that he's not telling the truth now or what he hopes

9    to -- what he hopes to gain.     I mean, it's going to be up to

10   the jury, obviously, to decide that.

11            MR. SARDELLI:    Yes, ma'am.

12            THE COURT:   Okay.

13            MS. HOFFMAN:    Thank you.)

14        (Bench conference concluded.)

15            THE COURT:   Let's see.    Mr. Trainor.

16            MR. TRAINOR:    Thank you, Your Honor.

17            May it please the Court, Judge Blake, fellow counsel,

18   ladies and gentlemen of the jury, my name is Harry Trainor.

19   And I represent Jamal Lockley, who is the gentleman seated to

20   my left at counsel table (indicating).

21            You've heard from three other attorneys so far, so I

22   may repeat some of the things that are said.       But they have to

23   be said, because Mr. Lockley is one of six defendants on trial

24   here in this proceeding.

25            And as Judge Blake has said in her preliminary

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1    comments, both yesterday and this morning, each defendant is

2    entitled to your separate, individual consideration.

3             In Mr. Lockley's case, it's just as if he is the only

4    defendant on trial.    You're actually conducting six separate

5    trials and making determination as to six individual

6    defendants, so I ask you to remember that as we go through

7    this.

8             Also, yesterday and today, Judge Blake gave some

9    preliminary instructions on principles of law that I ask you to

10   remember as we go through this testimony and we -- and the

11   evidence is presented to you over the next six to eight weeks.

12            These principles deserve repeating, really, because

13   they're the framework of the decision-making process that

14   you're about to commence.

15            The first principle that you're going to hear again

16   and again is that Jamal Lockley is presumed innocent.          He's

17   presumed innocent right now.      That's really the starting point

18   of every criminal trial.     A defendant is presumed innocent at

19   the beginning.   He remains presumed innocent throughout the

20   trial, and he's presumed innocent when you're going to the jury

21   room to consider the case at the end of all the evidence six or

22   eight weeks from now.

23            So I ask you to be careful as you listen to the

24   testimony and screen the evidence as it comes in, that you

25   apply the presumption of innocence.

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1               It can be used, really, as an analytical tool in

2    listening to the evidence, deciding some of the preliminary

3    issues about credibility of witnesses, for example.          Apply the

4    presumption of innocence to that.

5               Certainly at the end of the case, when you decide

6    innocence or guilt, you have to apply the presumption of

7    innocence to that.    And I submit even in some of the mechanical

8    decisions you make, such as computing the weight of any

9    substance alleged to be illegal, you would apply the

10   presumption of innocence as an analytical tool in evaluating

11   that.

12              Another principle that I ask that you remember

13   throughout the trial as the testimony comes in is the very high

14   level of proof required of the Government in order to upset the

15   presumption of innocence.

16              The requirement, as you have heard, and will hear

17   again and again, is proof beyond a reasonable doubt, a very

18   high level.    Proof does not involve speculation.       It does not

19   involve guesswork.    It doesn't involve statements like:        It

20   might have happened this way, or it could have happened this

21   way.    It involves definite facts that you can believe beyond a

22   reasonable doubt.

23              And the Government has the burden of proof.

24              Counsel for the Government will be calling the

25   witnesses to the witness stand during their case-in-chief, and

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1    you've heard about William Banks, for example, and he and some

2    others in the Government's case will have credibility issues.

3               You'll know it when you see it.      You'll know trouble

4    when you see it.    You'll know trouble when you hear it.

5               And as part of your job and maybe one of the most

6    important parts of your job, you have to decide who you

7    believe.   Do you believe all of what a person says to take a

8    person's word for it?    Do you believe some of what a person

9    says and maybe not believe some of what a person says?          Or is

10   this a person that you can't reasonably believe anything they

11   have to say?

12              And those are your options.     You're going to see that

13   some of these witnesses have a motivation to testify one way or

14   another.   They have a personal history or a background that

15   causes you to question whether their word should be believed.

16              You've heard from Ms. Whalen, particularly in her

17   opening, about some of the lies that this person called

18   Trouble, Mr. William Banks, has told in the past, how he's lied

19   to protect himself, how he's lied to the point where it appears

20   that he was terminated as a cooperator for a federal

21   law enforcement agency.

22              So it's fair and reasonable, when you consider the

23   credibility of a witness to consider:       Does this witness have a

24   history of lying?    And if so, how many lies can a man tell in

25   his life before he's no longer worthy of belief at all,

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1    particularly in a big decision like you're going to have to

2    make in a federal crime trial?      Consider that, please.

3               And ask yourself also whether this witness, whether it

4    be Mr. Banks or another person, is a person whose word you

5    would rely on in an important decision in your own life.

6               I would submit to you, then, that a reasonable

7    question to ask surrounding witnesses such as William Banks is:

8    Is the matter he's speaking about, is the matter he is telling

9    you to believe established beyond a reasonable doubt without

10   his word?    Or do you have to rely on his word to establish that

11   point?   If you come to that decision that you're relying on

12   William Banks' word, there's a lot of discussion that ought to

13   go on about that.

14              So I ask you to think about that.      Be very alert to

15   the credibility issues in certain of the Government's witnesses

16   because that's probably one of the most important decisions

17   you'll have to make in deciding the case against Jamal Lockley.

18   Can you believe the testimony of a particular cooperating

19   witness?

20              And I ask you to apply your common sense and your

21   everyday experience in that process.       It's really important for

22   you to consider carefully who you can believe and who you can't

23   believe.

24              Now, nothing you've heard so far from any of us is

25   evidence, nothing at all.     But the evidence will show in this

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1    case that Jamal Lockley grew up in a Baltimore neighborhood

2    where many of these events took place.

3              Some of the areas in the neighborhoods where he grew

4    up are not the wealthiest neighborhoods.        Historically, there

5    is a lack of economic opportunity for some young men.

6              These are neighborhoods where certain areas have been

7    for decades and perhaps generations drug markets where drugs

8    have been sold in these neighborhoods, long before Mr. Lockley

9    came along.

10             And Mr. Lockley grew up in these neighborhoods around

11   some of the people who are also charged in the indictment.              He

12   knows many of the people from the neighborhood.

13             You will see that it's not that uncommon that a person

14   from the neighborhood, a young man from the neighborhood, might

15   feel that he has to hustle to survive economically.          Not a good

16   decision, but it's not uncommon.

17             And if Mr. Lockley hustled in his old neighborhood, he

18   did it for himself or his family.      He didn't do it to enrich

19   some racketeering enterprise.

20             If that's what he did, he did it for himself and his

21   family.

22             And certainly, if he was involved in that kind of

23   hustling for himself or his family, it was not on a grand scale

24   with huge quantities of illegal substances.

25             One thing we know about Mr. Lockley, and I think the

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1    Government conceded it in opening, is he was not a gang member.

2    He was not a Blood.    He was not a member of the MMP or the

3    Murdaland Mafia Piru.

4              Ms. Hoffman in her opening said the all-important

5    oath, the all-important Omertà code, the lightning bolt tattoos

6    on necks or cheeks, the M tattoos on someone's face,

7    all-important.

8              Mr. Lockley has none of that.      He did not take the

9    oath that was recited, the first words out of the prosecutor's

10   mouth.   He never took that.

11             The Omertà code certainly does not apply to him.

12             And when you get down to considering Count 1, you'll

13   see that that's a very specific conspiracy.        It refers to a

14   Racketeering Influenced Corrupt Organization called

15   Murdaland Mafia Piru.

16             And Mr. Lockley, the Government concedes and I argue

17   to you was not a member of that.      He had not taken an oath,

18   never did.   He doesn't have the all-important tattoos.         He's

19   not a member of a Bloods set.      He's not.

20             He's also not a violent criminal.       He's not a member

21   of a racketeering enterprise, and he's certainly not a

22   murderer.

23             Prior to his arrest, the evidence will show

24   Mr. Lockley had moved with a girlfriend and with his family all

25   the way out to Bel Air, Maryland, in Harford County.          That is

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1    where he was arrested.     That is where a search was conducted at

2    the time of his arrest.     He's not a violent criminal.       He's not

3    a large-scale drug dealer for sure.

4               But Mr. Lockley had a talent.     He had a dream of being

5    involved in the production of music in the hip-hop and rap

6    genre.    That's clearly part of his reason for being present at

7    a recording studio or during certain music performances and

8    venues.

9               Ladies and gentlemen, in this day and age, certainly

10   it would be unfair and unreasonable to make a judgment about

11   someone's freedom in a criminal trial, a federal criminal

12   trial, based on an attempt to perform certain rap music with

13   nasty lyrics that he didn't even write.

14              But that's the reality that Jamal Lockley lived in.

15   That's the neighborhood that he came from.        These are people he

16   knows.    But he's clearly not in Murdaland Mafia Piru, and he's

17   not part of a RICO enterprise.

18              So, ladies and gentlemen, as this case unfolds before

19   you, as the testimony comes in and the evidence is presented to

20   you, I ask you to really look at the critical details in this

21   case.    Important facts are in the details or in the absence of

22   details.

23              So you know it is the Government's burden of proving

24   this case, proving the important details.

25              I'm asking you to consider also what your reasonable

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1    questions are about these details, about the elements of proof.

2              And if you are left with unanswered questions,

3    questions that are not answered by the evidence -- like, for

4    example, who really had access to certain phones at certain

5    times?   Who might have -- who could have had access to certain

6    phones at certain times?

7              Also, if it is established that certain areas of the

8    city, certain parts of the city are literally covered with CCTV

9    cameras, closed-circuit TV cameras, where is that video?

10   Wouldn't that be one of the first things that the police would

11   want to see after somebody is shot down in the street?

12             You want to see who's coming and who's going from a

13   certain location.

14             It's out there on these city cameras.        You can see on

15   the next street whether a certain car drove down that street.

16             You can see the movement of people on those cameras.

17             So why would we be left with relying on the word of

18   Trouble or someone like that from the witness stand when that

19   evidence should be available?

20             Those are the kind of unanswered questions I ask you

21   to look for in this case.

22             In the end, if reasonable questions are unanswered by

23   the Government's evidence, then that could very well be the

24   basis for reasonable doubt in this case.

25             So I ask that you be alert to that as you hear the

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1    testimony, as you receive the evidence.

2               I also ask that, if you're comfortable doing it, that

3    you try to take notes about the testimony of the witnesses as

4    they come in, because it's going to be six or eight weeks

5    before you start to deliberate.

6               And if you're listening to a William Banks testify,

7    that type of witness -- and that might happen as early as this

8    week.    Who knows? -- you may make a note about things you're

9    having trouble believing that he says.

10              And you can use that note to remind yourself of that

11   six or eight weeks from now when you go in to deliberate about

12   this case.

13              So I suggest that taking notes is probably a healthy

14   thing to do, if you can do it while you're still listening and

15   observing the witness, which is really the most important

16   thing.

17              Finally, in order to avoid any suggestion of

18   unfairness in the case, I ask you once again to keep foremost

19   in your mind the presumption of innocence as you hear all this

20   testimony.

21              And I ask that you withhold your final judgment about

22   any important issue in this case until the very end of the case

23   when you have all the evidence and you have the benefit of

24   Judge Blake's final instructions on the law that you have to

25   apply to the facts as you find them.

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1             If you will approach your job in that way, I'm

2    convinced that Jamal Lockley will have a fair trial.           And for

3    now, your fair consideration of the case is all I can really

4    ask.

5             Thank you.

6             THE COURT:    Thank you, Mr. Trainor.

7             Ms. Amato.

8             MS. AMATO:    Thank you, Your Honor.

9             I think I can be heard.

10            Okay.    Good afternoon, ladies and gentlemen.

11            My name is Elita Amato, and I represent

12   Mr. Corloyd Anderson.     And Mr. Anderson and I are sitting

13   directly facing you all at the end of the table there together.

14            In 2016, Mr. Anderson opened up a car-detailing

15   business.   It was a car-detailing and car-washing business

16   which he called We Cater to You Motors.

17            And Mr. Anderson, prior to opening up this business,

18   he was able to get experience in car detailing because he

19   also -- he used to work for a mobile car-detailing business; in

20   other words, you could call him up and he would come to your

21   location and -- to detail your vehicle.

22            So in 2016, he decided he would open up his own

23   business, with a specific location where you could come and

24   bring your car and have it car-washed or car-detailed.

25            Now, this location, this business wasn't the most

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1    popular place in town.     It may not have been the busiest place

2    in town, but he had customers.      And he kept, to some degree,

3    records of his earnings.

4             He wasn't the best at keeping records.          He wasn't the

5    best recordkeeper, but he tried his best.         And this is how

6    Mr. Anderson made his money, from the car-detailing business.

7    He has a wife who was also working.

8             And he also liked to gamble.        He would go to casinos,

9    and he would gamble.     And some years he would gamble more than

10   other years, and he made money.       Some years he would -- you

11   know, he would lose money as well.       But he made a good amount

12   of money gambling, and that's how he would make his money.

13            Now, there are some people that are going to come in

14   here and they're going to take the witness stand and they're

15   going to say Mr. Anderson's business was just a front; he had

16   no customers; he wasn't washing any cars.

17            Well, you will learn that law enforcement went to his

18   business.   They searched his business.       You'll see photographs.

19   It existed.   There was a car bay area.       He had someone that

20   also would come and work with him and assist him, and he did

21   have ledgers.   Again, he wasn't the best recordkeeper.          But he

22   had ledgers, and he had a receipt book with receipts in it.

23            And Mr. Anderson also had what was called a -- an

24   auction card, and it was something that permitted him to go to

25   car auctions and purchase vehicles.       So that was another way

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1    for him to make his money.

2              Now, we've heard already in this -- in opening

3    statements by all counsel of some individuals that are going to

4    come and testify.    We've heard a lot about Mr. William Banks.

5    I'm not going to talk about him.

6              But I am going to talk to you a little bit about

7    someone else the Government may call, whose name is

8    Derran Hankins.

9              And Mr. Hankins was another person who liked to

10   gamble.   He'll come and he'll tell you he really liked to

11   gamble.   He gambled a lot, and he prided himself in winning a

12   lot of money gambling.

13             And he's going to claim that Mr. Anderson, although

14   Mr. Anderson gambled, that Mr. Anderson was basically gambling

15   to clean money.    He's going to claim that Mr. Anderson was

16   actually a drug supplier and that he would go and gamble to

17   clean his money.

18             But you're going to learn something very important

19   about Mr. Hankins:    He has serious credibility issues.         He's a

20   fraudster.   He couldn't help himself.       He can't help himself.

21             He's committed bank fraud.      He has impersonated a

22   police officer.    He has lied to his supervising agent, a

23   federal supervising agent.      He has taken the identification of

24   other individuals, and the list goes on.        He has no

25   credibility.

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1              And now he's going to come to you because he needs

2    help from the prosecution.      He is someone that has pled guilty

3    in a case he's awaiting sentencing on.        He actually has two

4    cases in which he may -- one he may be resentenced on or at

5    least he'll have a supervision violation.         So he has a sentence

6    that he may have to serve in that older case, plus the more

7    recent case and so he needs help.

8              And so he's come to the prosecution, and he's

9    motivated to say what they need him to say in hopes -- bless

10   you -- that they will speak on his behalf at the time of his

11   sentencing.

12             And there are other witnesses that are similar to

13   Mr. Hankins who will come in and testify against Mr. Anderson,

14   most probably.

15             And they also, like Mr. Hankins, have credibility

16   issues.   And they also, like Mr. Hankins, are hoping that the

17   prosecution are going to help him -- help them.

18             They've all entered into what are called special

19   agreements, basically, agreements in which they have agreed to

20   testify and point the finger at Mr. Anderson (indicating) in

21   hopes that the prosecution will then speak on their behalf at

22   their sentencing hearing and that the judge will ultimately

23   sentence them to much less jail time.

24             Now, at the end of the trial, Judge Blake is going to

25   read to you some jury instructions.       And these are

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1    instructions -- you've already heard her read to you at the

2    beginning of the case some instructions, but these will be much

3    lengthier.   And these are instructions that will guide you in

4    your decision-making process of how you are to consider the

5    evidence in deciding the verdict.

6              And Judge Blake will read to you -- I'm going to go

7    through two of these instructions.       One of them is that a

8    defendant's mere presence at the scene of an alleged crime does

9    not itself make an individual guilty.

10             So, again, remember that.      Mere presence, in and of

11   itself, does not make an individual guilty.

12             Judge Blake will also read to you that evidence of

13   friendship or association without evidence of knowing

14   participation does not permit an inference of guilt nor make a

15   defendant a member of a conspiracy.

16             And both of these instructions come into play as to

17   Mr. Anderson.   There will be evidence that Mr. Anderson knew

18   people involved in drug trafficking.        There will be evidence

19   that Mr. Anderson knew people that were involved in acts of

20   violence.

21             But his mere knowledge, mere association, mere

22   relationship with them, whether they're family or friends, is

23   not enough to find that he is part of a conspiracy, that he is

24   guilty.

25             And that brings me to ask all of you to be alert not

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1    just to what the Government brings to you and introduces to you

2    as evidence, but what they don't have.

3              There will be no evidence that any drugs, any drugs

4    were found in the residence of Mr. Anderson's house, nor at his

5    business.

6              There will be no evidence because there is none, does

7    not exist.    There will be no photos of Mr. Anderson supplying

8    anyone drugs or holding any drugs and providing drugs to

9    anyone.

10             There will be no DNA or fingerprint evidence tying

11   Mr. Anderson to any guns in this case.

12             As Mr. Anderson sits before all of you today, he is

13   innocent.    Yesterday, when we picked all of you from -- during

14   the voir dire process, Mr. Anderson was innocent.          During the

15   whole trial, when witness after witness come and take the

16   stand, Mr. Anderson remains innocent.

17             And even when you go back into the jury room and to

18   deliberate, after you've heard all the evidence, Mr. Anderson

19   remains innocent unless and until you find that the Government

20   has proved his guilt beyond a reasonable doubt.

21             And it is the Government's burden.        And that burden

22   never shifts from this table (indicating) to this table

23   (indicating).    It always remains on this table (indicating).

24             Mr. Anderson does not have to testify.         He does not

25   have to present any witnesses.      He doesn't have to present a

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1    document to you.   And you cannot hold that against

2    Mr. Anderson.

3             And even if Mr. Anderson testifies or he presents

4    witnesses or presents evidence, the Government -- the burden

5    never shifts from the Government to Mr. Anderson.

6             Ladies and gentlemen, I submit to you that after you

7    hear all the evidence in this case, you will find that the

8    Government cannot meet their burden.

9             At the end of the trial, I will have a chance to speak

10   again, like I am now, directly to all of you.        At that time I

11   will speak a little longer than I am today, but at that time I

12   will come back and I will ask all of you to find Mr. Anderson

13   not guilty; not guilty of Count 1, to the charge of the

14   racketeering conspiracy; not guilty as to Count 2, to the

15   conspiracy to distribute and possess with intent to distribute;

16   and not guilty on Count 24, which charges him as a felon in

17   possession.

18            Thank you.

19            THE COURT:    Thank you.    Thank you, Ms. Amato.

20            Mr. Hazlehurst.

21            MR. HAZLEHURST:     Thank you, Your Honor.

22            One thing is not like the others --

23            THE COURT:    I'm sorry.    It's not -- it's not on.

24            THE CLERK:    Oh, you have to put it on.

25            MR. HAZLEHURST:     I couldn't get it to connect.

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1               Better?

2               THE CLERK:    That's better.   Thank you.

3               MR. HAZLEHURST:    With apologies to anyone who now has

4    a song from Sesame Street running through your head -- and I

5    confess I was too old to learn from Sesame Street.        I grew up

6    on Romper Room and Captain Kangaroo, but my kids watched that

7    show.

8               And I want to take you back to a very simple exercise

9    that they did.       They would put a group of items on display,

10   bowls, pictures, whatever, and you would look at those and you

11   would see that one bowl was bigger than the others.         One

12   picture might have been blue and all the others were red.          And

13   one of those things didn't belong.

14              It's a very simple skill, but it's a very important

15   skill:    being able to discern when something doesn't fit a

16   pattern.    When something, or in this case someone, doesn't

17   belong.

18              Good afternoon.    I was hoping I would be able to say

19   good morning, but courtrooms have their own time frames.

20              Good afternoon.    I am Paul Hazlehurst, and I represent

21   Shakeen Davis.   And as other counsel pointed out, I only

22   represent Shakeen Davis.      I don't represent any of the other

23   defendants.

24              And Mr. Davis is here today because the Government has

25   elected to accuse him of committing a crime, several crimes, in

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1    fact.   And I'm not going to detail those for you.       You've heard

2    enough about that, I think.

3              But I want you to understand, ladies and gentlemen,

4    when the Government elects to accuse someone of committing a

5    crime and puts them in a chair like that, it makes a promise.

6    And that promise is that it can prove beyond a reasonable doubt

7    that that that person committed those crimes.

8              And no one -- not you, not me, not Mr. Davis, not

9    Judge Blake -- has any obligation to do anything, because that

10   promise does belong completely to the Government.

11             It must prove its case beyond a reasonable doubt or

12   fail for all time.

13             Now, you've heard a great deal about what the

14   Government's case is, about the existence of this alleged

15   racketeering conspiracy known as MMP that is a subset of the

16   Bloods gang where the members often display -- if they've taken

17   the oath to join the gang, they have a tattoo of the letter M;

18   that was responsible for selling drugs, acts of violence in

19   Baltimore City, and at least in part the 5200 block of

20   Windsor Mill Road.

21             You've also heard the Government identify Mr. Davis as

22   being part of that conspiracy.     They discussed in the opening

23   statement Mr. Davis was a street-level -- younger street-level

24   seller who's friends with Mr. Frazier.

25             And if you look, ladies and gentlemen, Mr. Frazier and

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1    both -- Mr. Frazier and Mr. Davis are very young.        Mr. Davis is

2    24 years old, younger than any of the other defendants, I

3    believe, in this courtroom.

4             But the Government is also, again, identifying

5    Mr. Davis as being part of this conspiracy and, in doing that,

6    has said he is like all the others; he belongs.

7             So what is the Government going to rely on to be able

8    to honor its promise to you?

9             Well, you've heard that it will rely on recorded

10   telephone calls, intercepted text messages, social media posts,

11   photographs posted on social media and ultimately on

12   cooperating witnesses.

13            And as other counsel have urged you today, ladies and

14   gentlemen, I ask you to bring into this courtroom your

15   common sense, your eyes and your ears, and evaluate for

16   yourself the evidence before you, because you know and you've

17   heard already that the Government is going to urge an

18   interpretation of many of these calls upon you.        It's going to

19   urge an interpretation of many of these recorded or intercepted

20   text messages and is going to try and put this in a context to

21   support that Mr. Davis is guilty.

22            But, ladies and gentlemen, as anyone who's ever heard

23   a snippet of a conversation or seen a text out of context, it

24   is very, very difficult to put those pieces in a framework that

25   makes sense.

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1              And there is often an independent, alternative reason

2    for a call or a text, something that explains it in a way that

3    is not consistent with involvement in a conspiracy.

4              The same thing for the social media, the posts and the

5    photographs.   Again, bring your eyes and ears.       Look at those

6    things.   Look at the context in which you hear testimony, the

7    actual items themselves.     Make up your own minds.

8              You come in here and you're trusted with the

9    collective wisdom that you bring into this courtroom to

10   determine what the facts are.

11             Judge Blake told you at the beginning of this case

12   that's your job.

13             Now I'm going to ask you in regard to the last source

14   of evidence that I talked about to use one other sense, and

15   that is your sense of smell.

16             You've heard, more times than I think I can count,

17   about at least one witness the Government intends to call,

18   William Banks.

19             And, quite frankly, ladies and gentlemen, Mr. Banks

20   reminds me of an old-time pirate, the kind that would carry a

21   collection of flags on his ship and would hoist the flag that

22   was to his greatest advantage when he needed it, because you've

23   heard already that he went from convicted defendant to

24   confidential informant, to committing crimes while a

25   confidential informant, to convicted defendant.        And now he's

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1    going to end up back on the stand, and he's going to end up on

2    the stand testifying on behalf of the Government.

3              So consider those things when you have to make up your

4    mind what, one, the truth of the testimony is and how much you

5    can rely on it.

6              And, ladies and gentlemen, I'd also ask you to

7    question the links that the Government makes between Mr. Davis

8    and involvement in this alleged conspiracy.

9              Mr. Davis is charged with possessing firearms,

10   possessing drugs.   He's also alleged to have shot at someone.

11             Now, first, I would ask you, ladies and gentlemen, to

12   determine -- again, using your sense, your good judgment --

13   whether any of these acts occurred.

14             But even if you find that these acts occurred,

15   question whether or not they support Mr. Davis' involvement in

16   this supposed racketeering conspiracy, because that really is

17   the primary focus of this case.      That is the primary charge.

18   That's the first count of this indictment.

19             Determine for yourself whether, even if you think

20   Mr. Davis may have committed some of these acts, whether or not

21   that makes him part of this conspiracy.

22             The song is simple:    One thing here is not like the

23   others.   One thing here does not belong.      A simple, simple

24   skill but crucial for determining whether or not the Government

25   can honor its promise to you that Mr. Davis is responsible for

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1    the crimes with which he has been charged.

2             And I trust, ladies and gentlemen, at the end of this

3    case you will find that the Government cannot honor that

4    promise and that you will find that Mr. Davis is not like the

5    others and he does not belong.

6             THE COURT:    Thank you, Mr. Hazlehurst.

7             Mr. Davis.

8             MR. DAVIS:    Thank you, Your Honor.

9             How's that for sophistication?

10            The last one up.     I'm not going to take a real long

11   time.

12            But, first, I'd like to tell you what the purpose of

13   an opening statement is because it's really important because a

14   lot of people have questions about what we're doing up here.

15            An opening statement is not a time for the lawyers to

16   argue about the case.    It's not a time for the prosecutors to

17   argue that someone's guilty.      It's not a time for the defense

18   lawyers to argue that someone's not guilty.

19            It's a time when the lawyers have the first

20   opportunity to address the jury and to tell them what they

21   believe the facts will be in the case that's going to be

22   presented to you.    And it's nothing more or nothing less than

23   that.

24            The evidence here is going to be that Mr. Frazier grew

25   up with one or maybe two of the individuals in this courtroom,

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1    went to school with them, went to grade school with them.

2              Mr. Frazier was 23 years old when he got arrested in

3    this case.    He sits at the end of the table over there with me

4    (indicating).

5              The facts here are going to be that he's not in the

6    gang.   The facts here -- we expect the facts here to be he's

7    not a rapper.    He's not an actor.    He's not a writer.      He's not

8    the boss of anything.    He's a kid growing up in a violent area.

9              Now, the facts that you heard from the United States

10   and you heard from my colleagues, nobody owns those.          It's just

11   what happened or what we believed happened through the

12   testimony that will be presented and the evidence that's

13   presented.

14             But nobody owns it.

15             And the Government has the burden -- as my other

16   colleagues pointed out, they have the burden to prove beyond a

17   reasonable doubt the facts to support the charges that they've

18   lodged against the individual defendants.        And I'm not going to

19   beat a dead horse here, but the "individual defendants" is

20   important, particularly in a case like this, because you're

21   going to be buried with violence.      You're going to be buried

22   with guns.    You're going to be buried with all drugs.

23             And then you're going to see all these men sitting

24   over there.    You've got to -- and it's going to be hard, but

25   separate each one of them as entitled to your individual

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1    assessment of the evidence and for you to look at their charges

2    and see if they're supported.

3              Well, in any event, the Government burden is beyond a

4    reasonable doubt, and that's the reason they gave an opening

5    statement that lasted -- what, an hour, maybe a little more?

6    It's because they have the burden to produce the facts.          They

7    have the burden to produce the testimony and the evidence.

8              Mr. Frazier has no obligation whatsoever to present

9    any evidence.    He has no burden to produce anything.        It's the

10   Government's burden.    And if they do not connect it up at the

11   end of the case with respect to Sydni Frazier and the

12   individual charges that have been lodged against him, then it

13   will be your obligation to return a verdict of not guilty.

14             Now, I know there's a tendency when you're listening

15   to massive amounts of information to want to write everything

16   down.   I know some people are good at taking notes.         Some

17   people aren't.   Identify whether you heard you're someone

18   that's good at taking notes or whether you're not.

19             Because the beauty of the jury system is that when you

20   go back into that room seven weeks after hearing all this

21   evidence, it's not going to be one person's memory; it's going

22   to be 12 people and their collective memory.

23             So if you're not a good note-taker, listen very

24   carefully, because particularly with respect to Mr. Frazier,

25   you're going to need to connect dots here to see what's going

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1    on.   So please listen very carefully.

2               The fact here is that there are going to be some

3    cooperators testifying in the case.       I mean, you can draw any

4    conclusions you want about them, but the bottom line is the

5    evidence is going to be they're all testifying to lighten their

6    load and to reduce their jail time.

7               I think you saw a letter that the one cooperator,

8    William Banks, wrote to the prosecutor telling him how badly --

9    him or her how badly he wanted to get his freedom back.

10              Particularly with drug defendants, because the

11   testimony is going to be that drug -- drugs and the feds don't

12   mix well.    If you kill somebody, you expect to go to jail

13   forever.    If you sell drugs, you don't expect that.

14              At the end of the case, I will have the opportunity,

15   as will my colleagues, including the United States, to get up

16   and address you and to assist you or at least point you in the

17   direction that we believe the case should go based on all the

18   facts and how it connects up.

19              And at that time I will tell you why I believe that

20   some aspects of the charges that they have lodged against

21   Sydni Frazier are not supported and the dots don't connect.

22              Thank you, ladies and gentlemen.

23              THE COURT:   Thank you.

24              THE CLERK:   Mr. Davis, the microphone.

25              MR. DAVIS:   (Handing.)

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1               THE CLERK:    Thank you.

2               THE COURT:    All right.    I think that's everyone.

3               Ladies and gentlemen, this is a good time for a short

4    break.   I'm going to ask counsel to stick around, and we can

5    discuss a couple things before they break.        But we'll start by

6    excusing the jury.      And I hope when you come back, you'll start

7    hearing some evidence.

8         (Jury left the courtroom at 3:17 p.m.)

9               THE COURT:    I understand there are a couple of motions

10   in limine that you want to address, Ms. Hoffman?

11              MS. HOFFMAN:    Thank you, Your Honor.

12              There are two.

13              One is we had moved -- filed a motion in limine to

14   admit certain business records.       There had been a motion -- I'm

15   sorry, not a motion, but an objection via e-mail by one of the

16   defense counsel, Mr. Sardelli, for Mr. Banks.

17              No one filed a response to our motion --

18              THE COURT:    Right.    I don't remember any response.

19   Okay.

20              MS. HOFFMAN:    -- to our motion to admit the business

21   records.   And so we did want to address that and hopefully get

22   a ruling because Ms. Perry is planning to use some of those

23   business records, like social media evidence and iCloud

24   evidence, through our first witness.

25              THE COURT:    Okay.    So, right, and my recollection is I

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1    didn't get any opposition to the Government's motion to

2    introduce business records.

3             Is there, in fact, any objection?

4             MR. ENZINNA:    Your Honor, we have no objection to the

5    admission of those records in terms of foundation, those kinds

6    of issues.

7             But these are very voluminous records.         And to the

8    extent there are issues of relevancy and things like that, we

9    may still have objections.

10            THE COURT:    Okay.   Can you identify at this point,

11   Ms. Hoffman, whether aside from the question of authenticity

12   and the need not to call any custodians and so forth, there

13   have been motions filed as to any specific exhibit you want to

14   introduce.

15            MS. HOFFMAN:    So there have not, with one exception.

16   Mr. Bailey did object to the introduction of an iCloud video

17   which shows -- it shows Dante Bailey, his wife, and his wife's

18   juvenile son holding hands.     And the son says, "Dear Lord,

19   please kill all these snitches."      And then they all say,

20   "Amen," while looking at the camera.

21            There was a motion to exclude that.        And that was the

22   second motion that I wanted to bring up right now, because

23   Ms. Perry is planning to introduce that through Agent Aanonsen

24   if it comes in.

25            Other than that, there have not, to my knowledge --

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1    and defense counsel can correct me if I'm wrong -- been motions

2    to exclude any of the specific business records, with the

3    exception of the 9-1-1 calls.      But those we are not planning to

4    introduce right now.

5              THE COURT:   All right.    Well, then what I'm doing is

6    I'm granting the Government's motion to admit business records

7    so far as it goes to authenticity, custodian, and so forth.

8              If there is an objection -- and I'll come back to the

9    video, but if -- because I recognize they're voluminous.

10             If as an exhibit is being offered any counsel thinks

11   that they have a basis for an objection on relevance or

12   something of that nature, just, you know, immediately indicate

13   that.   And we'll take it up as it comes in, and I'll hear about

14   anything you'd like to say in addition about the iCloud video.

15             MR. ENZINNA:   Yes, I would.

16             But, also, with respect to the iCloud evidence in

17   general, I don't know how the Government's planning to

18   introduce them, whether they're planning to introduce them --

19             THE COURT:   Sorry.   Can't hear you.

20             MR. ENZINNA:   Oh, I apologize.

21             I don't know how the Government is planning to

22   introduce them, whether they're planning to introduce them

23   individually or as a group.

24             I don't -- the difficulty with that is going to be

25   with the local rule as far as evidence, that if the Government

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1    were to produce -- you know, these -- their binders, they're

2    this fat (indicating).

3             And if the Government were to put up that stack in

4    front of the agent, I am not prepared to address them

5    individually.

6             THE COURT:    Okay.    I think each one should be

7    identified separately.

8             But Ms. Hoffman.

9             MS. HOFFMAN:    So, Your Honor, Ms. Perry is planning to

10   walk up a stack of iCloud exhibits and social media exhibits to

11   Agent Aanonsen.   We did turn over drafts of these exhibits in

12   January and early February.

13            And so all of them have been -- the defense counsel

14   have been provided advanced notice of precisely which iCloud

15   exhibits and social media exhibits we intend to use.

16            And so far as I am aware, there have been -- there's

17   been the objection to the snitching video.        And I don't believe

18   there have been any other objections to any of those exhibits.

19            THE COURT:    Right.    So what I'm saying here -- and if

20   I'm understanding Mr. Enzinna's point correctly, you can bring

21   them up; you can have a general introduction.

22            But as to each particular clip, video, Instagram,

23   whatever it might be, I expect you'll also be saying, Now we're

24   moving to Exhibit, whatever, 99 before it actually gets played.

25   And that will be the opportunity for defense counsel --

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1             MR. ENZINNA:    That would be fine.

2             THE COURT:    -- to object.

3             Is that what you're asking for?

4             MR. ENZINNA:    Yeah.    My only concern is I don't want

5    to be in a situation where a stack of evidence comes in and

6    then later when an individual piece of that is played or

7    addressed, that I'm found to have waived that by not addressing

8    it initially.

9             THE COURT:    Right.    Right.

10            MR. ENZINNA:    So with that understanding, that's fine.

11            THE COURT:    Okay.    I think that's reasonable.

12            Do you want to be heard on the iCloud video?

13            MR. ENZINNA:    Yes, please.

14            The iCloud video is one of the pieces of evidence that

15   we addressed in the Rule 404(b) motion in limine.         And, again,

16   the Government does not assert that these are admissible

17   under -- that this is admissible under 404(b).         They argue that

18   404(b) simply isn't applicable here.

19            And, again, I think that 404(b) is applicable because

20   this is evidence that is not intrinsic to the criminal activity

21   charged in this case; that is, it's not inexplicably

22   intertwined or part of the same criminal episode.

23            This is a video of Mr. Bailey and his family, his wife

24   and his child, and they are talking about snitches.

25            Now, the Government argues that this is intrinsic --

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1    this relates to the conspiracy because it shows Mr. Bailey's

2    belief that snitches deserve to be killed, because it shows him

3    indoctrinating members of the conspiracy -- i.e., his wife --

4    and it shows his agreement to participate in the enterprise

5    affairs through racketeering activity.

6             And, Your Honor, I would submit that it does none of

7    those things.

8             First of all, well -- first of all, this is going to

9    be -- this is something that Ms. Whalen addressed in her

10   opening; and it's something we're going to be grappling with

11   throughout this trial, which is the extent to which videos are

12   documentaries as opposed to something different.

13            Now, the culture in this part of Baltimore is a very

14   different culture than the culture we live in.         It's a culture

15   where there are gangs, where there's violent activity

16   constantly, where people are selling drugs, where people are

17   snitching.

18            And this is something that people talk about in these

19   videos, in the rap videos, and they do it whether or not

20   they're involved in it.

21            Now, if Mr. Bailey and his family -- I mean, you know,

22   I know it sounds extreme, but it's almost like if there were a

23   video of me and my wife and my kid singing a Rocky song.          You

24   know, these are things that come out of the air and the culture

25   in the art of the community.

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1             THE COURT:    I think I'm going down your road possibly,

2    but a slightly different way.

3             It's the juvenile son --

4             MR. ENZINNA:    Yes.

5             THE COURT:    -- who's saying --

6             MR. ENZINNA:    Oh, I'm not condoning it.       I'm not --

7             THE COURT:    -- kill --

8             MR. ENZINNA:    -- saying it's a good thing.

9             THE COURT:    I'm not either.     But it is -- it seems to

10   me -- I may or may not agree with you about what's intrinsic

11   and what isn't, but I think you might also have a 403 argument.

12            MR. ENZINNA:    Oh, I do.

13            THE COURT:    Why don't you move to that one.

14            MR. ENZINNA:    I'm getting to that.

15            I mean, does the Government seriously argue that in

16   this video, Mr. Bailey is, quote/unquote, indoctrinating his

17   juvenile son to become a member of the gang when his son is --

18   I don't know how old he is.     He's a kid.     He's a little kid.

19            So anyway, I'll turn to 403.

20            THE COURT:    How old is he, approximately, in this

21   video?

22            MS. HOFFMAN:    In the video, I believe he's 13 or

23   thereabouts.

24            THE COURT:    13?

25            MR. ENZINNA:    11?

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1               THE COURT:   Approximately.

2               MR. ENZINNA:   11.   About 11.

3               THE COURT:   Okay.   11 to 13.   All right.

4               MR. ENZINNA:   As far as prejudicial value, again,

5    prejudicial impact, the probative value of this video is

6    minimal.   I mean, obviously this video is being offered because

7    Mr. Bailey's juvenile son is involved, and it's not a very

8    appetizing video.

9               Is it probative of anything?     I mean, is this actually

10   Mr. Bailey acting in furtherance of the MMP conspiracy that's

11   alleged?   His son has nothing to do with that, and he's with

12   his wife and his son.

13              He's not with his wife in the context of -- you know,

14   if this were a video of Mr. Bailey and his wife and another

15   alleged member of the conspiracy talking about drugs and

16   talking about killing a snitch, that might be probative.

17              But the notion that he and his wife and his kid are

18   involved in this and that that's somehow furthering or

19   facilitating racketeering activity is just ludicrous.

20              I mean, the entire point of this video is to prejudice

21   the jury, to show them what sort of bad parent this guy is.

22   It's a kid.    He's involving his kid in this, and he's saying

23   these terrible things in front of his kid.

24              So I think that this is -- that any probative value of

25   this video is vastly outweighed by its unfair prejudice.

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1             THE COURT:    Okay.

2             MR. ENZINNA:    And it should be excluded on that basis.

3             THE COURT:    Let me hear from Ms. Hoffman.

4             MS. HOFFMAN:    I want to first just discuss what the

5    video actually shows.

6             In the beginning of the video, the three are looking

7    at the camera.   The son says, "Dear Lord" -- I believe they

8    have their eyes closed in the beginning.        The son says, "Dear

9    Lord, please kill all these snitches."

10            Then Dante Bailey says, "The family that prays

11   together stays together."      And then all three of them say,

12   "Amen," while looking at the camera in turn.

13            And so it's our position that Dante Bailey, by saying,

14   "The family that prays together stays together," and by saying,

15   "Amen," is adopting those statements of his son.

16            It's certainly not our intent -- it's unfortunate that

17   it's a juvenile in this instance who's making those statements,

18   but in this case we have charged Dante Bailey and his

19   co-defendants with conspiring to participate in a racketeering

20   enterprise through a pattern of murder, witness tampering, and

21   witness retaliation.

22            And it's going to be a central dispute over the course

23   of this trial whether Dante Bailey did conspire to tamper with

24   witnesses and retaliate against witnesses.        And this is highly

25   probative evidence showing his intent to kill witnesses; his

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1    belief that witnesses deserve to die; his indoctrination of his

2    wife, who was also a member of the gang, into that belief; and

3    fundamentally him joining the conspiracy and the scope -- the

4    scope of that conspiracy, that this conspiracy encompassed

5    plots to kill witnesses.     And so we think it's highly

6    probative, relevant evidence.

7               As to the 403 argument, I think that the

8    Fourth Circuit has said that even when you're dealing with

9    extrinsic evidence -- and I think Your Honor suggested you may

10   agree that this is intrinsic and not extrinsic -- but even when

11   you're dealing with extrinsic evidence, that evidence is not

12   unfairly prejudicial where it's no more sensational or

13   disturbing than the crimes with which the defendant was

14   charged.

15              And so just to give an example, there's -- you know,

16   there's the case of United States versus Powers, a

17   Fourth Circuit case, 59 F.3d 1460, where the Fourth Circuit

18   held that evidence that the defendant repeatedly raped his

19   daughter was not unduly prejudicial where the defendant was

20   charged with aggravated sexual assault of a minor.

21              Here we have evidence that's intrinsic to the case,

22   and we submit that the video is more probative than prejudicial

23   and that it should be admitted.

24              THE COURT:   All right.   Thank you.

25              At this time, unless something changes and some door

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1    is opened, I'm going to exclude this video under Rule 403.

2               I think it has some probative value that may be

3    intrinsic in the sense that this is the kind of conduct that's

4    charged.

5               But I think the introduction of a juvenile boy, first

6    of all, is unfairly prejudicial and doesn't go to any of the

7    other issues in the case.

8               It's not as though -- again, this is a group of other

9    unrelated or even one other unrelated person involved in the

10   video.   And it is -- as has been described, it's a personal,

11   internal family video, which I think is very likely to unfairly

12   prejudice the jury against Mr. Bailey because of the

13   involvement of the juvenile son, which is not sufficiently

14   probative and anything to outweigh that prejudice.

15              Okay.   We'll take a short recess.

16              And you're still planning to call the Special Agent?

17              MS. HOFFMAN:   We are planning to call

18   Special Agent Aanonsen.

19              THE COURT:   Something else you want to say?

20              MS. PERRY:   I'm sorry, Your Honor.     I just wanted to

21   clarify one point.

22              With respect to the iCloud evidence, I am certainly

23   understanding Your Honor's ruling and have no problem with

24   that.    Each of those exhibits is individually identified.         Each

25   photo is individually identified.

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1             And so I will -- I understand that I can show them to

2    the witness, but that they won't be admitted until each

3    individual photo is identified.

4             THE COURT:    Right.

5             MS. PERRY:    Unfortunately, with respect to the other

6    social media evidence, each individual account has its own

7    exhibit number.

8             And it's just excerpts of those accounts.         It's not

9    the full entirety of the business record, but just certain

10   pages of it which, again, were provided to the defense

11   attorneys.

12            And so I do intend to identify the specific page I'm

13   turning to, but the exhibit itself is singularly marked.          So

14   one exhibit has Exhibit 1; I will turn to Pages 1 or 13 or 14.

15            THE COURT:    Okay.

16            MS. PERRY:    So I just don't know how Your Honor would

17   like me to --

18            THE COURT:    Well, I'll just let defense counsel

19   reserve the right to make an objection to a specific page --

20            MS. PERRY:    Certainly.

21            THE COURT:    -- out of an exhibit --

22            MS. PERRY:    Thank you.

23            THE COURT:    -- if they think an objection is justified

24   as they see it.

25            MS. PERRY:    Thank you.    I just wanted to clarify it.

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1               THE COURT:   Okay.

2               MS. PERRY:   Thanks.

3               THE COURT:   All right.   Thank you, all.     See you

4    shortly.

5         (Recess taken.)

6               THE COURT:   All right.   We'll get the jury.

7         (Jury entered the courtroom at 3:50 p.m.)

8               THE COURT:   All right.   Welcome back, ladies and

9    gentlemen.

10              We can bring in the gallery.

11              All right.   Is the Government going to call a witness?

12              MS. PERRY:   Yes, Your Honor.

13              At this time the Government calls Special Agent

14   Christian Aanonsen.

15              THE COURT:   All right.

16              THE CLERK:   Please raise your right hand.

17        SPECIAL AGENT CHRISTIAN AANONSEN, GOVERNMENT'S WITNESS,

18   SWORN.

19              THE CLERK:   Please be seated.

20              Please speak directly into the microphone.

21              State and spell your full name for the record, please.

22              THE WITNESS:   My name is Christian Aanonsen.       First

23   name, common spelling; last name is A-A-N-O-N-S-E-N.

24              THE CLERK:   Thank you.

25

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1                                DIRECT EXAMINATION

2    BY MS. PERRY:

3    Q.     Good afternoon.

4    A.     Good afternoon.

5    Q.     Where do you work?

6    A.     I am a Special Agent with the Bureau of Alcohol, Tobacco,

7    Firearms & Explosives in Baltimore, Maryland.

8    Q.     And is that agency commonly referred to as ATF?

9    A.     It is.

10   Q.     What are your duties and responsibilities as a

11   Special Agent with the ATF?

12   A.     We investigate violations of federal law, including acts

13   of violence, firearms violations, explosive violations, arson

14   violations.      And we can enforce the full umbrella of federal

15   law, to include drug-trafficking offenses and things of that

16   nature.

17   Q.     How long have you been a Special Agent with ATF?

18   A.     Almost five years.

19   Q.     And before joining ATF, what did you do?

20   A.     I was a police officer for two years in Fort Dix,

21   New Jersey.

22   Q.     Agent Aanonsen, in your capacity as an ATF Special Agent,

23   did you become involved in an investigation into a group of

24   individuals who were operating in Northwest Baltimore?

25   A.     Yes.

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1    Q.     And did this group go by a specific name?

2    A.     Yes; the Murdaland Mafia Piru.

3    Q.     Did the group abbreviate the name in any way?

4    A.     We saw it frequently abbreviated as MMP.          Sometimes it

5    went by "the mob" as well.

6    Q.     And was this group associated with any larger group?

7    A.     Yes.   They were a subset of the Bloods street gang that

8    originated out of the West Coast, California.

9    Q.     And just generally, what does the word "Piru" mean based

10   on your investigation?

11   A.     "Piru" refers to a street in California that the gang

12   associates themself with.

13   Q.     What was your role in this investigation?

14   A.     I was the case agent, the lead investigator.

15   Q.     What other law enforcement agencies, if any, were involved

16   in the investigation?

17   A.     In the summer of 2015, Homeland Security Investigations

18   and the Baltimore County Police conducted a wiretap

19   investigation on members up in the area.

20          They conducted eight wiretaps on phones belonging to

21   various members up there.

22          ATF and Baltimore City Police also conducted investigation

23   in the summer of 2016.

24   Q.     Were there other agencies involved?         For example, was

25   Baltimore County involved?

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1    A.     Yes, Baltimore County was also involved.

2    Q.     And were there other local and state law enforcement

3    agencies who were involved in this investigation?

4    A.     Yes.

5    Q.     Approximately when did the investigation begin?

6    A.     Approximately 2015 is when Baltimore County and

7    Homeland Security started their investigation, and we initiated

8    ours early 2016.

9    Q.     And even before Homeland Security and Baltimore County and

10   ATF began investigating, was the Baltimore Police Department

11   involved in this particular area?

12   A.     Yes.

13   Q.     And had they, in fact, been investigating other incidents

14   in territories that your investigation also focused on?

15   A.     Yes.

16   Q.     Can you tell us where geographically the investigation was

17   focused.

18   A.     Geographically, the main areas were in the northwest area

19   of Baltimore City.

20   Q.     Were there any specific territories or areas that became

21   specific within the northwest area of Baltimore?

22   A.     Yes; the 5200 block of Forest Park and Windsor Mill and

23   the 4600 block of Gwynn Oak and Liberty.

24   Q.     Over the course of your investigation, did you learn about

25   any other territories that MMP operated?

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1    A.     Yes.   Through references to it in some of their propaganda

2    videos and some of the writings that we recovered, they

3    referenced 27th and Boone in the Eastern District of

4    Baltimore City and Lauretta and Warwick in the

5    Western District.

6    Q.     But to be clear, did your investigation focus on the two

7    areas you named, the 5200 block of Windsor Mill and the

8    4600 block of Gwynn Oak and Liberty Heights?

9    A.     Yes, that's primarily where we focused.

10   Q.     I want to show you what's been marked as

11   Government's Exhibit -- if I can just have one brief second --

12   show you what's been marked as Government's Exhibit DEM-2.

13          Can you explain what we're looking at here,

14   Agent Aanonsen.

15   A.     This is the city boundaries of Baltimore City, highlighted

16   in the large area in red.        All the way out on the left -- is

17   this touch . . .

18          In the middle of the left overlapping the boundary of the

19   city is the 5200 block of Windsor Mill and Forest Park.

20          Above that is the 4600 block of Gwynn Oak and Liberty.

21          Diagonal down towards the middle of the city is Lauretta

22   and Warwick in the Western District, and then 27th and Boone

23   would be the one furthest to the right.

24               THE COURT:    It's getting a little harder to hear you

25   when you're moving away from the mic.

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1                THE WITNESS:    Oh, I'm sorry.

2    BY MS. PERRY:

3    Q.     So let me show you DEM-10.

4           Is this what you were just describing, that the box

5    labeled 1 is the area around Windsor Mill and Forest Park?

6    A.     That's correct.

7    Q.     And the box, the smaller box labeled 2 is in the area of

8    Gwynn Oak and Liberty Heights?

9    A.     Yes.

10   Q.     And the boxes labeled 3 and 4 were those other areas you

11   had just described?

12   A.     Yes.

13   Q.     I want to focus specifically on one of these areas.           So

14   I'm going to show you what has been marked MAP-34.

15          Can you tell us what we're looking at here,

16   Agent Aanonsen.

17   A.     This is a overhead view of the area of the 5200 block of

18   Windsor Mill, Forest Park, and the surrounding areas.

19   Q.     And can you describe using Government's Exhibit MAP-34 the

20   areas that were relevant to your investigation.

21   A.     The star at the intersection that says "BP," that is the

22   BP, British Petroleum, gas station that the gang claimed as

23   their headquarters at the intersection of Forest Park and

24   Windsor Mill Road.

25          Down the street you'll see Tucker Lane, Dickey Hill, and

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1    Crimea Road, that apartment complex they frequently used.

2           The Gwynnbrook townhomes and also blue --

3    Q.     Just to stop you a second, just to orient someone, you

4    were just speaking about the area that's in the upper right

5    portion of the exhibit?

6    A.     Yes.   I don't think my touchscreen is working.

7    Q.     And were there other areas that were relevant to your

8    investigation that are depicted on MAP-34?

9    A.     Yes.   There's two other red dots on the bottom portion of

10   the screen.      One is labeled the Gwynnbrook townhomes and the

11   other the Blue Fountain apartments.

12   Q.     And how were those areas relevant to your investigation?

13   A.     They frequently operated in those areas, holding meetings

14   and selling narcotics.

15   Q.     Agent Aanonsen, can you give us a high-level overview of

16   some of the investigative techniques the ATF and the other

17   law enforcement agencies you described used during the course

18   of the investigation into MMP.

19   A.     Yes.   We used surveillance.      We used wiretaps,

20   Pen Registers, which basically record incoming and outgoing

21   numbers to phones.

22          We used GPS location data.       We used search warrants,

23   search warrants on cell phones, search warrants on social media

24   sites.     We used cell tower mapping data to map where phones had

25   been or where they had connected to on towers.            Search warrants

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1    on vehicles and residences.

2    Q.     I want to start specifically with the wiretaps you

3    described.      You mentioned earlier that there were several

4    wiretaps conducted.       When were the wiretaps conducted in this

5    case?

6    A.     Homeland Security investigation, along with

7    Baltimore County Police, conducted eight wiretaps in the summer

8    of 2015.     ATF and Baltimore City Police conducted three

9    wiretaps.     We applied for four but only successfully

10   intercepted three of the lines.

11   Q.     And when were those ATF wiretaps conducted?

12   A.     In the summer of 2016.

13   Q.     And over the course of the wiretaps that you've just

14   described -- I believe you described 11 functioning lines --

15   were any of the defendants intercepted over those

16   wiretap calls?

17   A.     Yes, they were.

18   Q.     And can you tell the jurors which of the defendants were

19   intercepted over those lines, just generally.

20   A.     Generally, Dante Bailey, Randy Banks, Jamal Lockley,

21   Corloyd Anderson, and I don't believe we identified

22   Shakeen Davis or Sydni Frazier.

23   Q.     And what about other members or associates of MMP; were

24   those individuals -- any other individuals intercepted over

25   those 11 wiretap lines?

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1    A.     Yes.

2    Q.     I'm going to come back to the wiretap calls with you in a

3    little bit.

4           But in addition to the wiretaps, did your investigation

5    involve all of the other things you described?

6    A.     Yes.

7    Q.     And did it involve interviewing witnesses?

8    A.     Yes, it did.

9    Q.     Can you describe how ATF would attempt to interview

10   witnesses and the results of such interviews, just generally in

11   an overview way.

12   A.     Generally, when we attempted to identify witnesses from

13   the area, we experienced a lot of reluctance for fear of

14   reprisal or retaliation for cooperating with law enforcement.

15   And people were --

16               MR. ENZINNA:    Objection.

17               THE COURT:    Sustained.    Objection sustained.

18               The jury will disregard.

19   BY MS. PERRY:

20   Q.     Agent Aanonsen, over the course of the investigation, did

21   the ATF have to relocate witnesses and their families at

22   certain times?

23   A.     Yes.

24   Q.     You also mentioned that -- I believe you mentioned that

25   search warrants were conducted on residences over the course of

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1    the investigation.       Were these residences residences belonging

2    to the defendants or their associates?

3    A.     Yes.

4    Q.     Can you give us a general overview of the general results

5    of those kinds of investigative techniques.

6    A.     Through conducting the search warrants, we recovered

7    narcotics, firearms, gang paraphernalia, cell phones, indicia

8    of ownership, residency.

9    Q.     You also, I believe, mentioned that there were occasions

10   when the ATF and the other agencies conducted physical

11   surveillance of the defendants and other members of MMP.

12          Can you summarize the locations that were surveilled over

13   the course of the investigation.

14   A.     Primarily, we conducted most of our surveillance in the

15   area of the BP Gas station, 5200 Windsor Mill/Forest Park and

16   4600 Liberty and Gwynn Oak area.

17   Q.     Over the course of the investigation, did you also collect

18   and review video footage relating to incidents in the area?

19   A.     Yes.

20   Q.     Over the course of your investigation, were there also any

21   forensic evidence collected?

22   A.     Yes.   There was DNA evidence that was collected.          There

23   was also ballistics evidence, shell casings recovered from

24   crime scenes.

25   Q.     And was testing ever requested and conducted over the

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1    course of the investigation on some of those items, just

2    generally?

3    A.     Yes.

4    Q.     Agent Aanonsen, what is a controlled purchase?

5    A.     A controlled purchase is where we will wire up a -- an

6    individual, usually a confidential informant, with audio- and

7    video-recording devices or a vehicle that's equipped with an

8    audio-recording video -- audio- and video-recording device,

9    send them into the area, and they will make a

10   controlled purchase with prerecorded money that we've supplied

11   them of either narcotics or firearms or things of that nature.

12   Q.     And was this a tactic used over the course of your

13   investigation?

14   A.     Yes.

15   Q.     Now, when you mentioned the search warrants, you mentioned

16   that cell phones were recovered in some of the search warrants.

17   What was done with those cell phones?

18   A.     We made our best efforts to download all the cell phones,

19   conduct search warrants on them.

20   Q.     So the downloads that you attempted to do were pursuant to

21   search warrants?

22   A.     Yes.

23   Q.     And what kinds of evidence were you able to recover from

24   search warrants based on cellular telephones?

25               MR. ENZINNA:    Objection, Your Honor.

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1             Can we approach?

2             THE COURT:    Yes.

3         (Bench conference on the record:

4             MR. ENZINNA:    Your Honor, I object to this

5    generalization of the results of these investigations.          To the

6    extent there's evidence in the case, that can be shown when

7    it's relevant.

8             I don't understand the relevance of him talking about

9    generally what was recovered from these different investigative

10   techniques.

11            THE COURT:    Ms. Perry?

12            MS. PERRY:    Your Honor, I'm just attempting to

13   establish an overview.     Agent Aanonsen is the case agent in the

14   case, and so I would just like to lay a foundation for the

15   jurors as to the types of evidence that they're going to see

16   over the course of the trial and give them a brief explanation

17   of those kinds of things and what they are.

18            I mean, I can certainly move along and not get him --

19   ask him fewer specifics about it.

20            But I do believe that he's qualified to testify about

21   just generally what tactics were taken through the course of

22   the investigation and what investigative techniques were used.

23            THE COURT:    You certainly have some leeway to give

24   background.   But I think the danger, the risk is, here, that

25   everybody's sort of getting lumped together.        There's not a

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1    specific breakdown of what evidence applies to whom.             And I

2    don't think there's a whole lot of relevance if you -- to going

3    beyond.     I mean, if you really want the jury just to know that

4    cell phones were recovered and searched, period, that's one

5    thing.

6                But getting into what was recovered in a general way

7    that could apply to anybody I think is really not --

8                MR. ENZINNA:    The objection --

9                THE COURT:    -- a good idea.

10               MR. ENZINNA:    The objection is not to him talking

11   about the tactics that were used.         It's about the results.

12               THE COURT:    Right.   It's the results.      And I'm

13   agreeing with you.       So I'm sustaining the objection.

14               MR. ENZINNA:    Thank you.)

15          (Bench conference concluded.)

16               THE COURT:    Just move on, Ms. Perry.

17               MS. PERRY:    Yes, Your Honor.

18   BY MS. PERRY:

19   Q.     Agent Aanonsen, were cell phones recovered belonging to

20   any of the defendants in this particular case?

21   A.     Yes.

22   Q.     And which of the defendants in this case were cell phones

23   recovered from?

24   A.     Dante Bailey, Randy Banks, Jamal Lockley,

25   Corloyd Anderson, Shakeen Davis, and Sydni Frazier.

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1    Q.     Over the course of your investigation, Agent Aanonsen, did

2    you execute search warrants on social media accounts belonging

3    to the defendants and other individuals who were relevant to

4    your investigation?

5    A.     Yes.

6    Q.     And did those search warrants include accounts belonging

7    to Defendants Dante Bailey, Jamal Lockley, Shakeen Davis,

8    Sydni Frazier, as well as other individuals relevant to your

9    investigation?

10   A.     Yes.

11   Q.     I want to at this point show you a large stack of items

12   here which are marked as Government's Exhibits SM-1 through

13   SM-22.

14               MS. PERRY:    Your Honor, permission to approach?

15               THE COURT:    Sure.

16   BY MS. PERRY:

17   Q.     (Handing.)

18          Agent Aanonsen, did you have an opportunity -- first of

19   all, are you familiar with these items that are in front of

20   you?

21   A.     Yes.

22   Q.     And are they documents as well as discs?

23   A.     Yes.

24   Q.     And have you had a chance to review them before coming to

25   court today?

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1    A.     Yes, I have.

2    Q.     Generally speaking, what is contained in the items in

3    front of you?

4    A.     These are excerpts from social media accounts we did

5    search warrants on and the discs containing copies of the

6    videos that we downloaded as well.

7    Q.     And are these excerpts from Facebook and Instagram

8    accounts?

9    A.     Yes.

10   Q.     And are they business records that were returned or

11   excerpts of the business records that were returned?

12   A.     Yes.

13   Q.     Are they accurate excerpts of the business records that

14   you received over the course of the investigation?

15   A.     Yes, they are.

16   Q.     And have they been modified or altered in any way?

17   A.     They have not been modified or altered in any way except

18   certain things have been highlighted to show relevance.

19   Q.     So in certain of the excerpts, there have been sort of

20   boxes drawn --

21   A.     Yes.

22   Q.     -- or things highlighted?

23          But other than that, are they accurate excerpts?

24   A.     Yes, they are.

25   Q.     So what is also in front of you are

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1    Government's Exhibits SM-23 through SM-40.

2           Are you familiar with those as well?

3    A.     Yes.

4    Q.     And have you had a chance to review those before coming to

5    court today?

6    A.     I have.

7    Q.     And generally speaking, what are those?         Are they

8    screenshots from social media accounts?

9    A.     Yes, they are.

10               MR. ENZINNA:    Your Honor, object to the leading.

11               THE COURT:    Overruled on that point.

12   BY MS. PERRY:

13   Q.     And can you explain how you obtained SM-23 through SM-40.

14   A.     They were publicly accessible social media pages.           So when

15   I saw something that involved one of the defendants, we would

16   take a screenshot of it and preserve it.

17   Q.     And are SM-23 through SM-40, have they been altered or

18   modified in any way?

19   A.     No, they have not.

20   Q.     And are they as they appeared when the screenshots were

21   taken?

22   A.     Yes.

23   Q.     Agent Aanonsen, over the course of the investigation, did

24   you also execute a search warrant on an iCloud account?

25   A.     Yes.

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1    Q.     And whose account was that?

2    A.     Dante Bailey's.

3    Q.     What was the name on that account?

4    A.     Wolfmobb@icloud.com.

5    Q.     I want to show you Government's Exhibits IC-1 through

6    IC-141 (handing).

7           Are you familiar with these exhibits?

8    A.     Yes.   They're excerpts from the iCloud account.

9    Q.     And have you had a chance to review them before coming to

10   court today?

11   A.     Yes.

12   Q.     And are they -- are they documents as well as discs that

13   are in front of you?

14   A.     Yes, they are.

15   Q.     And what is contained in those documents and discs?

16   A.     Excerpts from the iCloud account, and the discs are

17   downloads of videos.

18   Q.     Is there also a screenshot of metadata for one of the

19   photos contained within those exhibits?

20   A.     Yes.

21   Q.     And are they accurate excerpts of the business records

22   that you received over the course of the investigation?

23   A.     Yes.

24   Q.     Have they been altered or modified in any way?

25   A.     No, they have not.

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1    Q.     Finally, I want to show you Government's Exhibits YT-1

2    through 15 (handing).

3           Do you recognize this disc?

4    A.     Yes.

5    Q.     What is it?

6    A.     It is downloads of publicly accessible YouTube videos.

7    Q.     And are the exhibits contained on that disc, YT-1 through

8    YT-15, accurate representations of what you observed on the

9    publicly available site?

10   A.     Yes.

11   Q.     Have they been altered in any way?

12   A.     No.

13   Q.     So we've talked about some of the investigative techniques

14   used over the course of your investigation.

15          I want to introduce the jury to the names and faces we're

16   going to hear about during the course of the trial and

17   beginning with the defendants.

18          So I'm going to show you Government's Exhibit IND-3.

19          Who are we looking at here?

20   A.     That's Dante Bailey, a/k/a Gutta, a/k/a Wolf,

21   a/k/a Almighty.

22   Q.     And is Mr. Bailey sitting in the courtroom today?

23   A.     Yes, he is; in a white button-down shirt and a tie.

24   Q.     Now, Agent, I want to show you what just came into

25   evidence as SM-1.       This is Page 1 of SM-1.

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1           Looking at the first page of SM-1, can you tell us what

2    this page is.

3    A.     This is Page 1 of the Facebook business record of

4    Dante Bailey's Facebook account.

5    Q.     And what is the name -- the vanity name associated with

6    this Facebook page?

7    A.     Dante the Great.

8    Q.     And what is the name it is registered to?

9    A.     DantetheGreat@facebook.com.

10   Q.     Is there an e-mail address that is associated with this

11   account?

12   A.     Yes; guttaman667@gmail.com.

13   Q.     And were you able to determine who was operating this

14   Facebook account?

15   A.     Yes.

16   Q.     Who was operating the account?

17               MR. ENZINNA:    Objection, Your Honor.

18               THE COURT:    Do you want to come up to the bench.

19          (Bench conference on the record:

20               THE COURT:    What answer are you expecting?

21               MS. PERRY:    I believe he's going to say that it is

22   Dante Bailey's Facebook account based on the content of the

23   account and the number of pictures of Mr. Bailey, that he

24   believes it was Mr. Bailey who was operating the account.

25               MR. ENZINNA:    That's the basis of the objection.         I

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1    think he needs to state -- the question was:           Were you able to

2    determine whose account it was?

3                And he said:    Yes.

4                And now if it's based on the pictures in it, that --

5    the question whether that's a determination is -- it may be his

6    opinion that that's whose account it was, but I think he needs

7    to state how it is he determined whose account it was.

8                THE COURT:    Okay.    Why don't you take him to the

9    pictures first --

10               MS. PERRY:    Sure.

11               THE COURT:    -- and then to a determination if there's

12   a basis for it.

13               MS. PERRY:    Sure.

14               THE COURT:    Okay.)

15          (Bench conference concluded.)

16   BY MS. PERRY:

17   Q.     Agent Aanonsen, I'm going to direct you to Page 24 of

18   SM-1.

19          Can you tell us who we're looking at here.

20   A.     That's Dante Bailey.

21   Q.     And were there other photographs contained within SM-1?

22   A.     Yes; a voluminous amount.

23   Q.     And was there a particular individual who featured

24   prominently in SM-1?

25   A.     Yes.

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1    Q.     Who is that?

2    A.     Dante Bailey.

3    Q.     And based on that, did you come to a determination about

4    who you believed was operating this account?

5    A.     Yes.   Based on the voluminous amounts of information

6    contained relating to Dante Bailey, including videos and

7    pictures, we believed it to be operated by Dante Bailey.

8    Q.     Now, I'm going to come back to SM-1 in just a few minutes,

9    but I want to show you what has already come -- I'm going to

10   show you Government's Exhibit IC-33, which is an exhibit from

11   that iCloud account you just described.

12          Looking at IC-33, can you tell us who's in this photo.

13   A.     That's Dante Bailey.

14   Q.     And could you read the text on the photo for us.

15   A.     Across the middle in red letters it says [reading]:

16   Murdaland Mafia Godfather.

17          In the bottom right it says [reading]:         Gutta Almighty.

18   Q.     Also from the iCloud account, I'm going to show you

19   IC-26 -- I'm sorry, IC-11.

20          Can you tell us what we're looking at here.

21   A.     That is the side of the BP gas station at Forest Park or

22   Windsor Mill Road, which is in the 5200 block, and that's

23   Dante Bailey.

24   Q.     And how do you recognize this to be that BP gas station?

25   A.     It's featured numerous times in various videos.           We've

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1    done a lot of surveillance up there.          We've become very

2    familiar with it.

3    Q.     And looking behind the individual in IC-11, what is on the

4    wall of -- that's behind the individual in the photo?

5    A.     In large numbers, it says "5200."        In between each zero is

6    an M.     Down the left-hand side it says "GMB."         And below the

7    5200 it says, "Pull up at your own risk."

8    Q.     Now, I want to show you another excerpt from the

9    iCloud account.      This is IC-14.

10          Can you tell us what we're looking at here.

11   A.     It's a photograph of Dante Bailey standing beneath a

12   street sign that says "Piru Street."

13   Q.     And can you tell what is happening with his hands.

14   A.     He appears to be making an M with his hands.

15   Q.     And based -- I'm sorry.

16          Were there other photos similar to this one on the

17   iCloud account that we were just discussing?

18   A.     Yes.

19   Q.     And who were those photos of?

20   A.     Dante Bailey.

21   Q.     And based on that, did you come to a determination about

22   who was operating the iCloud account?

23   A.     Yes.   Based on the numerous amount of photos of

24   Dante Bailey, we believed it to be operated by Dante Bailey.

25   Q.     So I'm going to turn back to the Facebook page

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1    Dante the Great and show you SM-1, Page 44.

2           Can you tell us who is in this photograph.

3    A.     It's Dante Bailey.

4    Q.     And what is happening with Mr. Bailey's hands?

5    A.     He's putting his pointer fingers together and extending

6    his middle fingers to create what appears to be an M.

7    Q.     Staying with SM-1, I'm going to turn your attention to

8    Page 88.

9           Can you tell us who is in this photograph.

10   A.     It's Dante Bailey.

11   Q.     And are you able to read the shirt that Mr. Bailey is

12   wearing?

13   A.     Yes.

14   Q.     What does it say?

15   A.     "52 MMP."

16   Q.     I'm going to show you Page 89 of SM-1.

17               MR. ENZINNA:    Excuse me.

18          (Counsel conferred.)

19               MS. PERRY:    Court's indulgence.

20          (Counsel conferred.)

21   BY MS. PERRY:

22   Q.     So, Agent Aanonsen, I'm showing you on the left side of

23   the screen, which is SM-1, Page 88, it is Page 946 of the

24   Facebook business record return.         And on the right-hand of the

25   screen is SM-1, Page 89, which is Page 947 of the Facebook

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1    business record return.

2           Is -- looking on the right-hand side of the screen,

3    Page 89 of the exhibit, is this the title for the photograph

4    that we're seeing on the left side of the screen?

5    A.     Yes, it is.

6    Q.     And what is the title of this particular photograph?

7    A.     [Reading]:    LaEMM number 4, life.

8    Q.     Now, this term "LaEMM," is that something that you came

9    across again in your investigation.

10   A.     Yes.

11   Q.     I'm going to show you SM-1, Page 64.

12          This is Page 813 of the business record -- of the Facebook

13   business record corresponding to Dante the Great.

14          Can you tell us if you can identify the individual in this

15   particular photograph.

16   A.     Yes.   It's Dante Bailey.

17   Q.     And can you tell us what he's doing with his hands in this

18   particular photograph.

19   A.     He has his right hand extended upwards with five fingers

20   up.    His left hand is also extended upwards with two fingers

21   up.

22   Q.     And, again, can you remind us what location figured

23   prominently in your investigation into Murdaland Mafia Piru.

24   A.     The 5200 block of Windsor Mill/Forest Park.

25   Q.     And what is on the back of the shirt that the individual

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1    in the photograph is wearing?

2    A.     It's a shield outline with the letter M in the middle.

3    And below it, it says "gang."

4    Q.     I'm going to show you Page 32 of SM-1.         This is Page 489

5    of the Facebook business record.

6           Can you tell us who's in this particular photograph.

7    A.     It's Dante Bailey.

8    Q.     And can you see what Mr. Bailey has tattooed across his

9    stomach.

10   A.     Yes.   It says "mafia."

11   Q.     And what about around his collar?

12   A.     Not in this photograph, I can't, on the screen.

13   Q.     Let me see if I can zoom it in.

14          This is not the best photograph.

15          Looking instead on to the left side of Mr. Bailey's chest,

16   can you tell us what you see there.

17   A.     It appears to be an M.

18   Q.     I'm going to turn your attention to Page 28 of SM-1, which

19   is Page 471 of the Facebook business record return.

20          Can you tell us who is depicted in this particular

21   photograph.

22   A.     Yes.   Based on the continuation of the tattoos around the

23   sides of the arm from the previous photo we just saw, this is a

24   back shot of Dante Bailey.

25   Q.     And can you tell us what's written across the middle of

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1    Mr. Bailey's back.

2    A.     It says "general," with five stars around it.

3    Q.     And what about just above the "general"?

4    A.     It says [reading]:      B-More Blood.

5    Q.     And what is depicted on the shoulders of the individual in

6    the photograph?

7    A.     They appear to be firearms.

8    Q.     And what about at the top of -- the middle of the top of

9    Mr. Bailey's back?

10   A.     It says "ABK."

11   Q.     So I want to turn back for just a moment to the

12   iCloud account.      This is IC-31.

13          Can you tell us what we are looking at here.

14   A.     This is a tattoo.      It's a shield.    In the middle of the

15   shield is a large P.       Flanked by each side is the letter M.

16   And then it says [reading]:        My blood is my honor.      My honor is

17   my blood.

18   Q.     And, again, was this a photograph recovered from the

19   iCloud account you described as Dante Bailey's iCloud account?

20   A.     Yes.

21   Q.     Turning now to IC-32.

22          Can you tell us what this is a picture of.

23   A.     It's a tattoo of a shield.       It says [reading]:     If I ever

24   dishonor you, take my blood.

25          Flanking both sides of the shield, on the left side it

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1    says "Wolf"; on the right side it says "Pack"; in the middle

2    appear to be the letters W and P.

3    Q.     And I believe you told us this earlier, but what were some

4    of the nicknames Mr. Bailey used?

5    A.     He went by Wolf.     Sometimes he's referred to in paperwork

6    as Werewolf.

7    Q.     So I want to turn back to SM-1, the Dante the Great One

8    Facebook account, and show you Page 14, which is Page 345 of

9    the Facebook business record.         And I'm going to zoom in here on

10   the red box.

11          And just to be clear, is this red box one of the ones that

12   you described earlier as being added to the excerpt?

13   A.     Yes.

14   Q.     So looking, focusing your attention here on what's been

15   outlined in red, can you tell us, first of all, what was the

16   date that the top thing was -- is there a date, rather, on the

17   top of this box?

18   A.     Yes.

19   Q.     What is that date?

20   A.     January 13th, 2013.

21   Q.     And what type of posting is this?

22   A.     It's a comment.

23   Q.     And can you read the summary for us.

24   A.     [Reading]:    Dante Great One commented on a post from

25   December 19th, 2012.       Big Wolfe, with an E, question mark, cut

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1    the fuckin' crap.       "N" word, I'm the only Big Wolfe, Playboy.

2    Q.     And what about this comment below that?         Can you read that

3    comment to us.

4    A.     Yes.   Same date, it's a comment.       It says [reading]:

5    Dante Great One commented on a post from December 19th, 2012.

6    "N" words need to be seen in these streets.           If the gun talk

7    about how fucked up shit is, let me see y'all faces out here,

8    mob, exclamation, exclamation, exclamation.

9    Q.     Turning to SM-1 again and looking at Page 16, which is

10   Page 365 of the Facebook business record, and zooming in on the

11   red box here, what kind of posting are we looking at here?

12   A.     It's a comment.

13   Q.     And can you tell us what the comment says.

14   A.     [Reading]:    Dante Great One commented on a post from

15   February 21st, 2011.       Get money or get lost, exclamation.

16   Number 5 deuce, dope boy mafia.

17   Q.     Turning now to the same exhibit, SM-1, and looking at

18   Page 111 to Page 1316 of the Facebook business record.

19          And looking here at the middle of the screen, can you tell

20   us what -- first of all, who -- looking at the top, is there a

21   particular author of this?

22   A.     Yes.   Bear Williams.

23   Q.     And who is the recipient?

24   A.     Dante Great One.

25   Q.     And what is the body of the text here?

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1    A.     [Reading]:    What's mobbin', homie.

2    Q.     And was there a response?

3    A.     Yes.

4    Q.     And what does that say?

5    A.     It says [reading]:      Author, Dante Great One.      Recipients,

6    Bear Williams.      Body, spit da2ms.

7    Q.     And over the course of your investigation, did you

8    routinely see references to 2ms?

9    A.     Yes.

10   Q.     And does Murdaland Mafia actually begin with two M's?

11   A.     Yes, it does.

12   Q.     So turning now to Page 18 of this exhibit, SM-1, this is

13   Page 375 of the excerpt.        I'm looking here, first, at the top

14   box that is highlighted in red.

15          Can you tell us what the status is here.

16   A.     [Reading]:    I hope all you bitch Ns think you can breathe.

17   You can have this summer.        Last summer was mines.      But next

18   summer, that's ours, dot, dot, dot, 5200GMB.

19   Q.     And looking here at a comment later down on the screen,

20   what does that say?

21   A.     [Reading]:    All my fuckin' brothers are pinched.         I'm

22   tired of this shit.       Tell the fuckin' Governor, Strap up.          I'm

23   coming straight at you.        EMMS.

24   Q.     Turning to Page 19 of SM-1.

25          This is Page 385 of the Facebook business record.

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1           Can you tell us what the status is here.

2    A.     [Reading]:    Is it not true?      Death comes upon swift wings

3    to those who violate the laws of loyalty.           Love is

4    unconditional, but loyalty is everything; therefore, when

5    dealing with our friends, we must never let our emotions

6    overpower our intelligence.        Why?   The closest one too be da

7    one that do ya.      Stay vigilant.

8    Q.     Now, I want to show you Government's Exhibit SM-6.

9           Looking here at the first page of SM-6, first of all, is

10   this an Instagram business record?

11   A.     Yes, it is.

12   Q.     And looking here at the first page, who is the Instagram

13   page registered to?

14   A.     Wolfmobb@icloud.com.

15   Q.     And is that the same e-mail address associated with the

16   iCloud account we have discussed?

17   A.     Yes.

18   Q.     And what is the vanity name for this account?

19   A.     Bgm_omnipotence.

20   Q.     And, Agent Aanonsen, did you review what was contained

21   within SM-6?

22   A.     Yes.

23   Q.     Were there photos contained within SM-6?

24   A.     Yes; numerous photos and videos of Dante Bailey.

25   Q.     And you mentioned that numerous photos and videos were of

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1    Dante Bailey.      Was he prominently featured within SM-6?

2    A.     Yes.

3    Q.     And based on that, did you form an opinion as to who was

4    operating Government's Exhibit SM-6, the Instagram page?

5    A.     Yes.    Based on the contents of the account, we believed it

6    to be operated by Dante Bailey.

7    Q.     So I want to go to SM-6, Page 25.        Page 127 of the

8    Instagram business record return, can you tell us what this is

9    a picture of.

10   A.     It's a picture of a silver firearm.

11   Q.     And can you tell us the taken date listed on this

12   particular page.

13   A.     June 23rd, 2016.

14   Q.     I'm going to just zoom in -- perhaps that would be easier.

15   Can you tell us that taken date again.

16   A.     June 23rd -- or I'm sorry.

17          April 23rd, 2016.      It's kind of grainy on here.

18   Q.     I'm going to pull up the next page.         This is SM-6,

19   Page 26.      And this is Page 128 of the Instagram business record

20   return.

21          Is there a -- are there comments associated with this

22   particular photograph?

23   A.     Yes.

24   Q.     And can you tell us who -- looking at the red box on the

25   right, who is the user who posted the first -- the top text?

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1    A.     Bgm_omnipotence.

2    Q.     Again, is that the individual who was operating the

3    account?      Is that the vanity name for this account?

4    A.     Yes.

5    Q.     What was the comment?

6    A.     [Reading]:    Still hands on pretty, pretty bitches.

7    Q.     And is there a response?

8    A.     Yes.    From user hollywoodgogetta, it says [reading]:

9    Yeah.

10   Q.     And is there a name associated with the user

11   hollywoodgogetta?

12   A.     Yes.

13   Q.     And who is that?

14   A.     Kevin Forrest.

15   Q.     So I'm going to come back to Mr. Forrest in a little

16   while, but I'm going to stick with SM-6 for a moment and show

17   you Page 49.

18          Page 198 of the Instagram business record.

19          Looking here in the middle of the page, can you tell us

20   what the text says.

21   A.     [Reading]:    Mafia.    My all family IM.

22   Q.     And that term "my all family I am," over the course of

23   your investigation, have you come across that expression

24   before?

25   A.     Yes.    "My all family I am" is an acronym.        If you take the

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1    first letter, it spells mafia.

2    Q.     So sticking with SM-6, I'm going to show you Page 53.

3           Can you tell us who this -- who is in the center of this

4    particular photograph.

5    A.     Dante Bailey.

6    Q.     And what is Mr. Bailey doing with his hands?

7    A.     His right hand has five fingers up.         His left hand has two

8    fingers up.

9    Q.     Now, showing you the next page, so this will be SM-6,

10   Page 54.      It will be Page 208 of Government's Exhibit -- 208 of

11   the business -- of the Instagram business record.

12          Can you tell us what the text highlighted in the red

13   portion is.

14   A.     Yes.    It says [reading]:     5 laws.   Never hate, never

15   steal, ride hard, never snitch, and die hard.            2 rules.   Get

16   money or get lost in your own brain sauce.           5deuce life.

17   Q.     Agent Aanonsen, I now want to show you

18   Government's Exhibit IND-7.

19          Who are we looking at here?

20   A.     That's Randy Banks, a/k/a Dirt and Sand.

21   Q.     And is Mr. Banks sitting in the courtroom today?

22   A.     Yes.    He's to the right of Mr. Bailey, dressed in a black

23   button-down shirt.

24   Q.     I want to show you what has already come into evidence as

25   a screenshot taken -- I'm sorry.

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1           I want to show you what is a screenshot taken from a

2    social media account.       This is SM-28.

3           Who is in this particular picture?

4    A.     In the foreground, in the blue fur coat is Dante Bailey

5    and to his right in the black leather coat is Randy Banks.

6    Q.     Can you read the caption for us.

7    A.     The caption says [reading]:       4600 and 5200 collides big

8    dummies.

9    Q.     Now, the intersection of Windsor Mill and Forest Park and

10   the BP Gas station you described earlier, can you remind us

11   where on Windsor Mill that is located.

12   A.     The 5200 block.

13   Q.     And over the course of your investigation, did you

14   determine where Mr. Banks frequented?

15   A.     Yes; the 4600 block of Liberty Heights and Gwynn Oak.

16   Q.     I want to turn your attention to SM-25, which is another

17   screenshot from a publicly available account.

18          Looking specifically to the left of this photograph, can

19   you tell us who's depicted here.

20   A.     It's Randy Banks.

21   Q.     And are you able to tell us where this photo was taken?

22   A.     On the main strip, 4600 block of Gwynn Oak and Liberty.

23               MR. SARDELLI:     Objection, Your Honor.      I think this

24   calls for speculation.        He hasn't laid a foundation of how he

25   knows where the photo has been taken at.

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1                THE COURT:    If you'd like to have him explain how he's

2    familiar with that location.

3                MS. PERRY:    Certainly.

4    BY MS. PERRY:

5    Q.     Agent Aanonsen, are you familiar with the 4600 block of

6    Liberty Heights and Gwynn Oak?

7    A.     Yes.

8    Q.     How are you familiar with that area?

9    A.     We've been up to that area numerous times.          In this photo

10   on the right-hand side is the Four G's liquor store.             You can

11   see the faint half of a Bud Light at the liquor store, and the

12   left side is a yellow store.         It's a grocery store, and the

13   front of the bricks is painted yellow.

14          The walk underneath is a cobblestone type that -- that

15   sidewalk around that area is like that.          And that's frequently

16   where we saw numerous of these individuals congregating.

17   Q.     And based on your personal observations of that area on

18   several occasions, are you able to identify the location in

19   this photograph?

20   A.     Yes.

21   Q.     And, again, if you could tell us where this photograph was

22   taken, based on your --

23   A.     4600 block of Liberty and Gwynn Oak.

24   Q.     And looking again at the left side of the photograph where

25   you identified Mr. Banks, can you tell us what he's doing with

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1    his hands.

2    A.     He has his hands together with four fingers positioned

3    downward, creating what appears to be an M.

4    Q.     I'm going to show you something from the iCloud account.

5    This is IC-65.

6           Can you tell us who is on the far left of this photograph.

7    A.     That's Randy Banks.

8    Q.     And who is in the center of the photograph?

9    A.     Dante Bailey.

10   Q.     And what is Mr. Bailey doing with his hands?

11   A.     He has his pointer fingers placed together in the center

12   of his chest.      And his middle finger is pointing down, creating

13   what appears to be an M.

14   Q.     And what about Mr. Banks; what does he appear to be -- can

15   you describe what Mr. Banks is doing with his hands.

16   A.     He has his hand placed on his chest with his thumb, his

17   pointer, and his pinky finger extended.          His middle and index

18   finger are closed in.

19   Q.     And is this a gesture that you became familiar with over

20   the course of your investigation?

21   A.     Yes.

22   Q.     And how were you familiar with it?

23   A.     We've seen it in numerous photographs.

24   Q.     So I'm going to leave up IC-65 and pull back up IC-33.

25          So looking at these two, do they appear to be the same

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1    gestures made by Mr. Banks and Mr. Bailey in those two

2    photographs?

3    A.     Yes, they appear that way.

4    Q.     I'm going to show you another photograph from the

5    iCloud account.      This is IC-52.

6           Can you tell us who is on the left side of this photo.

7    A.     Randy Banks.

8    Q.     And what about in the center of the photograph?

9    A.     Dante Bailey.

10   Q.     And can you tell us what the individuals in this

11   photograph are doing with their hands -- or, rather, the

12   individuals on the left side of the photograph are doing with

13   their hands.

14   A.     They're holding it up in the same gesture I just

15   described.

16   Q.     And can you tell us what's on the table on the bottom left

17   of this photograph.

18   A.     A cell phone and an open scale.

19   Q.     I'll show you IND-2.

20          Can you tell us who this is.

21   A.     That's Corloyd Anderson, a/k/a Bo, a/k/a --

22   Q.     And is Mr. --

23   A.     I'm sorry.

24   Q.     Go ahead.

25   A.     We've also seem him referred to as Fat Tony.

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1    Q.     And is Mr. Anderson in the courtroom today?

2    A.     Yes.   He's positioned to the right of Mr. Lockley, the

3    black button-down shirt and a tie.

4    Q.     I want to show you another exhibit from the

5    iCloud account.      This is IC-57.

6           Who is in this photograph?

7    A.     In the foreground of the picture, it is Dante Bailey

8    making the same gesture I described previously with his hand.

9    And in the background is Corloyd Anderson with a phone placed

10   up to his ear.

11   Q.     And now showing you IC-58.

12          Can you tell us who the individuals on the left side of

13   this photograph are.

14   A.     Yes.   The individual in the green shirt is

15   Corloyd Anderson.       The individual in the middle of the

16   photograph is Dante Bailey.

17   Q.     Can you tell us what Mr. Bailey is doing with his hands.

18   A.     Placing his index fingers together and extending his

19   middle fingers downward to create what appears to be an M.

20   Q.     And Mr. Anderson?

21   A.     He has his middle finger and index finger crossed; his

22   pointer and his pinky downward with a space in between,

23   creating what appears to be an M.

24   Q.     I'm going to show you IND-60.

25          Who is this?

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1    A.     Jamal Lockley, a/k/a T-Roy, a/k/a Droid.

2    Q.     And is Mr. Lockley in the courtroom today?

3    A.     Positioned to the left of Mr. Anderson.         He has a

4    light-colored, button-down shirt on.

5    Q.     I'm going to show you what's already -- I want to show you

6    something from the iCloud account.          This is IC-102.

7           Can you tell us who is in this photograph.

8    A.     In the foreground is Dante Bailey with a backwards hat on.

9    And next to him on the right is Jamal Lockley.

10   Q.     I want to turn back to SM-1.       This is the Facebook page

11   associated with Dante the Great.         And I'll show you Page 68,

12   which is Page 833 of the Facebook business record.

13          Can you tell us who is in the right portion of this

14   photograph.

15   A.     To the extreme right with the white sweatshirt on is

16   Dante Bailey.

17          In the middle foreground with the purple polo is

18   Jamal Lockley.

19   Q.     Turning back to the iCloud, this is IC-15.

20          Can you tell us who is depicted in this photograph.

21   A.     Yes.   To the extreme right, with the baseball cap on, the

22   white T-shirt with the black sleeves hanging out is

23   Dante Bailey.

24          Positioned next to him was another target of our

25   investigation, Dominick Wedlock, with a green sweatshirt on.

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1           Kneeling down in the front is Jamal Lockley.

2           And standing on the extreme left is Melvin Lashley.

3    Q.     And did Melvin Lashley also come up over the course of

4    your investigation in other ways?

5    A.     Yes.   He was also a target of our investigation.

6    Q.     So I will come back to Mr. Wedlock and Mr. Lashley in a

7    little while.

8           But what is Mr. Lockley doing with his hands here?

9    A.     Making the same gesture I described previously.

10   Q.     Now, turn to SM-12.      This is an Instagram business record

11   return.

12          Looking here at the first page, who is this Instagram page

13   registered to?

14   A.     Dirtyboy5200@gmail.com.

15   Q.     And what is the vanity name associated with this account?

16   A.     Dirty Boy Droid.

17   Q.     And did you review the contents of this account?

18   A.     Yes.

19   Q.     And based on your review of the contents of the account,

20   who is prominently featured in this particular account?

21   A.     It features numerous photographs of Jamal Lockley.

22   Q.     And based on the content of the account, did you form an

23   opinion as to who was operating the account?

24   A.     Yes.   Based on the content of the account, we believed it

25   to be operated by Jamal Lockley.

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1    Q.     Was there any other reason that you believed that this

2    account was operated by Mr. Lockley other than the content?

3    A.     Yes.   The vanity name references a nickname he goes by,

4    Droid, and also makes reference to the number 5200.

5    Q.     I'm going to turn to Page 4 of SM-12.         This is Page 20 of

6    the Instagram business record return.

7           Can you tell us who is depicted in this particular

8    photograph.

9    A.     Right side of the photo with the black hoodie on and the

10   blue jeans is Jamal Lockley.

11          The other individual in the photo is Charlie Blackwell,

12   also known as C-Bo, who is also a target of our investigation.

13   Q.     And, again, we'll come back to Mr. Blackwell in a little

14   while.

15          But can you tell us what the individuals in this

16   particular photograph are doing with their hands.

17   A.     Charles Blackwell has his hand up with five fingers

18   extended.

19          Jamal Lockley has his hand up with two fingers extended.

20   Q.     And are you able to determine the location that this photo

21   was taken?

22   A.     It's inside the grocery store on the strip next to the

23   BP gas station.

24   Q.     How were you able to determine that this is the location?

25   A.     I've been inside the store.

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1    Q.     I'm going to show you IND-19.

2           Can you tell us who we're looking at here.

3    A.     Shakeen Davis, a/k/a Creams, a/k/a Dinero.

4    Q.     And is Mr. Davis in the courtroom today?

5    A.     Yes.   He has a lavender-colored polo on.

6    Q.     Let me show you Government's Exhibit SM-10, an Instagram

7    business record.

8           Can you tell us, first of all, if there is a registered

9    e-mail address associated with this particular exhibit.

10   A.     Yes.   Creams.dinero@icloud.com.

11   Q.     And is there a name associated with the account?

12   A.     Yes.

13   Q.     What is that?

14   A.     Young O.G. Lor Creams Dinero.

15   Q.     And did you review the contents of this account?

16   A.     Yes.

17   Q.     And is there any individual who was prominently featured

18   in this account?

19   A.     Yes; Shakeen Davis.

20   Q.     And based on your review of the account, did you form an

21   opinion about who was operating this account?

22   A.     Yes.   We believed it was operated by Shakeen Davis.

23   Q.     And what did you base that on?

24   A.     By the contents of the account, the numerous photographs

25   depicting him.

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1    Q.     And was it also in some part based on the name associated

2    with this account?

3    A.     Yes.   Creams and Dinero were street names he went by.

4    Q.     So showing you Page 7 of this account, can you tell us who

5    we're looking at here.

6    A.     It's a picture of Shakeen Davis.

7    Q.     And what is Mr. Davis doing with his hands in this

8    photograph?

9    A.     He has his index and middle fingers crossed, pointed

10   downward, with his pointer and pinky fingers pointed downward

11   as well, making what appear to be M's.

12   Q.     And showing you the second page -- and I apologize.           This

13   is Page 21 of the Instagram business record.

14          Showing you SM-10, Page 8, which is Page 22 of the

15   Instagram business record return, does the text that is on the

16   bottom of the left half of your screen and the top of your

17   right half of your screen, are those associated with the

18   photograph that you just described?

19   A.     Yes.

20   Q.     And can you tell us what the text associated with that

21   photograph is.

22   A.     When we get business records back from social media

23   companies, sometimes text comes back as empty blocks and it's

24   actually symbols.       We're able to decode the symbols.        It makes

25   what appears to be an M in the two symbols that are missing

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1    from this, spelling out Murdaland Mafia, nothin' more, nothin'

2    less, #TheRealMOBB, #5200FAM.

3    Q.     I'm going to come back to SM-10 in a moment.

4           But before, I want to go back to SM-6.         This is the

5    Instagram account for bgm_omnipotence that you described as

6    belonging to Mr. Bailey.        So showing you SM-6, this is Page 27.

7           And I'm also going to show you -- which is Page 132 of

8    that Instagram business record.         And I'm also going to show you

9    SM-6, Page 28, which is Page 133 of the Instagram business

10   record.

11          Is this the -- looking, first, to the left half of your

12   screen, Page 27, is this the same photo or what appears to be

13   the same photo as the one you just described?

14   A.     Yes.

15   Q.     And looking to the right side of this, can you tell us

16   what the caption is from the Instagram account of

17   bgm_omnipotence.

18   A.     It says [reading]:      Shotout Creams Dinero.

19   Q.     Now, turning back to SM-10, this is Page 9.          This is

20   Page 28 of the Instagram business record.

21          Can you tell us who's in this photo.

22   A.     Shakeen Davis.

23   Q.     And what is Mr. Davis doing with his hands in this

24   photograph?

25   A.     Placing his pointer fingers together and extending his

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1    middle fingers downward, forming what appear to be an M.

2    Q.     I'm showing you the next page, so SM-10, Page 10, which is

3    Page 29 of the Instagram business record.

4           Is there a caption associated with this photograph?

5    A.     Yes.   It says [reading]:      Murdaland Mafia mob the world is

6    ours #5200FAM.

7    Q.     I'll turn to SM-13, which is an Instagram business record.

8           Can you tell us the name associated with this particular

9    account.

10   A.     MOBB(k) BOSS.

11   Q.     And is there a registered e-mail address?

12   A.     Yes.

13   Q.     What is that?

14   A.     Can you make it bigger?       It's like really grainy on here.

15          Fhp.5200fam@gmail.com.

16   Q.     And is there a vanity name associated?         I will enlarge

17   that as well.

18   A.     Yes.   Fh_dinero.

19   Q.     And did you review the contents of this particular

20   account?

21   A.     Yes.

22   Q.     And were there photographs contained in this account?

23   A.     Yes.

24   Q.     And was there anyone prominently featured within the

25   business record return?

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1    A.     Yes.

2    Q.     Who was that?

3    A.     Shakeen Davis.

4    Q.     And based on that, did you form an opinion as to who was

5    operating this particular Instagram account?

6    A.     Yes.   Based on the contents of the account and the name

7    Dinero, we believed it to be operated by Shakeen Davis.

8    Q.     Before I show you more of SM-13, I'm going to show you

9    SM-13A, which is a screenshot.

10          Is this a screenshot from that account we were just

11   talking about that was SM-13?

12   A.     Yes.

13   Q.     And can you tell us who is depicted in the photographs

14   here.

15   A.     Shakeen Davis.

16   Q.     And can you tell us what the profile says.

17   A.     Has the vanity name fh_Dinero.

18          Underneath the number of posts and followers, it says

19   [reading]:      5Deuce BOSS Death Bk4 Dishonor Omertà code /

20   52Hunnit F.A.M.

21          There's some symbols, skull and crossbones.

22          [G][M][B] 410MurderLand - Forest Heights LOr Dinero.

23   Q.     Showing you SM-13B, another screenshot, can you tell us

24   which account this was posted in --

25   A.     Yes.

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1    Q.     -- or under what vanity name it was posted.

2    A.     Fh_dinero.

3    Q.     And can you tell us who's depicted in the photograph.

4    A.     Shakeen Davis.

5    Q.     And what does the comment say?

6    A.     [Reading]:    Have a MOBB meeting with a MOBB BOSS #5200fam.

7    Q.     And now going back to SM-13 and showing you Page 7, who is

8    depicted in this particular photograph?

9    A.     Shakeen Davis.

10   Q.     Agent Aanonsen, you've described the BP gas station at the

11   5200 block of Windsor Mill and Forest Park as being a focus of

12   your investigation.

13          Have you been to that location on numerous occasions?

14   A.     Yes.

15   Q.     And are you familiar with that location?

16   A.     Yes.

17   Q.     Are you able to identify where this photograph was taken?

18   A.     The BP gas station.

19   Q.     I'm going to show you IND-32.

20          Who are we looking at here?

21   A.     Sydni Frazier, a/k/a Syd, a/k/a Perry.

22   Q.     And is Mr. Frazier in the courtroom today?

23   A.     Yes.   He's sitting to the right of Mr. Davis, I can't see

24   what he's wearing (indicating).

25   Q.     And are you indicating the person in the far back right of

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1    the courtroom?

2    A.     Yes.

3    Q.     I want to show you what's already -- I'm going to show

4    you, actually, SM-15.

5           This is an Instagram business record.

6           Looking here at the first page, can you tell us the e-mail

7    this is registered to.

8    A.     Lilsid5200@yahoo.com.

9    Q.     And is there a vanity name associated with this particular

10   account?

11   A.     Yes.   Getmneyboy.

12   Q.     Did you review the contents of this account?

13   A.     Yes.

14   Q.     And who was featured in this account?

15   A.     Sydni Frazier.

16   Q.     And did you make -- form an opinion as to who was

17   operating this Instagram account?

18   A.     Yes.   Based on the photographs contained in the account

19   and the vanity -- the registered e-mail of Sid 5200, I believed

20   it to be operated by Sydni Frazier.

21   Q.     I want to turn to Page 2 of this exhibit.          Can you tell us

22   who's depicted here.

23   A.     Sydni Frazier.

24   Q.     I'm showing you now the next page of this, so SM-15,

25   Page 3.

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1           Is there a caption associated with this particular

2    photograph?

3    A.     Yes.

4    Q.     And let me zoom it in.

5           And can you tell us what that says.

6    A.     [Reading]:    Be back sooner than you think.        There's a

7    lock, edDown, number sign, need.         Looks like a notepad with a

8    pen on it, some animals, #Facts, #SidyWitDaBag #GMB,

9    #CCGorNOTHING.

10               THE COURT:    Ms. Perry, you'll let me know when you're

11   at a good breaking point.        We're close to 5 o'clock.

12               MS. PERRY:    Thank you, Your Honor.

13               If I could just -- a few more photos, and then I think

14   I will be prepared to break.

15   BY MS. PERRY:

16   Q.     Turning back now to SM-6, which is the Instagram account

17   you described as belonging to Mr. Bailey, and turning to

18   Page 79 of Mr. Bailey's Instagram account, can you tell us

19   who's depicted in this particular photograph.

20   A.     Sydni Frazier.

21   Q.     And can you tell us where this photograph was taken.

22   A.     The side of the BP gas station.

23   Q.     And how do you recognize it to be the side of the BP Gas

24   station?

25   A.     It's featured in numerous YouTube videos.          We've conducted

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1    surveillance there.       That's the same graffiti we've seen in

2    other photos.

3    Q.     Turning now back to SM-10, Shakeen Davis' Instagram

4    account, and showing you Page 5, can you tell us who's in this

5    particular photograph.

6    A.     Right side of the photograph, dressed in all black, is

7    Sydni Fraizer.      The other side of the photograph in a black

8    T-shirt is Shakeen Davis.

9    Q.     Are you able to tell where this photograph was taken?

10   A.     No.

11   Q.     And can you tell us what Mr. Frazier is doing with his

12   hands in this particular photograph.

13   A.     He has his pointer finger and his pinky finger extended

14   and his two middle -- and the middle and index finger curled

15   in.

16   Q.     Turning now to Page 19, can you tell us who's depicted in

17   this photograph.

18   A.     On the right -- wearing almost similar clothing, on the

19   right-hand side is Sydni Frazier.         On the left-hand side is

20   Shakeen Davis.

21   Q.     And are you able to tell where this photo was taken?

22   A.     It is the Subway restaurant next to the BP.

23   Q.     And turning now back to the iCloud account, I'm going to

24   show you IC-24.

25          Can you tell us who the three individuals on the

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1    right-hand side of this photograph are, sort of in the center

2    right-hand side.

3    A.     On the right with the blue or black-and-white gym shorts

4    with the white T-shirt is Sydni Frazier.

5           Next to him in the black tank top with the red bandana is

6    Dante Bailey.

7           And to Dante Bailey's right in the center of the

8    photograph, with the dark-and-light-blue, horizontal-striped

9    T-shirt is Jamal Lockley.

10               MS. PERRY:    Thank you.

11               Your Honor, I think this is a good point.

12               THE COURT:    All right.    Thank you.

13               All right.    Ladies and gentlemen, we're going to

14   adjourn for today.

15               As I told you, we might stay a bit later tomorrow, but

16   we're adjourning for today.

17               Please leave your notes here.       Keep an open mind.

18   Don't talk about the case.

19               Thank you very much, and we'll see you tomorrow at

20   10:00, tomorrow at 10:00.

21          (Jury excused at 5:01 p.m.)

22               THE COURT:    All right.    And the witness is free to

23   step back down.

24               And we will excuse the gallery.

25          (Pause.)

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1             THE COURT:    All right.

2             MS. AMATO:    I'm sorry.    I just have one --

3             THE COURT:    I can't hear you.

4             MS. AMATO:    I will -- Your Honor, I would just ask if

5    the Government could give us the courtesy of letting us know

6    which exhibit numbers they're going to call with their witness

7    beforehand so that we're aware.      I mean, as Your Honor knows,

8    there's hundreds of exhibits here that we're dealing with.

9             And it just helps, especially with everything that

10   we've got to deal with around here, to know so that we can

11   better prepare as well.     I didn't know which exhibits this

12   witness was going to cover.

13            I mean, I know they had given us certain topics.           But

14   at least in the future and also before tomorrow, before this

15   witness continues, if the Government could at least let us

16   know.

17            THE COURT:    Okay.   Can you do that?

18            MS. HOFFMAN:    Your Honor, I just want to clarify.            So

19   we did send an e-mail to counsel ahead of time saying the

20   categories of exhibits, the iCloud exhibits and social media

21   exhibits that we would be focusing on.

22            And we have also turned over at least draft exhibits

23   in a number of categories in January and early February of this

24   year.

25            It's very hard for us to be able to give, you know, a

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1    specific list of all the exhibits that we're going to be using

2    with each witness.    I've never heard of that being done before.

3             In terms of general categories, particularly for

4    Agent Aanonsen, I understand, because he's going to be

5    testifying a number of times, we're happy to each time he

6    testifies let defense counsel know the general area of his

7    testimony and the general category of exhibits, for instance,

8    if it's from a particular search warrant or that sort of thing.

9             But I think it would be impossible for us to give a

10   list of specific exhibits and page numbers that we're going to

11   be using with every witness ahead of time.

12            MS. AMATO:    Your Honor, I'm not saying the Government

13   hasn't turned this stuff over before.       I know they have.     I'm

14   not saying that they haven't.

15            But I actually in other cases I have had where --

16   particularly in cases where the exhibits are, in essence,

17   accepted to come in unless we lodge an objection beforehand.

18            So -- but I have had where I have asked Government

19   counsel to please -- you know, even if it's the same day, at

20   least let me see it before the witness takes the stand.

21            THE COURT:    At this point I will just ask the

22   Government to do its best to identify the categories of

23   exhibits.

24            And, also, it would seem to me you've got them all

25   pretty well listed on the exhibit list by initial numbers so

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1    that you say a category of iCloud; that's like IC-whatever

2    through whatever.    Just try to do that.

3              MS. AMATO:    Thank you, Your Honor.

4              THE COURT:    Okay.   We'll see how it goes.

5              MS. WHALEN:    In light of what Your Honor's ruling was

6    about us challenging those exhibits, the method in which

7    they're being shown, which is they're calling it a number that

8    is not the number that we have; for instance, Facebook, it will

9    have a number on the right.     It gets on the screen, and then

10   they read the number on the right.

11             So giving it to us in advance, we can pull those

12   things out and flag them if there is an issue.         It's already

13   shown to the jury before we could challenge it.         So that's what

14   we're asking.   That's why we raised it in the pretrial

15   conference.

16             THE COURT:    If there is the -- I mean, that is

17   reasonable that the defense counsel knows what it is that's

18   about to go on the screen before it goes on the screen.

19             MS. HOFFMAN:   And I do want to emphasize that we did

20   turn over these exhibits over a month ago.        And we haven't, you

21   know, received -- I think that the appropriate time to make

22   objections to, you know, the particular pages of social media

23   exhibits or iCloud exhibits that we were going to be using

24   would have been in the period in which we filed motions in

25   limine.

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1               THE COURT:   It's not realistic to expect defense

2    counsel to be able to file motions in limine.         They'd spend

3    their entire life doing that, given the number of exhibits in

4    this case.

5               I assume that they focused on specific things that

6    they were able to identify that they thought were particularly

7    difficult.

8               But, again, if there is a way that you can figure out

9    that they know -- you can give them the exhibit number and

10   pause even a few seconds for them to be able to find it on the

11   exhibit list before it goes on the screen -- that would be

12   helpful.

13              I've given them the right to object as something goes

14   up.   But just in case, I mean, I think it's to everybody's

15   advantage that it not go on the screen until they know what

16   it's going to be.    Just do your best.

17              MS. HOFFMAN:   We will do our best.

18              And just -- I did want to clarify for defense counsel

19   that the page numbers that Ms. Perry has been referring to, if

20   you pull up the exhibit in your exhibit discs, those are the

21   page numbers of the PDFs.

22              And we will do our best to provide both the page

23   number of the PDF and the page number of the business record.

24   But the initial page number to which -- that she's using to

25   direct the witness's attention is the page number of the actual

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1    PDF document that is the exhibit.

2             THE COURT:    Okay.

3             MR. SARDELLI:     And, Your Honor, I'm not going to

4    retread the issues that have already been discussed, but --

5             THE COURT:    I'm sorry.    I can't hear you.

6             MR. SARDELLI:     I'm not going to retread the issues

7    that have already been discussed.

8             But my issue is I think the images are going to the

9    jury before they've been admitted, and I know in other trials

10   that they won't be shown to the jurors until they're actually

11   admitted into evidence.

12            They can be shown to the witnesses and to us and

13   everything else, but they're basically going up there before

14   they're even admitted.

15            THE COURT:    And I just addressed that.       And I can't --

16   I mean, you have the exhibits.      I'm trying to help you out the

17   best I can.   I can't possibly -- if what you're suggesting is

18   that every single picture is going to be distributed again

19   among counsel and shown to me, I mean --

20            MR. SARDELLI:     I'm just saying it doesn't get

21   published to the jury until it's formally admitted.

22            THE COURT:    That's what you're saying, then.        I don't

23   think that what you're suggesting is practical.         I am going

24   to -- as I've said, I'm asking the Government to do their best

25   to identify categories of exhibits, general numbers of

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1    exhibits, and some way for the particular page to be identified

2    before -- at least a second or two before it goes up on the

3    screen.

4              But I am not going to have them take every single page

5    up to the witness, ask what it is, describe it, have it

6    admitted.   That's just not practical.      We'd be here for four

7    months instead of two.

8              All right.   I'll see you all tomorrow morning.

9         (Court adjourned at 5:09 p.m.)

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12   SA CHRISTIAN AANONSEN      138            --           --       --

13

14        I, Douglas J. Zweizig, RDR, CRR, do hereby certify that

15   the foregoing is a correct transcript from the stenographic

16   record of proceedings in the above-entitled matter.

17
                                      /s/
18
                    Douglas J. Zweizig, RDR, CRR, FCRR
19                     Registered Diplomate Reporter
                       Certified Realtime Reporter
20                    Federal Official Court Reporter
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21

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